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               EXHIBIT Z
                   Redacted
            Button et al v. Breshears
             Amended Complaint
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 1
                         UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF NEW YORK
 3

 4

 5

 6

 7   DUSTY BUTTON AND MITCHELL                        Case No: 1:24-CV-03757-MKV
     TAYLOR BUTTON
 8

 9
                       PLAINTIFFS,
10                                                    AMENDED COMPLAINT AND
     V.
                                                      DEMAND FOR JURY TRIAL
11

12   MADISON JANE BRESHEARS

13

14
                       DEFENDANT.
15

16

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19

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25
                   Plaintiffs Dusty Button and Mitchell Taylor Button file this Complaint and sue
26
     Defendant Madison Jane Breshears and allege as follows:
27

28

                                      1
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 1                                 NATURE OF THE ACTION
 2     1. This is not a case of Plaintiffs “disagreeing” or “disapproving” false statements
 3
          published about them on the internet; this case is an exemplary example of someone
 4
          egregiously making and amplifying knowingly false and defamatory statements to a
 5
          mass audience proudly, publicly and repetitively, as an orchestrated attack to destroy
 6

 7        the livelihoods, businesses, careers and reputations of Plaintiffs though targeted

 8        deployments of defamation to the audiences whom were subscribed to every move

 9        that Plaintiffs made in their respective careers.
10
       2. This case is about abuse of power, intimidation and the weaponization of the justice
11
          system by Defendant Madison Breshears, who conspired and colluded with third-
12
          parties to unethically and unlawfully violate Plaintiffs’ Constitutional rights to due
13
          process including by preventing Plaintiffs from seeking legal recourse against
14

15        Defendant until now.

16     3. This case is about the perpetrator and Defendant, Madison Jane Breshears, who
17        exploited her position of power and influence on social media and within the BAR
18
          community to orchestrate a false and defamatory foundation in order to assure the
19
          careers, businesses, reputations and well-known and respected good names of the
20
          Plaintiffs in this case were entirely decimated, thus crippling their finances and
21

22        rendering them incapable of defending themselves against a fraudulent litigation

23        which she had actual knowledge of but which Plaintiffs were completely unaware of;

24        that was at the time being staged and led by Defendant’s friend Sage Humphries, who
25        conspired with Madison Breshears to post false and defamatory statements about
26

27

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 1              Plaintiffs and use as public grounds to gain an advantage and litigate upon, on July
 2              28th, 2021 when her complaint was filed in the District Court of Nevada1
 3
           4. This action arises from Defendants’ transmission and publication of intentionally false
 4
                and defamatory statements made to hundreds of thousands of third parties about
 5
                Plaintiffs Dusty and Taylor Button whereas, Ms. Breshears conduct amounts to actual
 6

 7              malice or at the very least negligence and reckless disregard for the truth.

 8         5. More specifically, as set forth in greater detail below, on Thursday, May 13th, 2021,

 9              Defendant Madison Jane Breshears took to her anonymous social media account,
10
                (@Real_World_Ballerina), to make outrageous statements on numerous occasions that
11
                Plaintiffs were involved in criminal activity including that they were sexual predators
12
                who could not keep employment because they groomed young girls and dancers for
13
                sex acts with them.
14

15         6. Indeed, the Defendant knew that Plaintiffs had never engaged in such heinous acts and

16              were not otherwise found liable for any such crime or immoral disgusting acts.
17         7. Defendant Breshears proved through statements on a legally recorded phone call with
18
                Plaintiffs, on May 27th, 2024, that she knew the impact of her false and defamatory
19
                statements would be taken as true by any reader or viewer including because the
20
                context of the statements, she made were statements of fact to a mass audience as she
21

22              stated that she had “evidence” and “proof” to substantiate her defamatory statements

23              when in fact, she did not (as none exists), and still does not.

24         8. This action is about a woman who was so desperate for attention that she made public
25              statements of fact which she knew would destroy the lives of two innocent people;
26

27
     1
         See case 2:21-cv-01412-ART-EJY – United States District Court of Nevada – Humphries et al v. Button et al.
28

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 1        who three years later, doubled down on her remarks by claiming the reason she posted
 2        the false and defamatory statements was because she “did not know [Plaintiffs] were
 3
          going to sue her” and admitting that indeed, she had no evidence or fact aside from
 4
          third-party hearsay to verify the nature of her defamatory posts, (she cannot).
 5
       9. Perhaps most egregious, Defendant admitted to collusion and conspiracy with various
 6

 7        third-parties to intentionally cripple and impede on a lawsuit which would commence

 8        three months after her outlandish and defamatory statements were posted.

 9     10. The Defendant knew that the New York Times article was coming out months prior to
10
          publishing, knew that a lawsuit would be filed months prior to a complaint being filed
11
          and as an attorney, chose to impede on Plaintiffs’ right to due process to gain an
12
          unlawful advantage in a legal proceeding as the Defendant knew that by crippling
13
          Plaintiffs’ defense against her defamatory posts three months prior that Plaintiffs
14

15        would lose any all ability to work or generate finances to fund legal recourse against

16        her or the lawsuit which would be filed three months later as Plaintiffs initially
17        retained their attorney to discover and sue the owner of the anonymous account
18
          @real_world_ballerina for defamation prior to a lawsuit ever being filed by Sage
19
          Humphries.
20
       11. The statements made by Defendant were, and are now and forever false in their
21

22        entirety, and were made by Defendant with actual malice and/or with a reckless

23        disregard for the truth given that Defendant knew her statements were patently and

24        demonstrably false.
25     12. This case is about an attorney who abused her power to intimidate, harass and threaten
26
          Plaintiffs including on May 27th, 2024 during a legally recorded phone call with
27

28

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 1        Plaintiffs, where she threatened, intimidated and attempted to deter Plaintiffs from
 2        seeking legal recourse against her. The following statements were made by the
 3
          Defendant on May 27th, 2024.
 4
                  •   “I just want to tell you that it’s gonna be bad if you sue me.”
 5

 6                •   “It’s not worth your time and energy or mine.”

 7                •   “There is consequences to filing frivolous or not legally viable lawsuits.”

 8                •   “As a lawyer, going through your complaint the causes of action that you
 9
                      are listing with the facts that even just based on im gonna write my motion
10
                      to dismiss, im not going to be arguing the facts im going to be arguing the
11
                      law and based on the law and the claims that you’ve made you haven’t
12
                      stated a claim upon which relief can be granted so and that’s
13

14                    sanctionable.”

15                •   “You shouldn’t be filing frivolous lawsuits.”
16
                  •   “I don’t think it’s worth your time, it’s not gonna end well for you.”
17
       13. As described more fully herein, Plaintiffs have been involved in ongoing civil
18
          litigation in Nevada for over three years with a pending motion to dismiss and
19
          counterclaim which was filed August 23rd, 2023 and have been pro se against
20

21        attorneys from Boies Schiller & Flexner LLP since October 22nd, 2022 consisting of

22        three-hundred and seventy-eight publicly available docketed documents and nearly

23        two-hundred documents which have been sealed pursuant to protective orders in the
24
          case whereas; Ms. Breshears’ statements have only incriminated her further by making
25
          statements which directly contradict information which she is unable to see or have
26

27

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 1            knowledge of but which proves her involvement and willingness to lie about that
 2            involvement and would be further proven through discovery.
 3
           14. Defendant made the defamatory statements against Plaintiffs, which were
 4
              communicated and published to a mass audience of hundreds of thousands of third
 5
              parties, with the intent to harm Plaintiffs given that, inter alia, Defendant was and is
 6

 7            aware of the truth regarding Sage Humphries’ previous relationship with Plaintiffs in

 8            2017; but also, because her defamatory statements were prepared in advance in

 9            collusion with third-parties including the media as she “knew the New York Times2
10
              was coming out with the article in a month or so but wanted to break the story first”,
11
              as stated by Ms. Breshears on May 27th, 2024.
12
           15. Defendants’ defamatory statements were intentionally published to provide traction
13
              for the New York Times article and complaint that Sage Humphries would pursue
14

15            with no grounds, just three months following Defendants’ defamatory posts; in fact,

16            Ms. Breshears confirmed her defamatory statements were made with actual malice by
17            stating on the May 27th, 2024 phone call that she knew The New York Times article
18
              was going to publish an artile about Plaintiffs and that her posts would be the catalyst
19
              to that article stating, “I did know, that’s why I posted it” and, “If it was just Sage, I
20
              wouldn’t have posted it…”, proving that her statements were made with actual malice
21

22            as the only two individuals interviewed for the New York Times article were Sage

23            Humphries and Gina Menichino, who Ms. Breshears admittedly, has never spoken to.

24

25

26   2
       Plaintiffs are suing The New York Times Company and others including two attorneys from Boies Schiller &
     Flexner and their PR director including for attorney-media collusion and defamation amongst other claims;
27   including that the New York Times published the article about Plaintiffs before Plaintiffs were even issued a
     summons – see case 1:24-cv-5888 in the Southern District Court of New York filed on July 29th, 2024.
28

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 1         16. Defendants’ statements were made via an anonymous social media account with a
 2            large following of nearly twenty thousand followers, who reposted these defamatory
 3
              statements whereas, they ultimately went viral3 to the extent of a globally televised
 4
              interview on a major news publication which in turn, immediately caused the
 5
              destruction of Plaintiffs’ businesses, careers, reputations, resulting in the termination
 6

 7            of all employment for Plaintiffs then and forever.

 8         17. As a direct and proximate result of Ms. Breshears’ false and defamatory statements,

 9            Plaintiffs were evicted from their home in Nevada due to the inability to pay for their
10
              home as they lost any and all ability to work entirely and immediately.
11
           18. Plaintiffs are on government assisted living such as the SNAP program in South
12
              Carolina and Medicaid, and are expecting the birth of their first child on August 8th,
13
              2024.
14

15         19. Plaintiffs have actual knowledge that substantial additional evidentiary support, which

16            is in the exclusive possession of the Defendant and their agents and other third-parties,
17            which will exist for the allegations and claims set forth above after a reasonable
18
              opportunity for discovery and including but not limited to because Defendant stated on
19
              the May 27th, 2024 phone call, “I’ll have to go back and look at texts to see if I knew
20
              that for sure…” and stating on May 13th, 2021, “all I can say is to this post alone, I’ve
21

22            had multiple people who know victims and who have reached out”.

23                                                   THE PARTIES

24         20. Plaintiff Dusty Button is an individual who resides and is domiciled in Myrtle Beach,
25            South Carolina. Ms. Button is the wife of Plaintiff Taylor Button.
26

27   3
       Viral – relating to or involving an image, video, piece of information, etc., that is circulated rapidly and widely
     from one internet use to another.
28

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 1     21. Plaintiff Taylor Button is an individual who resides and is domiciled in Myrtle Beach,
 2        South Carolina. Mr. Button is the husband of Plaintiff Dusty Button.
 3
       22. Upon belief Defendant Madison Jane Breshears is an individual who resides and is
 4
          domiciled in New York City, New York.
 5
                                      JURISDICTION AND VENUE
 6

 7     23. Plaintiffs are citizens of the State of South Carolina for purposes of diversity

 8        jurisdiction under 28 U.S.C § 1332.

 9     24. Defendant is a citizen of the State of New York for purposes of diversity jurisdiction
10
          under 28 U.S.C. § 1332.
11
       25. This Court has original subject matter jurisdiction with respect to this action pursuant
12
          to 28 U.S.C. § 1332 as there exists complete diversity of citizenship between Plaintiffs
13
          and Defendant and the amount in controversy exceeds seventy-five thousand dollars
14

15        ($75,000.00), exclusive of interests and costs.

16     26. Pursuant to 28 U.S.C § 1391(b), venue is proper in this Court because the Defendant
17        resides in this district.
18
       27. The Court has general jurisdiction over Defendant as she is a resident of this State.
19
                                      FACTUAL BACKGROUND
20
       28. Plaintiff Dusty Button was a world-renowned ballet dancer who trained at the
21

22        Jacqueline Kennedy Onassis School at the American Ballet Theatre in New York City.

23        In 2007, she joined the Royal Ballet School in London and in 2008 she joined

24        Birmingham Royal Ballet in England.
25     29. In 2011, Ms. Button danced with American Ballet Theatre.
26

27

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 1     30. Ms. Button is best known for her work with the Boston Ballet, which she joined in
 2        2012 and was promoted to their highest position of principal ballerina in 2014.
 3
       31. Ms. Button was Red Bull’s first and only ballet athlete and has been published in
 4
          media publications across the globe and has positively influenced hundreds of
 5
          thousands of people nationally and internationally, including by performing and
 6

 7        teaching in over thirty different countries and across the United States.

 8     32. Plaintiff Dusty Button’s Instagram account, @dusty_button, at the time of the events

 9        described herein, amassed nearly half of a million followers and subscribers.
10
       33. Ms. Button deleted her account in 2021 after succumbing to trauma from severe cyber
11
          bullying and harassment which Plaintiff endured as a direct result of Madison
12
          Breshears’ defamatory publishing and remarks.
13
       34. Plaintiff Mitchell Taylor Button, (Taylor Button), was one of the world’s most
14

15        influential custom Ferrari and military vehicle designers and builders for seven years,

16        approximately from 2014 – 2021, with his work having been published in media
17        publications across the globe for his automotive design, builds and work in the
18
          industry.
19
       35. Plaintiff has positively influenced hundreds of thousands of people nationally and
20
          internationally and has been procured from global organizations for speaking
21

22        engagements and commissions that continue to live on with his legacy today despite

23        the destruction of his life’s work by Madison Breshears.

24     36. Plaintiff Taylor Button’s Instagram account, @button_built, at the time of the events
25        described herein, amassed nearly half of a million followers and subscribers.
26

27

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 1       37. Mr. Button deleted his account in 2021 after succumbing to the severe cyber bullying
 2            and harassment which Plaintiff endured as a direct result of Madison Breshears’
 3
              defamatory publishing and remarks.
 4
         38. Plaintiffs’ names and likeness was their business and generated one hundred percent
 5
              of their yearly revenue whereas, Plaintiffs, themselves and what they provided to their
 6

 7            respective industries was solely based on what they provided as their name brands,

 8            known as Dusty Button, Taylor Button, Mitch/Mitchell Button, Mitchell Taylor

 9            Button, “The Buttons”, Button Built, Button Brand, Bravado by Dusty Button,
10
              Meisturwerk and Meisturwerk Machinen.
11
         39. Plaintiffs’ established businesses, goods and services were directly sourced and
12
              provided from their good names, talent, expertise, reputations, skills, manufacturing
13
              and marketing capabilities, which were completely destroyed by Madison Breshears
14

15            and her abuse of power and influence as a law student on social media through an

16            anonymous account on May 13th, 2021.
17       40. Upon belief, Madison Breshears is a licensed attorney in the State of New York.
18
         41. Upon belief, and at the time of the events described within the complaint occurred,
19
              Madison Breshears attended George Mason University Antonin Scalia Law School.
20
         42. The Defendant is the owner and sole user of the anonymous Instagram account
21

22            @Real_World_Ballerina, an Instagram page which is dedicated to satirical memes4

23            and quotes in order to generate a mass following within the dance and ballet industries

24            and communities that would supplement her own personal Instagram account,
25            (@mjbreshears).
26

27   4
      Meme definition – 1: An idea, behavior, style, or usage that spreads from person to person within a culture. 2:
     an amusing or interesting item or genre of items that is spread widely online especially through social media.
28

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 1     43. Ms. Breshears shared her actual identity on the anonymous page at the time most
 2        opportune to generate a following of her own; using the destruction of Plaintiffs to
 3
          garner that following, (a following that could not be generated based on the merits of
 4
          her talents alone and which are the very same lack of talents in the dance industry
 5
          which led her to the decision to pursue law instead of dance).
 6

 7     44. Plaintiffs were not followers of Ms. Breshears’ personal account or her anonymous

 8        meme account @real_world_ballerina and therefore, did not know who owned or ran

 9        the anonymous account at the time the events herein.
10
       45. Plaintiffs Dusty and Taylor Button were the sole reason and target for Ms. Breshears’
11
          singular post to date, (after over fourteen years of activity on her anonymous account,
12
          established in 2012), that was relative to anything other than comedic satirical memes
13
          and self-obsession.
14

15     46. The defamatory publications Ms. Breshears so actively, proudly and aggressively

16        shared while destroying Plaintiffs, have all been entirely scrubbed from her Instagram
17        pages and any trace of these publications, (which led to death threats, physical harm,
18
          harassment, intimidation, cyber bullying and massive reposts of her defamatory
19
          statements), have been deleted.
20
       47. Plaintiffs saved and documented these posts themselves, however, had they not, there
21

22        would be no trace of Madison Breshears’ responsibility for the defamatory and

23        libelous posts and remarks following her spoilation of evidence once her education

24        convinced her to destroy any trace of her illegal behavior.
25     48. A culture of defamation permeates the #MeToo movement, particularly in the
26
          entertainment industries and has in turn, destroyed the credibility of real victims
27

28

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 1        everywhere while simultaneously mocking the judicial system and enabling people to
 2        weaponize the civil justice system with false accusations, which ultimately have the
 3
          same consequence on innocent lives as they would if they were true accusations
 4
          against guilty parties, rendering Courts and parties afraid to defend against claims of
 5
          this magnitude due to the nuclear social fallout.
 6

 7     49. The culture of defamation has dialed the integrity of civil litigation back decades, as

 8        recently seen in cases around the world such as Depp v. Heard, Bauer v. Hill and more

 9        recently, the Eleanor Williams case in England, all of which proved innocent parties’
10
          lives were completely destroyed by false and defamatory statements.
11
       50. Other prominent dancers have been publicly defamed and severely harassed in past
12
          years, through fraudulent and defamatory statements online including but not limited
13
          to British dancer and choreographer Liam Scarlett, who sadly took his own life as a
14

15        direct cause of false and defamatory statements in the media and through industry

16        gossip.
17                  “We feel Liam would not have taken his life if his name hadn’t been dragged
18
                    through the press with inaccurate allegations”, stated by Deborah Scarlett,
19
                    Liam’s mother.
20
       51. Liam Scarlett was cleared of any wrongdoing, but only after his death which included
21

22        the false and defamatory statements of misconduct with children, which were all

23        proven to be false statements but which were never acknowledged or rectified by any

24        media source to date, much like the defamatory and false statements made by
25        Defendant Madison Breshears.
26

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 1     52. As alleged further herein, Madison Breshears is a well-known member of the New
 2        York Bar Association as well as the dance community through her anonymous
 3
          “meme” account, as a self-proclaimed “comedian”; as she, herself, was an aspiring
 4
          dancer before becoming an attorney.
 5
       53. Ms. Breshears continues to enjoy success as an attorney while maintaining her
 6

 7        “anonymous” account on social media, as she continues to post on her account

 8        @Real_World_Ballerina, harassing, defaming and threating Plaintiffs and other

 9        innocent lives just as she did again, on May 27th, 2024, as explained further herein.
10
       54. Plaintiffs have suffered unimaginable loss to their businesses, careers, reputations,
11
          finances, mental health, and overall livelihood and will continue to suffer as a direct
12
          and proximate result of Defendants’ conduct for the rest of their and their lives.
13
       55. As stated previously, Plaintiffs are currently on government assisted programs in
14

15        South Carolina, such as SNAP for food and Medicaid, as Plaintiffs are expecting their

16        first child on August 8th, 2024.
17     56. Plaintiffs have no income and have generated no income since May 13th, 2021, as a
18
          direct result of Defendants’ defamatory statements and online harassment campaign
19
          against them.
20
       57. Madison Breshears intentionally, willfully and maliciously destroyed Plaintiffs’
21

22        livelihoods, business and future ability to generate work or income in both of their

23        respective industries for the foreseeable future, as their names, likeness and

24        reputations were their business but were completely and entiretly obliterated as a
25        direct result of Madison Breshears’ harmful, harassing and defamatory statements.
26
                                     STATEMENT OF FACTS
27

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 1                     Madison Breshears’ Harassing and Defamatory Instagram Posts
 2         58. On May 13th, 2021, at approximately 6:00pm Eastern Time, Plaintiff Dusty Button
 3
                was teaching a dance class to hundreds of students for her contracted employer,
 4
                Braham Logan Crane at the dance convention Artists Simply Human, whereas, the
 5
                dance class consisted of nearly 300 participants.
 6

 7         59. Around 9:00pm EST, Dusty received an initial attack of two false and defamatory

 8              public comments on her Instagram profile page in response to a video she posted of

 9              herself dancing from Defendant’s personal Instagram account with the username,
10
                @mjbreshears5 which stated the following:
11
         “stop preying on young girls” and “feel like y’all should know she can’t keep a ballet job bc
12
                      she grooms young girls into sex acts with herself and her husband”.
13

14

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     5
         @mjbreshears is Defendant Madison Jane Breshears’ personal Instagram account.
28

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 1     60. Plaintiffs did not know of, or recognize the username @mjbreshears as her account
 2        was private and Plaintiffs did not know at the time that Ms. Breshears was working
 3
          “behind the scenes”, and conspiring with her two childhood friends, Sage Humphries
 4
          and non-party conspirator Hannah Stolrow to defame, harass and destroy Plaintiffs’
 5
          lives.
 6

 7     61. The verbiage and timing of this post was intentionally malicious as it was posted at the

 8        precise date and time that Plaintiff Dusty Button was teaching thousands of

 9        participants including but not limited to children and young dancers during the time
10
          this defamatory post was shared to hundreds of thousands of Plaintiffs’ followers on
11
          social media and who were present in her class or at the dance convention during that
12
          time.
13
       62. As admitted by Madison Breshears herself, on May 27th, 2024, she did not speak to
14

15        anyone aside from Sage Humphries prior to making her defamatory statements, who

16        was not a “young girl” at the time she (fraudulently) claims her allegations took place,
17        including that she was nineteen years old at the time she had a consensual open dating
18
          relationship, (as proven in exhibits), with Plaintiffs in 2017; therefore, Ms. Breshears
19
          alludes to “young girls” having knowledge of only one woman who Plaintiff Dusty
20
          Button knew and had any relation to.
21

22     63. As explained further herein, Defendant’s false and defamatory statements made

23        intentionally alluded to children, though the statements made are false and defamatory

24        in and of themselves; regardless, Ms. Breshears made her statements with actual
25        malice knowing any viewer or reader would believe her statement as fact and given
26
          the context in which the statement was made.
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 1     64. At the time of the defamatory publications, Plaintiffs were surrounded by participants,
 2        parents and employers at the dance convention that weekend.
 3
       65. For nearly three hours, the account @mjbreshers continued to harass, bully and
 4
          threaten Plaintiffs, repeatedly posting the same comment over and over again on Dusty
 5
          Button’s profile as Plaintiffs were deleting the unwanted and defamatory comment,
 6

 7        until finally, Plaintiffs were forced to block and report the account on Instagram for

 8        harassing content, limiting the account from being able to access or comment on

 9        Plaintiffs’ profiles.
10
       66. Within seconds of Plaintiffs blocking the account @mjbreshers, a separate and
11
          anonymous account with the username @Real_World_Ballerina posted the
12
          defamatory and despicable posts which led to the downfall and complete destruction
13
          of Plaintiffs’ careers, businesses, reputations and livelihoods.
14

15     67. As previously stated, supra, the account @Real_World_Ballerina, (which Plaintiffs

16        discovered and confirmed in 2023, was owned and controlled by Madison Breshears),
17        had nearly twenty thousand followers.
18
       68. Nearly twenty thousand people had access to everything posted on the account,
19
          @Real_World_Ballerina, influencing those twenty thousand followers to repost and
20
          share the defamatory statements to hundreds of thousands of accounts and users on
21

22        virtually every social media and communication platform, (i.e. Instagram, Facebook,

23        Tik Tok, Snapchat, Reddit, text message, email communication, WhatsApp, and

24        various other platforms).
25     69. Within seconds of Plaintiffs blocking and reporting, (what Plaintiffs now know to be
26
          Defendants’ personal account), @mjbreshears, the following false and defamatory
27

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 1        statements were posted by Madison Breshears on her anonymous yet famous account,
 2        @Real_World_Ballerina:
 3
                               POST ONE BY DEFENDANT
 4
                         “PSA: DUSTY BUTTON IS A PREDATOR”
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 1                                POST TWO BY DEFENDANT
 2     “This keeps getting removed. And she blocked me. But if you follow Dusty Button, you
 3
     should know she can’t keep a ballet job because she grooms young girls to engage in sex acts
 4
                                   with herself and her husband”.
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 1                               POST THREE BY DEFENDANT
 2   “[toxic emoji], if u or someone u know has been victimized by dusty_button, u aren’t alone.
 3
      She can’t keep a ballet job because she grooms young dancers for sex acts with herself and
 4
     her husband. This will probably get removed, she has managed to block and remove my other
 5
                    posts, but I hope at least someone can see this [toxic emoji]”.
 6

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14
                                 POST FOUR BY DEFENDANT
15
        “I have friends who have personally been victimized, or known someone victimized by
16
                             @dusty_button. Don’t give her a platform”.
17

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 1                                   POST FIVE BY DEFENDANT
 2    “I don’t expect anyone to take my word on faith! This is a serious accusation, and you are
 3
     justified in being skeptical. From my end, knowing what I know (but am unable to disclose in
 4
      detail), I feel like the right thing to do is at least warn you guys. If anyone is at least a little
 5
                        more careful or cautious around her, it’s worth it to me.”
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 1     70. Over the course of the next few hours, Madison Breshears continued to post
 2        threatening and harassing statements, commenting back to anyone who defended
 3
          Plaintiffs or otherwise advised her that her statements were defamatory and libelous.
 4
       71. Rather than Ms. Breshears removing the defamatory posts, she stated she had
 5
          “evidence” and “proof” of her defamatory statements that she would post and for her
 6

 7        followers to “keep an eye out”, yet she failed to follow through with these claims to

 8        date.

 9     72. Ms. Breshears never provided such “evidence” and “proof”, as none exists to back up
10
          her false and defamatory statements.
11
       73. Ms. Breshears abused her power as an attorney and influential social media member of
12
          the dance community to ridicule and harass Plaintiffs and any third party who
13
          questioned her defamatory statements, including but not limited to the following
14

15        responses from Madison Breshears to various third-party users who posted on her

16        account in response to the defamatory posts.
17     74. Below are Madison’s public responses regarding her defamatory statements:
18
                              COMMENT ONE BY DEFENDANT
19
                       “I’m being threatened by dusty button’s henchmen?”
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 1                            COMMENT TWO BY DEFENDANT
 2    “if she’s innocent, she can say so. Like u said, I haven’t produced evidence, so there’s no
 3
      reason anyone should believe me over her. She’s a famous, successful dancer. I know what
 4
                           libel is. I’m a law student. This isn’t it, sorry.”
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 1                                     COMMENT THREE BY DEFENDANT
 2                                         “not afraid. not even a little.”
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20                            COMMENTS FOUR AND FIVE BY DEFENDANT
21
                                “also u have no clue what proof I have. But go off.”
22
          “bruh… I literally have no reason to randomly ruin someone’s life for no reason. Why tf6
23
         would I do that. I know defamation law. I wouldn’t say this if i didn’t have a legit reason.”
24

25

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     6
         Abbreviated for “the fuck”.
28

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 1                                    COMMENT SIX BY DEFENDANT
 2        “mind ur own business. U know if things aren’t happening behind the scenes?7 No? Then
 3
         stfu8. If one person exercises caution bc of this it’s worth it. Bye [yellow hand wave emoji].”
 4

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26   7
       “Behind the scenes” is Madison’s reference to the civil litigation which she was aware of, as she conspired with
     her best friend Sage Humphries to defame Plaintiffs leading up to the litigation, which was filed just three
27   months later on July 28th, 2021.
     8
       Abbreviated for “shut the fuck up”.
28

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 1                     COMMENTS SEVEN, EIGHT AND NINE BY DEFENDANT
 2   “keep an eye out”; “it’s true”; “all I can say is multiple ppl9 have responded to this post alone
 3
                                    saying they also know victims [sad face emoji]”.
 4

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     9
         Abbreviate for “people”.
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 1                    COMMENTS TEN AND ELEVEN BY DEFENDANT
 2   “I know, little girls idolize her”; “all I can say is to this post alone, I’ve had multiple people
 3
                            who know victims and who have reached out.”
 4

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 1     75. As seen in the above posts, Madison Breshears led any reader or viewer to believe that
 2        her statements were substantially true, that she had proof and evidence, that her
 3
          statements were fact and that Plaintiff Dusty Button could not keep employment
 4
          because of her predatory behavior including by stating:
 5
                  •   “Knowing what I know (but am unable to disclose in detail)” – leading any
 6

 7                    reader or viewer to believe she knew something they did not but which

 8                    would make her statement undeniably true and later admitting on May 27th,
 9                    2024 on a recorded phone call with Plaintiffs that she in fact had no
10
                      evidence or proof, (none exists), to support her intentionally defamatory
11
                      posts.
12
                  •   “I have friends who have personally been victimized” - leading any reader
13

14                    or viewer to believe she had multiple friends who were personally

15                    victimized, later admitting on May 27th, 2024 on a recorded phone call with

16                    Plaintiffs that in fact, her only “friend” who she knew, and who had a
17                    dating relationship with Plaintiffs was a woman, Sage Humphries.
18
                  •   “[Dusty] can’t keep a ballet job because she grooms young dancers for
19
                      sex acts with herself and her husband” – leading any viewer or reader to
20
                      believe this was an undeniable statement of fact including because the
21

22                    context of her statement was combined with the forementioned statements.

23                •   “you have no clue what proof I have” – leading any reader or viewer to
24                    believe she had proof of the statements posted and that she knew
25
                      something they did not in relation to the proof of the statements, later
26
                      admitting on May 27th, 2024 on a recorded phone call with Plaintiffs that
27

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 1                    she only ever spoke to Sage Humphries and had no proof (she cannot), and
 2                    “If it was just Sage, I wouldn’t have posted it”, proving her defamatory
 3
                      statements were made out of actual malice.
 4
                  •   “it’s true” – leading any reader or viewer to believe her statements were
 5
                      substantially true, undeniable and that she had proof including because this
 6

 7                    statement was combined with other defamatory statements which alluded

 8                    to criminal conduct and the context of the statement would have deceived
 9                    readers to believe her statements as fact.
10
       76. Ms. Breshears knew that her statements were false and defamatory as she intentionally
11
          destroyed Plaintiffs and their businesses, as well as their business relationships,
12
          causing intentional irreparable harm, knowing her statements were in and of
13

14        themselves, false and defamatory and that she was in fact, “ruining” Plaintiffs’ lives

15        by posting these defamatory statements, (as seen in the forementioned comments and

16        photos).
17     77. As stated previously, Ms. Breshears’ anonymous account with the username,
18
          @Real_World_Ballerina, had amassed nearly twenty thousand followers.
19
       78. Ms. Breshears’ personal account, @mjbreshears, had just a tiny portion of those
20
          followers at around one thousand.
21

22     79. Defendant intentionally used the account @Real_World_Ballerina as the platform to

23        post harmful, false and defamatory statements as she knew it would “ruin” Plaintiffs’

24        lives, as the damage and destruction would be detrimental to Plaintiffs, rather than
25
          posting these defamatory statements from her personal account which had no impact
26
          on the dance industry, or any industry for that matter.
27

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 1     80. Plaintiff Dusty Button had nearly half of a million followers on Instagram, all of
 2        whom saw these defamatory statements, whereas employment, which was generated
 3
          from Plaintiffs’ Instagram page, (used for marketing products and services), entirely
 4
          imploded in the weeks following Madison Breshears’ defamatory posts.
 5
       81. Additionally, Dusty Button had over thirty fan pages created by other users who
 6

 7        admired and idolized her and who routinely reposted photos of Dusty and events

 8        where she would be performing.

 9     82. Due to Defendants’ conduct, nearly all of Dusty’s fan pages were transitioned and
10
          converted to “Dusty Button Hate” pages, reposting the defamatory statements posted
11
          by Madison Breshears and additionally, attracting hateful, harassing, defamatory and
12
          threatening comments as a direct result of Madison Breshears’ defamatory and
13
          malicious statements.
14

15     83. Plaintiff Taylor Button had nearly half of a million followers on his Instagram

16        account, all of whom saw these defamatory statements, whereas work, which was
17        generated from Plaintiffs’ page, (used for marketing products and services), entirely
18
          imploded in the weeks following Madison Breshears’ defamatory post.
19
       84. Plaintiffs began receiving death threats, death threats to family members, family
20
          members’ communications that they, themselves had received physical threats of harm
21

22        and death threats and other threatening and harassing public and private messages as a

23        direct result of Defendants’ conduct.

24     85. Ms. Breshears’ defamatory statements about Plaintiffs were reposted hundreds of
25        thousands of times, as the posts went viral.
26

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 1     86. The defamatory posts were sent to every employer, contractor, sponsor, co-worker,
 2        associate, friend and family member of Plaintiffs including by Madison Breshears,
 3
          herself, in an attempt to spread the defamation across the largest platform possible.
 4
       87. Plaintiff Dusty Button has never lost work or been unable to “keep a ballet job” due to
 5
          “grooming young dancers for sex acts with herself and her husband”.
 6

 7     88. Plaintiff Taylor Button has never lost work or been unable to keep a job due to “sex

 8        acts” with young dancers who were “groomed” by his wife or himself.

 9     89. The statement made by Madison Breshears from her personal account @mjbreshears
10
          “stop preying on young girls” was deliberately and intentionally meant to harm
11
          Plaintiffs, knowing her statement was false.
12
       90. Plaintiffs have never preyed on anyone; the defamatory statement which included the
13
          words “young girls”, in reference to children, were intentionally chosen by Defendant,
14

15        while she knew her statements were false and defamatory.

16     91. Defendant intentionally inflicted harm on Plaintiffs by choosing words that would
17        frighten children and the parents of those attending the May 13th, 2021 dance
18
          convention, as Dusty was teaching thousands of participants, including children and
19
          “young girls”.
20
       92. The defamatory statements were seen by millions of viewers through the internet,
21

22        social media platforms and messaging platforms as the post went viral on social

23        media, accumulating more than half a million views including any and all followers of

24        Dusty and Taylor Button in the dance and automotive industries.
25

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 1     93. These defamatory posts were reposted and shared hundreds of thousands of times
 2        including as attachments to emails and messages sent to Plaintiffs’ sponsors,
 3
          employers, contractors, co-workers, friends and family.
 4
       94. Defendant additionally posted her defamatory statements about Plaintiffs on TikTok
 5
          by Madison Breshears, (which was later discovered by Plaintiffs in 2023), with the
 6

 7        username @embresh.

 8     95. Defendants’ post on TikTok was viewed by hundreds of thousands of viewers,

 9        including being reposted and shared.
10
       96. Defendant knew that her statements about Plaintiffs were false and that they would
11
          “ruin” Plaintiffs’ lives and yet, made them anyway.
12
       97. Plaintiffs were prevented from confirming that Defendants’ anonymous account,
13
          @Real_World_Ballerina, was owned and controlled by her until the fall of 2023.
14

15     98. Ms. Breshears has never issued an apology or retraction including by justifying her

16        actions after calling Plaintiffs on May 27th, 2024 to intimidate and deter them from
17        seeking legal recourse against her, proving she delusionally believes her actions were
18
          justified and that her position remains unchanged as she stated in 2021, in response to
19
          a third-party advising her of the consequence of defamation on her defamatory post:
20
          “Not afraid. Not even a little”, as a direct statement to Plaintiffs through social media.
21

22     99. Moreover, Defendant intentionally made these defamatory posts and statements from

23        an anonymous account to hide her identity and prevent consequence to her actions,

24        proving that she knew they were defamatory.
25     100.       Defendant responded to third party users which informed her of her
26
          defamatory statements about Plaintiffs and continued to exacerbate the injury to
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 1        Plaintiffs by sharing the post to thousands of people following the initial post on May
 2        13th, 2021.
 3
       101.      Defendant has since deleted any and all evidence of her defamatory statements
 4
          and posts from the anonymous account @Real_World_Ballerina constituting
 5
          spoilation of evidence as she knew her statements were defamatory and libelous when
 6

 7        “ruining” Plaintiffs’ lives and later stating on the May 27th, 2024 phone call with

 8        Plaintiffs that she took them down because she had not been keeping tabs on the

 9        lawsuit and after looking, though it best to see how the lawsuit played out; further
10
          affirming her statements were defamatory and that she thought it best to remove
11
          association with the defamatory statements which implicated her.
12
                 The Aftermath of Madison Breshears’ Defamatory Statements
13
       102.      The impact of Defendants’ defamatory posts and statements was catastrophic
14

15        to Plaintiffs’ business as they received hundreds of messages directly following her

16        defamatory post canceling any and all contracted work and sponsorships for the
17        foreseeable future.
18
       103.      This resulted in millions of dollars lost in revenue, assets and income, as
19
          Plaintiffs’ businesses were destroyed.
20
       104.      As seen, supra, Plaintiffs themselves, were their business, contracted by
21

22        numerous private contractors which immediately ceased working with Plaintiffs

23        following the May 13th Instagram post, including but not limited to contractors and

24        sponsors who had not only employed and worked with Plaintiffs for over fifteen years,
25        but who immediately disassociated themselves from Plaintiffs.
26

27

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 1          105.          Through the night of May 13th, 2021, Plaintiffs alternated sleeping to manage
 2              and check each other’s phones which were full of notifications from social media,
 3
                email and messaging platforms.
 4
            106.          Plaintiffs were sent death threats and harassing messages, as hundreds of
 5
                thousands of accounts reposted Defendants’ defamatory post.
 6

 7          107.          Following Madison Breshears’ defamatory post, Plaintiffs were harassed so

 8              much so, that they received death threats and other extremely distressing comments

 9              and messages from various third parties as seen below:
10
                   •    “Hey Dusty! I hope prison is everything you hope for! Maybe those tilts and
11
                   competition tricks will come in handy behind bars?! Best of luck!” – Instagram user -
12
                                                            @lauramarbs
13

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24
            •      “@schonraker_foto him and the missus have been too busy BF’n10 little girls to make
25

26                     social media posts it would appear” – Instagram user @the_mechanicalanimal.

27
     10
          *BF’n – abbreviation for “butt fucking” but which means “sodomizing”; in this case, a female child.
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                •    “Hi! According to a recent post by @real_world_ballerina, dusty button is a
 8
                     predator who is not someone people should be looking up to! Just spreading the
 9
10                                      word.” – Instagram User - @cheryltanxr

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21
            •    “#dustybutton You child rap1st11 P#S12. You need to be thrown in a wood chipper.” –
22

23                                          Instagram User - @dunerooster

24

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27   11
          Rap1st = rapist.
     12
          P#S = Piece of shit.
28

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 1            •    “Child rapist POS13. You need to be thrown in a wood chipper.” – Instagram User -
 2
                                                        @dunerooster
 3

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            108.         As another example, (as depicted by the screenshot below), following the
16
                  initial post, numerous hate pages and accounts were created by Madison Breshears,
17
                  her followers and various other third parties to bully, harass and threaten Plaintiffs as a
18
                  direct result of Madison Breshears’ defamatory posts and remarks.
19

20                                     •   Username – @dusty_button_hatepage

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     13
          POS = piece of shit.
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       109.      This is just a fraction of the communications, notifications, threats and
21
          harassment which Plaintiffs received following Defendants’ defamatory post, all of
22
          which Plaintiffs have documented and preserved for discovery.
23

24     110.      At approximately midnight, Plaintiffs were contacted by the wife of the owner

25        of Artists Simply Human, Brianna Valenti Crane, who immediately stated she was

26        made aware of the post.
27

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 1     111.      At this time, Plaintiffs were completely devastated and distraught that Ms.
 2        Breshears had posted such egregious, disgusting and untrue statements.
 3
       112.      Ms. Crane stated she knew the defamatory statements were entirely false and
 4
          meant to destroy Plaintiffs but suspected the defamatory statements were stemming
 5
          from a conspired effort with Plaintiffs’ ex-girlfriend from 2017, Sage Humphries, who
 6

 7        had previously harassed, threatened and defamed Plaintiffs in 2017 with similar

 8        defamatory remarks sent to every employer and sponsor of Plaintiffs, one of which

 9        was Ms. Crane herself.
10
       113.      Plaintiff Dusty Button was asked by Ms. Crane to continue with the weekend
11
          as scheduled in an attempt to minimalize the damage that this online attack would do
12
          to harm her company, thus teaching her next dance class at 8am on May 14th.
13
       114.      On May 14th, 2021, the harassment, threats and reposts of Madison Breshears’
14

15        defamatory post only continued and in fact, worsened as Plaintiffs were forced to

16        endure one of the most difficult days of their lives, walking through a dance
17        convention full of thousands of participants; including parents, dance studio owners,
18
          teachers and children, all of whom had seen the defamatory post from the night before
19
          which stated Plaintiffs “preyed on young girls and dancers” and that Plaintiff Dusty
20
          Button could not “keep a ballet job” because she “grooms young dancers for sex acts
21

22        with herself and her husband” thus believing that the people they once idolized were

23        criminals.

24     115.      Madison Breshears’ defamatory posts were intentional as she was aware her
25        statements were false and defamatory, knew the consequences of her intentionally
26
          harmful statements and that the damage to Plaintiffs’ reputations and business would
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 1        be so catastrophic that it would, (in her own words), ruin their lives through
 2        irreparable damage.
 3
       116.      At 8am on May 14th, 2021, Plaintiff Dusty Button taught her scheduled ballet
 4
          class to a senior group of dancers aged fifteen and up, (including adults), whereas, it
 5
          was one of the most traumatizing experiences Plaintiffs endured, as during the entirety
 6

 7        of the class, both Plaintiffs’ phones were receiving hundreds of thousands of

 8        notifications regarding the defamatory post by Madison Breshears.

 9     117.      On the evening of May 14th, 2021, Plaintiffs met with the owner of Artists
10
          Simply Human, away from the chaos of the dance convention created by Madison
11
          Breshears, at the restaurant Milkboy, located at 1100 Chestnut Street in Philadelphia,
12
          Pa to discuss the defamatory post which had already circulated and widely spread to
13
          hundreds of thousands of people and which had already been emailed to the company.
14

15     118.      During the meeting with owner and director, Braham Logan Crane, Plaintiff

16        Dusty Button was informed that she would not be allowed to teach the rest of her
17        scheduled classes for the weekend and was temporarily suspended from the rest of the
18
          season to assess how everything “panned out”.
19
       119.      Three weeks later, Dusty Button received an email from Braham Logan Crane
20
          prematurely terminating her contract indefinitely as a direct result of Madison
21

22        Breshears’ defamatory publications, resulting in a loss of half of a million dollars as a

23        result of her long-term contract with Artists Simply Human and the endorsements that

24        revolved around it.
25     120.      The Defendant in this Complaint is solely responsible for the initial destruction
26
          of Plaintiffs’ careers, reputations, and business.
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 1     121.      While every statement made by Defendant was false in their entirety, the core
 2        facts of Plaintiffs’, (whom these statements were made about), were equally inaccurate
 3
          and false, which Madison Breshears had actual knowledge of.
 4
       122.       Defendant stated that Plaintiff Taylor Button abused his power in the dance
 5
          industry when in fact, he was not even involved in the dance industry in any capacity
 6

 7        and in fact, was, until this defamation destroyed his business, a leading designer and

 8        builder of world-renowned Ferraris, race cars and military vehicles within the

 9        motorsport and automotive industry abroad.
10
       123.      Since making such false, malicious, and defamatory statements, numerous
11
          media outlets around the world have continued to quote Madison Breshears by
12
          wrongfully posting that Plaintiffs raped, groomed, sexually assaulted, drugged and
13
          trafficked young girls and dancers including by using these defamatory and egregious
14

15        statements from 2021 as leverage and grounds for the New York Times article

16        Madison Breshears was already aware of and for her friend Sage Humphries, to gain
17        media attention leading up to the filing of her civil complaint against Plaintiffs on July
18
          28th, 2021.
19
       124.      At the time the events took place, Plaintiffs failed to understand that Ms.
20
          Breshears was actually conspiring with Sage Humphries and non-party co-conpsirator
21

22        Hannah Stolrow to generate public momentum for her malicious lawsuit which was

23        filed against Plaintiffs three months later, in order for Ms. Humphries to gain media

24        coverage and traction for her case, as well as cripple Plaintiffs finances and business,
25        as it immediately terminated any and all employment for both Plaintiffs, intentionally
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 1         and severely hindering them from being able to fund a defense against fraud for
 2         themselves and relieving Madison Breshears from any responsibility.
 3
       125.        Defendants’ defamatory post and the comments which followed were so
 4
           traumatizing to Plaintiffs that they nearly, strategically took their own lives following
 5
           the realization that regardless of the egregious, malicious and defamatory nature of the
 6

 7         attack they were suffering, their lives and lifelong work would never recover once the

 8         world learned the truth, that they were exemplary models for those who idolized

 9         them.
10
       126.        Madison Breshears knew that Plaintiffs would suffer extreme mental anguish
11
           and destruction to their reputations and business but chose to intentionally harm them
12
           anyway; in such a way that they would not be able to recover mentally, spiritually or
13
           financially.
14

15     127.        As a direct result of Madison Breshears’ defamatory statements, Plaintiffs’

16         business, careers, reputations, livelihood and ability to generate income was
17         completely destroyed.
18
       128.        As one example, Plaintiffs received numerous emails, text messages and other
19
           communications from their sponsors, employers and contractors cancelling any and all
20
           work as a direct cause of Madison Breshears’ defamatory post including but not
21

22         limited to the following messages:

23

24     •   Text message from Bree Hafen to Dusty Button, notifying Plaintiff of terminated
25
           agreement and negotiations regarding a collaboration as a direct result of Defendants’
26
           conduct.
27

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22     •   Text message from Shelby Richardson notifying Plaintiff of terminated agreement and
23
              negotiations regarding a collaboration as a direct result of Defendants’ conduct.
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          •   Text message from Jacqueline Porter, (with the Dallas Conservatory), notifying
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25        Plaintiff of terminated agreement and negotiations regarding a collaboration as a direct

26                                    result of Defendants’ conduct.
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       129.      These messages are just an example and a tiny fraction of what Plaintiffs
12

13        suffered by way of loss of business and employment.

14     130.      As another example; as a direct result of Madison Breshears’ defamatory post,

15        an entire forum discussion was started to additionally defame, harass and threaten
16
          Plaintiffs, and additionally update the forum on cancelled business in which third
17
          parties were conspiring with Madison Breshears and Sage Humphries to send
18
          defamatory messages to Plaintiffs’ employers, contractors and sponsors as seen in just
19
          a few examples below:
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       131.         As a direct result of Madison Breshears’ defamatory post, an entire Reddit
17
             discussion was created to further spread this defamation, harass, shame, embarass and
18
             threaten Plaintiffs including defamatory posts from “anonymous” users associated
19

20           with Madison Breshears, non-party Cat Cogliandro and Sage Humphries which further

21           destroyed the reputations of Plaintiffs including but not limited to the following

22           screenshots below:
23

24
         •     “I heard her and her husband had an underage prostitute overdose in their room in
25
                          Vegas” – anonymous user on Reddit known as u/dancerd13.
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 1     132.         Further examples of defamatory and harassing posts as a direct result of
 2           Madison Breshears false and defamatory remarks are below:
 3
         •    “Now that it’s finally public that Dusty Button is a sexual predator, don’t you think
 4
             it’s time ya’ll stop following her on Instagram? That your children stop following her?
 5
               That your company stops following her? Who we follow is a reflection of our own
 6

 7             values. Do you share the values of a sexual predator?” – Username: Kim Comelek

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 1                                 •   “Pedo” – Instagram user @royalt_xo
 2

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 7            •        “Care to address your partnership with @dusty_button considering the latest

 8                accusations against her?” – Instagram user @blossomandbranchfam to Plaintiff’s
 9
                                               sponsor BLOCH Inc.
10

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18     133.           The defamatory posts by Madison Breshears were collectively reposted
19
          hundreds of thousands of times and additionally exaggerated and manipulated,
20
          constituting further harassment and defamation to Plaintiffs as a direct result of
21
          Defendants’ malicious conduct.
22

23     134.           Importantly, the decisions of those to selectively repost the defamatory

24        statements made by Madison Breshears, explicitly and falsely stating that Plaintiffs

25        preyed on young girls and dancers to groom them for sex acts with each other, further
26        evidences the widespread impact of false information initiated by Madison Breshears’
27
          defamatory remarks.
28

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 1     135.      Relying on the defamatory statements made by Madison Breshears, numerous
 2        third parties published that Plaintiffs were “child rapists”, “pedophiles”, “predators”,
 3
          “sexual deviants”, “groomers”, “dangerous, and “should not be around children”,
 4
          amongst many other egregious and despicable descriptions, as a direct result of
 5
          Defendants’ defamatory remarks.
 6

 7     136.      As another example, Gina Jones, a user on Reddit, falsely stated that Plaintiffs

 8        were criminally charged and indicted in the state of Nevada, demanding others to call

 9        the owners of one of the largest motorsport events on the planet, (that Plaintiff Taylor
10
          Button headlined each year), SEMA, where Plaintiffs were scheduled to make a guest
11
          appearance and debut another world-renowned vehicle for the dozens of sponsors and
12
          employers that they were contracted to.
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 1     137.      Plaintiff Taylor Button’s appearance and business at SEMA was cancelled, as
 2        a direct result of Madison Breshears’ defamatory post, thus prematurely breaching his
 3
          contracts to dozens of sponsors resulting in repossessions and accrued debt.
 4
       138.      The above-referenced posts, reposts, forum discussions and messages, are only
 5
          a fraction of the social media posts and articles that have surfaced since the release of
 6

 7        Madison Breshears’ defamatory post on May 13th, 2021.

 8     139.      Defendants’ false and defamatory statements about Plaintiffs immediately

 9        spread like wildfire, as hundreds of thousands of third parties repeated and reposted
10
          the defamatory statements to countless viewers.
11
       140.      All of the above-referenced defamatory posts and statements have resulted in
12
          damages to Plaintiffs due to the false and misleading statements posted by Defendant
13
          and in subsequent posts and reporting by Defendant and other outlets.
14

15        Defendants’ Account @Real_World_Ballerina and the Spoilation of Evidence

16     141.      Ms. Breshears was spreading defamation by way of using her famous and
17        high-profile dance community focused Instagram account @Real_World_Ballerina,
18
          anonymously, as she spent her days in law school, simultaneously and publicly
19
          mocking and shaming dancers and the community through misguided posts on her
20
          anonymous social media account.
21

22     142.      For example, Defendants’ account, @Real_World_Ballerina, consisted of

23        harassing and threatening posts illustrated by Defendant, shooting another dancer out

24        of spite and encouraging others to kill themselves because of how they look compared
25        to other dancers.
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 1     143.      These posts were used to intimidate anyone who followed this account and
 2        whose opinion differed from Ms. Breshears’.
 3
       144.      This cyber bullying was only fortified when Defendant began posting about
 4
          Plaintiffs on May 13th, 2021.
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       145.      Madison Breshears has, in recent days, scrubbed the internet entirely of any
22

23        statement she has ever made about Plaintiffs including deleting any and all defamatory

24        posts about Plaintiffs on her Instagram page @Real_World_Ballerina, to make her
25        account look as though she never posted those defamatory statements.
26
       146.      In the weeks following Defendants’ defamatory post, Plaintiffs sought counsel
27
          in Nevada, (Marc Randazza of Randazza Legal Group), to initially help in discovering
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 1              who was behind the account @Real_World_Ballerina and additionally to file suit
 2              against the owner of the account for the defamatory posts and remarks however, on
 3
                July 28th, 2021, Madison’s best friend, Sage Humphries filed the lawsuit Madison was
 4
                tasked to defamatorily prime before Plaintiffs could file their own against Madison
 5
                Breshears; preventing them from taking action against her for her defamation.
 6

 7         147.         As previously stated, and as a direct result of Madison Breshears’ defamatory

 8              posts and remarks, Plaintiffs did not work or generate any revenue following the date

 9              of May 13th, 2021.
10
                  The July 28th, 2021, Sage Humphries Litigation in Nevada District Court
11
           148.         On July 28th, 2021, Sage Humphries and Gina Menichino, (represented by
12
                Sigrid McCawley and associates from Boies Schiller Flexner), filed a civil complaint
13
                against Plaintiff Taylor Button14.
14

15         149.         Plaintiffs discovered through the front-page publishing of The New York

16              Times that this complaint was filed, prior to Plaintiff Taylor Button even being served.
17         150.         Plaintiff Dusty Button was not named as a Defendant in Ms. Humphries’ and
18
                Ms. Menichino’s complaint.
19
           151.         Plaintiff Dusty Button has never met Gina Menichino.
20
           152.         None of Defendants’ defamatory posts specifically reference Plaintiff Taylor
21

22              Button by name.

23         153.         Instead, Ms. Breshears specifically names Dusty Button and only refers to

24              Taylor Button as “her husband” in order to procure the attention of the dance
25

26

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     14
          See Nevada District Court Case: 2:21-cv-01412-ART-EJY
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 1        community as a whole, a community that Plaintiff Taylor Button had absolutely no
 2        involvement in at this time.
 3
       154.       Plaintiffs had already traumatically endured three months of harassment,
 4
          bullying and threats, including total loss and destruction of Plaintiffs’ businesses as
 5
          any and all employment as well as official representation by agents, which was
 6

 7        destroyed as a direct result of Madison Breshears’ defamatory campaign.

 8     155.       Defendant intentionally chose to use Plaintiff Dusty Button’s name to target

 9        an industry plagued by the cancer that is Cancel Culture and Me-Too desperation, as
10
          she knew it would harm Plaintiffs in such a way, that it would destroy their lives, their
11
          businesses, and their careers, crippling their ability to litigate the lawsuit she knew was
12
          being filed.
13
       156.       After Plaintiffs retained Randazza Legal Group, they were not even able to
14

15        fight the defamatory remarks made by @Real_World_Ballerina, as Plaintiffs were

16        instead, forced to defend against Sage Humphries’ frivolous and fraudulent complaint
17        as they could not pursue their own claims of defamation against Madison Breshears
18
          timely while defending against the false allegations of Sage Humphries at the same
19
          time and additionally lost any and all income to fund two defenses at the same time.
20
       157.       Defendant intentionally plotted to destroy Plaintiffs ability to generate income
21

22        for precisely that reason.

23     158.       Sage Humphries, her parents Micah and Michael Humphries, non-party co-

24        conspirator Hannah Stolrow and Madison Breshears intentionally conspired together
25        to ruin Plaintiffs’ lives, crippling Plaintiffs’ ability to work as their reputations,
26
          careers, business and livelihood were completely destroyed.
27

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 1        159.         Defendant knew there would be no consequence to her actions at the time, as
 2            Plaintiffs could not afford to pursue action against her even if every waking moment
 3
              of their lives weren’t spent defending their good names against the false claims
 4
              Madison Breshears personally pushed to the cover of every major news publication on
 5
              the planet and including because Plaintiffs did not know that it was Defendant who ran
 6

 7            the anonymous account @Real_World_Ballerina at the time.

 8        160.         In the fall of 2021, Plaintiffs were evicted from their home due to their

 9            inability pay for their bills, thus accruing massive debt as a direct result of no income
10
              following Madison Breshears’ defamatory posts and remarks leading up to Sage
11
              Humphries’ fraudulent complaint and the global media campaign waged against
12
              Plaintiffs.
13
          161.         On September 23rd, 2021, Plaintiffs were met with an amended complaint by
14

15            Sage Humphries’ attorneys whereas, they added three other litigants – Plaintiff Taylor

16            Button’s ex-girlfriend from 2009, Danielle Gutierrez, another woman from the same
17            dance studio in 2009, Rosie DeAngelo and a woman Plaintiffs have never met, known
18
              as Jane Doe 115.
19
          162.         The allegations brought forth by all three are false in their entirety however,
20
              these three complaints prove Madison Breshears’ defamation further as her
21

22            defamatory statements about Plaintiffs are not supported by the allegations even if the

23

24

25
     15
        On May 27th, 2024 Madison Breshears admitted that she had never spoken to Jane Doe after lying and falsely
26   stating she knew that Jane Doe spoke to the New York Times and would be published in the article which is
     entirely false as Gina Menichino and Sage Humphries were the only parties to have spoken to the New York
27   Times. Ms. Breshears lied and made this statement to try and justify her defamatory statements made three
     months prior to the article being published; it does not work as her statements are undeniably proven to be false.
28

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 1           allegations were true, (they are not), and even if Madison Breshears knew of them
 2           prior to May 13th, 2021, (she did not).
 3
          163.        Plaintiff Dusty Button has never met Danielle Gutierrez, Rosemarie DeAngelo
 4
             and additionally, has never met or heard of Jane Doe 1.
 5
          164.        Plaintiff Taylor Button has never met or heard of Jane Doe 1.
 6

 7        165.        On December 13th, 2021, Plaintiffs were again, met with a second amended

 8           complaint by Sage Humphries’ attorneys whereas, two more litigants were added;

 9           Plaintiff Taylor Button’s                                   , Jane Doe 2 and Juliet Doherty
10
             (who has now withdrawn and revoked her claims in their entirety).
11
          166.        The allegations brought forth by these two litigants are false in their entirety
12
             however, these two complaints prove Madison Breshears’ defamation further as her
13
             defamatory statements about Plaintiffs are not supported by the allegations even if the
14

15           allegations were true, (they are not), and even if Madison Breshears knew of them

16           prior to May 13th, 2021, (she did not, now admitted by Madison Breshears herself on
17           May 27th, 2024), as the conversation was as follows:
18
             Plaintiff Taylor Button: “Have you talked to anyone in this litigation aside from
19
             Sage?”
20
             Defendant: “No.”
21

22        167.        Plaintiff Dusty Button has never met Jane Doe 2.

23        168.        Plaintiff Juliet Doherty16 voluntarily withdrew herself from the litigation after

24           Taylor and Dusty Button proved her allegations to be fraudulent.
25

26
     16
       Defendants have filed a lawsuit against Juliet Doherty for sexual assault and malicious prosecution amongst
27   other claims including claims against her mother and photographer for claims of conspiracy and defamation. See
     case 1:24-cv-05026-JPC filed in the Southern District Court of New York.
28

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 1        169.        While none of the allegations in Nevada are true, none of the allegations
 2           brought forth in Nevada even if they were true, (they are not), validate Madison
 3
             Breshears’ defamatory statements rather, entirely invalidate Madison’s publications
 4
             and thus certifying they are defamatory, verifying that she did in fact know that her
 5
             statements were false in their entirety.
 6

 7        170.        Defendants’ statements were made out of actual malice, in conspiracy with

 8           Sage Humphries to ruin Plaintiffs’ lives prior to the onset of Sage Humphries’

 9           complaint being filed three months after Madison Breshears’ defamatory statements
10
             about Plaintiffs were posted.
11
          171.        On May 27th, 2022, Sage Humphries provided an interview on Good Morning
12
             America following a setup by her infamous counsel, (who famously defended Harvey
13
             Weinstein and Theranos, which their leader David Boies was a board member of),
14

15           whereas, the entirety of her interview was defamatory in and of itself.17

16        172.        In July of 2022, Plaintiffs Dusty and Taylor Button filed a Motion to Dismiss
17           and Counterclaim in Nevada, adding a third-party complaint against Sage Humphries’
18
             parents and three men whom Sage Humphries had inappropriate sexual relationships
19
             with, Daryl Katz18 (billionaire and owner of the NHL team The Edmonton Oilers),
20
             Anthony Giovanni Deane (Sage’s ex-boyfriend whom was more than two decades her
21

22           senior) and Chase Finlay (whom Sage dated whilst he was engaged to another woman,

23           thus destroying their engagement and their relationship in its entirety).

24

25
     17
        https://www.youtube.com/watch?app=desktop&v=rdUCjhVK2Qo – Good Morning America, Interview with
26   Sage Humphries
     18
        https://edmontonjournal.com/news/local-news/oilers-owner-daryl-katz-and-ballet-dancer-both-deny-
27   allegations-they-had-sexual-relationship - Edmonton Journal Article regarding Sage Humphries and Daryl Katz’
     relationship.
28

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 1        173.         On the day Taylor and Dusty Button’s counterclaim was filed, Sage
 2            Humphries was mid-interview with Gretchen Voss, Boston Magazine Journalist,
 3
              whereas, everything Sage had ever said was disproven by the counterclaim and
 4
              exhibits which corresponded.
 5
          174.         Sage Humphries abruptly ended her interview with Gretchen Voss.
 6

 7        175.         Upon belief, Defendant had knowledge of Ms. Humphries’ sexual relationships

 8            with Anthony Giovanni Deane, Chase Finlay and Daryl Katz.

 9        176.         Sage Humphries’ Boston Magazine interview19 further proves that Madison
10
              Breshears knew her statements were defamatory but posted them anyway.
11
          177.         In August of 2022, after being physically and financially (legally) threatened
12
              by Daryl Katz and his hired “fixer”, Anthony Pellicano20, against Plaintiffs’ demands,
13
              Plaintiffs attorney withdrew Daryl Katz (with a tolling agreement) and the other two
14

15            men from the third-party complaint leaving only Sage Humphries’ parents.

16        178.         In October of 2022, Plaintiffs lost their counsel due to the inability to continue
17            funding their representation.
18
          179.         Since October 14th, 2022, Plaintiffs have been pro se against Boies Schiller
19
              Flexner and their six clients, one of whom Plaintiffs have never met or heard of, (Jane
20
              Doe 1) but all of which whom have admitted under oath that they were recruited by
21

22            Humphries and Counsel and that their claims have no basis or grounds.

23

24

25   19
        https://www.bostonmagazine.com/news/2022/08/02/ballet-scandal-boston/ - Boston Magazine Article about
     Sage Humphries and Plaintiffs Dusty and Taylor Button, August 2nd, 2022.
26   20
        https://variety.com/2022/film/news/anthony-pellicano-daryl-katz-marc-randazza-1235349929/ ;
     https://thenevadaindependent.com/article/pellicanos-presence-adds-a-new-twist-in-ballerina-sex-exploitation-
27   litigation ; https://www.casino.org/news/mgm-wiretap-p-i-hired-to-disappear-billionaire-ballerina-sex-lawsuit/ ;
     articles regarding Daryl Katz hiring Anthony Pellicano to silence Plaintiffs Dusty and Taylor Button.
28

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 1        180.        On February 2nd, 2023, the Nevada District Court held an Oral Argument on
 2           several pending motions including Plaintiffs’ Counterclaim against Sage Humphries,
 3
             which included supplemental exhibits including text messages between Sage
 4
             Humphries and her mother regarding her mother’s disapproval of her daughter’s
 5
             consensual dating relationship with Taylor and Dusty Button and a July 22nd, 2017
 6

 7           false police incident report filed by Sage Humphries’ mother, countering Sage

 8           Humphries’ allegations in addition to the defamation claims against her for her Good

 9           Morning America interview on May 27th, 2022.
10
          181.        Sage Humphries filed to dismiss Dusty and Taylor Button’s counterclaim
11
             against her whereas, the Court DENIED her motion to dismiss the counterclaim of
12
             defamation per se, further proving Ms. Humphries allegations to be fraudulent and
13
             additionally, that Madison Breshears’ posts were intentionally defamatory against
14

15           Plaintiffs21.

16        182.        On February 22nd, 2023, Plaintiffs filed a motion to vacate Sage Humphries’
17           abuse prevention order which was granted in 2017, (which is currently scheduled for
18
             oral argument this fall on the grounds of fraud on the Court), in Boston, MA.
19
          183.        Plaintiffs’ discovered evidence of fraud in the Nevada litigation proving Sage
20
             Humphries’ fraud in 2017 and 2018 including false police reports and lying to law
21

22           enforcement, which Plaintiffs were not aware of until the discovery of the Nevada

23           litigation began but which she used to secure her abuse prevention order in 2017 and

24           2018.
25

26   21
       On February 17th, 2023 Honorable Judge Traum entered an Order denying Sage Humphries’ motion to dismiss
     Dusty and Taylor Button’s defamation claim against her whereas the Court stated: “Based on the details herein
27   and in lights of the record as a whole, the Court denies Sage Humphries’ Motion to Dismiss the counterclaim of
     defamation per se.”
28

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 1         184.         On June 11th, 2023, Plaintiffs filed an appeal the decision to vacate Sage
 2              Humphries’ restraining order on the grounds of fraud on the Court in light of new
 3
                evidence.
 4
           185.         Plaintiffs appeal is scheduled for Oral Argument in the Massachusetts
 5
                Appellate Court22.
 6

 7         186.         On February 24th, 2023, Juliet Doherty voluntarily withdrew herself from the

 8              Nevada litigation.

 9         187.         In June of 2023, Plaintiffs filed a Rule 11 Motion for Sanctions against Jane
10
                Doe 1 and her counsel as they have never met her in their entire lives whereas, her
11
                complaint was “amended”, forcing a third amended complaint. This action resulted in
12
                Plaintiffs filing a new motion to dismiss and counterclaim against all parties which is
13
                still pending.
14

15         188.         In September of 2023, Plaintiffs deposed Sage Humphries whereas, her

16              admissions in her deposition prove she conspired with Madison Breshears to post
17              defamatory remarks against Plaintiffs to gain attention and traction prior to the filing
18
                of her litigation in Nevada, crippling Plaintiffs’ ability to defend themselves.
19
            Madison Breshears’ relationship with Sage Humphries and her knowledge of Sage
20
                            Humphries’ consensual dating relationship with Plaintiffs
21

22         189.         Defendant is originally from California.

23         190.         Defendant is friends with two women named in this Complaint; Sage

24              Humphries and non-party co-conspirator, Hannah Stolrow whereas, all three grew up
25              together in California and aspired to be professional ballerinas whereas, all but the
26

27
     22
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 1        named Defendant in this complaint were successful in becoming professional
 2        ballerinas.
 3
       191.      Plaintiff Dusty Button was one of the most prominent and world-renowned
 4
          ballerinas including that she was Red Bull’s first and only ballet athlete, endorsed and
 5
          contracted by many brands due to her talent, marketing and branding as her own
 6

 7        business.

 8     192.      Plaintiff Taylor Button was one of the most prominent and world-renowned

 9        designers and builders in the automotive industry including the design and building of
10
          famed horological machines, Ferraris, race cars and military vehicles, contracted and
11
          endorsed by many brands due to his talent, marketing and branding as his own
12
          business.
13
       193.      In 2012, Plaintiffs moved to Massachusetts as Dusty Button became a
14

15        company member of the Boston Ballet.

16     194.      In 2014, Dusty was promoted to Boston Ballet’s highest position in the
17        company as Principal ballerina.
18
       195.      In 2016, Sage Humphries, who was also a member of the Boston Ballet,
19
          introduced herself to Dusty Button at the Boston Ballet whereas, they became good
20
          friends.
21

22     196.      In 2017, Sage Humphries, (nearly twenty years old), infiltrated Plaintiffs’

23        marriage, initiating a physical and sexual relationship with both Plaintiffs, ultimately

24        forming an open dating relationship for about four months from May until July of
25        2017, thus making Plaintiffs one of dozens of unconventional relationships that Sage
26

27

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 1        Humphries created in her pursuit of freeing herself from the confines of an
 2        overcontrolling family.
 3
       197.       Plaintiffs have never had interest, been involved in or interested in an open
 4
          relationship prior to allowing Sage Humphries to infiltrate their marriage and would
 5
          never again do so.
 6

 7     198.       During Plaintiffs’ relationship with Sage, she spoke highly of Plaintiffs to

 8        Madison Breshears (named Defendant in this Complaint) and Hannah Stolrow.

 9     199.       Ms. Stolrow was the first person Sage Humphries told she was “in love” with
10
          both Plaintiffs and additionally, told Ms. Breshears and Ms. Stolrow that she had
11
          “never been happier” than she was while in the relationship with Plaintiffs, to which
12
          Ms. Stolrow professed having witnessed these claims by Sage Humphries herself.
13
       200.       In April, 2017, Plaintiffs were invited to Ms. Humphries’ parents’ home in
14

15        California for Easter and to celebrate Plaintiff Taylor Button’s birthday which is April

16        16th.
17     201.       On April 16th, 2017, Sage Humphries asked Plaintiffs if they wanted to sleep at
18
          her father’s “law office” which doubled as a “beach house” in Seal Beach, CA – The
19
          Law Office of Michael Humphries.
20
       202.       On April 16th, 2017, Sage Humphries stated she had a “surprise” for Taylor’s
21

22        birthday, whereas, she initiated a three-way relationship that evening as a proverbial

23        birthday gift for Plaintiffs Taylor Button and Dusty Button thus blurring the lines

24        between friendship and relationship.
25     203.       On the morning of April 17th, 2017, Sage’s father walked in on the three, nude
26
          together in bed, and while making unbroken eye contact simply reminded Sage
27

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 1        Humphries of her dentist appointment that morning and left, later directing Plaintiffs
 2        where the best coffee place in town was and carried on for the rest of the trip as if
 3
          nothing happened.
 4
       204.      Following the intimate interaction which took place on April 16th, 2017, Sage
 5
          Humphries and Plaintiffs continued their relationship, ultimately labeling each other as
 6

 7        “boyfriend” and “girlfriend” and spending most of their time together in a relationship

 8        as Sage Humphries asked Plaintiffs if she could stay at their apartment the majority of

 9        the time.
10
       205.      Ms. Humphries’ parents never addressed walking in on the three.
11
       206.      Following the April trip to California, Micah Humphries initiated a “group
12
          text” with her daughter and Plaintiffs which was regularly used.
13
       207.      In May of 2017, Ms. Humphries’ parents again, invited Taylor Button to their
14

15        home on two occasions while he was there for work, in which he obliged.

16     208.      At the end of April, 2017, Ms. Humphries’ parents, (Micah and Michael
17        Humphries), made it clear that they knew she was in a dating relationship with both
18
          Plaintiffs whereas, at first, Ms. Humphries’ parents accepted the relationship, asking if
19
          she could move in with Plaintiffs stating they knew Sage’s desire was to move in with
20
          them and wanted to make sure it was okay with Plaintiffs.
21

22     209.      In May of 2017, Micah Humphries visited Plaintiffs’ home in Massachusetts,

23        staying over for one night during her visit.

24     210.      In May of 2017, Sage’s parents sent the summer itinerary they planned for her,
25        giving her dates in which, she was allowed to make her own plans for the summer,
26
          though she was an adult, whereas, Sage Humphries made it clear that she already
27

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 1         made plans with Plaintiffs to travel to Australia but would adjust her schedule to also
 2         fit in what her parents scheduled for her.
 3
       211.          Upon Sage Humphries’ statements to her mother regarding her summer
 4
           schedule, there was a complete turn of events, as Sage Humphries was insistent on
 5
           being allowed to make her own decisions including the text message between Sage
 6

 7         and her mother which stated the following:

 8     •   Micah Humphries: “They are not your masters. I don’t know what control. I’m pretty
 9         sure this is a threesome and I’m completely weirded out by all of it. You’ve known
10
           them 3 months. I love you sage but this situation is destructive to you and not
11
           healthy.”
12
       •   Sage Humphries: 1) “Dusty is texting you regarding what you said about her to dr k.
13

14         2) you are paranoid and sound crazy regarding this relationship.

15     •   Micah Humphries: “It is weird Sage”.

16     •   Sage Humphries: 3) “this is my choice”.
17
       •   Micah Humphries: “Sage”.
18
       •   Sage Humphries: “my life my summer”.
19
       •   Micah Humphries: “I love you with all my heart”.
20

21     •   Sage Humphries: “Nobody is controlling my life. You are the only person trying to

22         do so”.
23     212.          Following this argument between Sage and her mother, it was then made clear
24
           (in a turn of events), that her parents suddenly did not approve of her decision to be in
25
           an open dating relationship with Plaintiffs.
26

27

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 1     213.      On May 17th, 2017, Micah Humphries texted her daughter, warning her that if
 2        she did not end the relationship with Plaintiffs, she would fly to Boston from
 3
          California with her husband and forcibly remove Sage.
 4
       214.       Sage Humphries ignored her mother’s message regarding coming to get her
 5
          things and instead, continued her relationship with Plaintiffs as she expressed that was
 6

 7        her desire.

 8     215.      On May 22nd, 2017, to Plaintiffs’ shock, Plaintiff Dusty Button’s contract with

 9        the Boston Ballet was abruptly terminated for “just cause”, with no explanation as to
10
          why she was terminated, banning Dusty and Taylor from the Boston Ballet building as
11
          well as the Boston Opera House where the performances were held and in fact, would
12
          not allow Dusty to collect her belongings from Boston Ballet.
13
       216.      Upon belief, Madison Breshears had actual knowledge that Sage Humphries’
14

15        parents were directly responsible for the termination of Plaintiff Dusty Button’s

16        contract with the Boston Ballet due to defamatory statements including by stating that
17        Plaintiffs had over fifty automatic weapons, hand grenades and land mines in their
18
          apartment, which they later filed a false police report about.
19
       217.      Dusty Button has never received a reason or cause for her termination from
20
          Boston Ballet nor was one named in the official documentation however, Plaintiffs
21

22        now know, Micah and Michael Humphries conspired with Boston Ballet to

23        prematurely terminate Dusty Button’s contract.

24     218.      On May 24th, 2017, Sage Humphries’ parents sent her a text that they were in
25        Massachusetts, ordering her to attend dinner and falsifying that Ms. Humphries’
26
          grandfather was “dying”. He was not.
27

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 1     219.       On May 25th, 2017, Sage Humphries, (who was an adult), went to dinner with
 2         Plaintiffs prior to her performance with Boston Ballet.
 3
       220.       Upon Sage Humphries arrival to the Boston Opera House, she was escorted out
 4
           of the Opera House by Boston Ballet staff and forcibly removed by her own parents
 5
           who were waiting at the Opera House.
 6

 7     221.       Sage Humphries called Plaintiffs screaming for help as she was forced by her

 8         parents into a taxi, through the airport and onto a plane, taken back to California to the

 9         Humphries’ home to be “converted”.
10
       222.       Madison Breshears had actual knowledge of Sage Humphries’ kidnapping
11
           including because Ms. Breshears admitted to the following on the May 27th, 2024
12
           phone call with Plaintiffs:
13

14     •   Plaintiff: “How did you know this?”

15     •   Defendant: “From Hannah.”

16     •   Defendant: “I wanna make it clear, I don’t want to throw Hannah under the bus”
17
       •   Plaintiff: “She’s under that bus.”
18
       •   Defendant: “I don’t want to be involved in this at all.”
19
       •   Defendant: “I don’t want her to be involved in this at all.”
20

21                And;

22     •   Plaintiff: “Have you talked to anyone in this litigation aside from Sage?”
23     •   Defendant: “No.”
24
       223.       These statements are confirmation that Ms. Breshears knew her statements to
25
           be false and defamatory prior to making them including direct information and
26
           knowledge from Sage Humphries herself and their mutual best friend and non-party
27

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 1        co-conspirator Hannah Stolrow including actual knowledge of the relationship
 2        between Sage Humphries, who was an adult, and Plaintiffs in 2017.
 3
       224.      Micah and Michael Humphries (admittedly) stripped their daughter’s drivers’
 4
          license, cell phone and keys to prevent her from leaving their home or contacting
 5
          Plaintiffs or any other third party for help as they forced her into therapy that they
 6

 7        funded with her own money that they stole from her bank account without permission.

 8     225.       Madison Breshears had actual knowledge Sage Humphries’ forced therapy

 9        and lack of freedom while at her parents’ home in California.
10
       226.      On or around May 26th, 2017, Plaintiffs contacted Hannah Stolrow to ask if she
11
          heard from Sage Humphries and explained the events that had taken place to which
12
          Ms. Stolrow responded “Oh my God, Micah is doing it again”.
13
       227.       Ms. Stolrow stated to Plaintiffs that it is Micah Humphries’ modus operandi to
14

15        control and manipulate any and all relationships Sage pursued on her own and which

16        were not approved by her mother, whether it be a friendship or dating relationship.
17     228.       On May 26th, 2017, Ms. Stolrow stated she had not heard from Ms. Humphries
18
          in some time, was worried and volunteered to check on her as she was in close
19
          proximity to Ms. Humphries’ parents’ home in Seal Beach, CA.
20
       229.      Madison Breshears had actual knowledge of Ms. Stolrow checking on Sage
21

22        Humphries, who was confronted by Micah Humphries and not allowed to speak to

23        Sage who was in captivity at that time.

24     230.      Upon Ms. Stolrow driving to Ms. Humphries’ parents’ home to visit and check
25        on her, the Humphries stopped Ms. Stolrow from speaking to Sage and instead lied to
26
          Ms. Stolrow telling her an entirely fabricated narrative consisting of lies about
27

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 1        Plaintiffs drugging their daughter, raping her, preventing her from communicating
 2        with her parents and controlling her communications, including her emails and social
 3
          media.
 4
       231.        Hours after checking in on Ms. Humphries, Ms. Stolrow again, contacted
 5
          Plaintiffs with an entirely different approach, yelling at Plaintiffs that they lied to her
 6

 7        and did not “tell her the whole truth”.

 8     232.        Plaintiffs never understood what Ms. Stolrow was referring to until they were

 9        provided text messages from Ms. Stolrow to Sage Humphries’ mother in 2023 and
10
          until they spoke to Ms. Stolrow’s ex-boyfriend, (Bryce Jackson Lee), on October 3rd,
11
          2023, whereas, Bryce confirmed that Sage Humphries’ mother lied to Ms. Stolrow
12
          stating her daughter was drugged by Plaintiffs and was recovering from trauma
13
          suffered by the hands of Plaintiffs.
14

15     233.        Sage Humphries was deposed in September of 2023 whereas, she stated she

16        never spoke to Ms. Stolrow that day as she was not allowed to leave the house but that
17        her mother spoke to Ms. Stolrow instead.
18
       234.        On May 27th, 2017, Sage Humphries’ parents sent a text message to Plaintiffs
19
          threatening them with restraining orders.
20
                   “Restraining Orders are being filed”.
21

22     235.        Simultaneously, and unbeknownst to Ms. Humphries’ parents, she was using

23        their phones to message Plaintiffs, which she pursued on her own, begging Plaintiffs

24        for help to, “come save her”, “come get her” and “need help”.
25     236.        On May 28th, 2017, Sage Humphries’ father filed two false police reports, one
26
          in California and one in Massachusetts.
27

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 1     237.      Sage Humphries tried to escape his home in California whereas the police were
 2        called for a family disturbance.
 3
       238.      Michael Humphries told the police his daughter’s ex-boyfriend, (Plaintiff
 4
          Taylor Button), boarded a flight, was coming to kidnap her and take her back to
 5
          Boston, that Plaintiffs were going to harm Sage and her family.
 6

 7     239.      Sage Humphries told the police that there was no validity to her fathers’

 8        statements to the police and she felt safe, as seen in the report below:

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 1     240.          Exactly one minute after the false report was filed in California, Ms.
 2        Humphries’ parents called in a false 911 call using an address of Plaintiffs’ former co-
 3
          worker in Somerville, MA falsely stating Plaintiffs had over fifty assault rifles, hand
 4
          grenades and land mines in their apartment resulting in the Department raiding
 5
          Plaintiffs’ apartment, in which it was cleared in approximately five minutes as no such
 6

 7        items were ever owned or possessed by Plaintiffs.

 8     241.          Madison Breshears had actual knowledge of these two incidents whereas,

 9        Defendant had actual knowledge of these false reports to the police made by Sage
10
          Humphries’ parents in an attempt to destroy Plaintiffs’ lives due to their daughter’s
11
          relationship with them including because she spoke to Sage Humphries and Hannah
12
          Stolrow regarding the events which took place in the summer of 2017.
13
       242.      From June 1st until July 18th, 2017, Sage Humphries continued to pursue
14

15        Plaintiffs, (who were in Australia), via Snapchat using her younger brothers’ phone

16        and at times, stranger’s phones, begging Plaintiffs to “save her” and to “come get
17        [her]”, that her parents were performing exorcisms on her, had kidnapped her and she
18
          was being forced into therapy.
19
       243.      Defendant had actual knowledge that Sage Humphries was using various
20
          phones and messaging apps to contact Plaintiffs against her parents’ orders, as her
21

22        desire was to continue her relationship with Plaintiffs.

23     244.      Ms. Humphries hid her relationship and contact with Plaintiffs from her

24        parents.
25     245.      Plaintiffs never once reached out to Ms. Humphries after May 25th, 2017.
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 1     246.       Defendant had actual knowledge that Sage Humphries hid her relationship and
 2        contact with Plaintiffs from her parents.
 3
       247.        Ms. Humphries communicated with Hannah Stolrow and Madison Breshears
 4
          in the months of June and July of 2017 about Plaintiffs, including using Ms. Stolrow’s
 5
          cell phone to contact Plaintiffs and additionally, travelling to Ms. Stolrow’s house in
 6

 7        the summer of 2017, once her parents gave her permission to do so.

 8     248.        In July of 2017, Ms. Humphries’ parents gave her an ultimatum; to either end

 9        her dating relationship with Plaintiffs or she would lose everything she ever loved,
10
          including that they would not pay for her ticket to go back to Massachusetts to rejoin
11
          the Boston Ballet in August of 2017.
12
       249.       Defendant had actual knowledge of Sage Humphries’ ultimatum, to choose her
13
          career at Boston Ballet or her relationship with Plaintiffs.
14

15     250.       On July 10th, 2017, Ms. Humphries warned Plaintiffs of her parents’ ultimatum

16        whereas, she additionally warned Plaintiffs that she would leave a fake breakup
17        voicemail on their phones in order to make her parents believe she ended the
18
          relationship, allowing her to go back to Boston but insisted she wanted to continue the
19
          relationship when back in Boston; she just needed to “make her parents think she was
20
          ending it”.
21

22     251.       Defendant had actual knowledge of Sage Humphries’ “fake break up” with

23        Plaintiffs.

24     252.       On July 14th, 2017, Ms. Humphries contacted Plaintiffs and stated her parents
25        were forcing her to see a lawyer, that she got really upset and left and stating to
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 1        Plaintiffs that her parents were forcing her to sign restraining orders against Plaintiffs
 2        or they would not give her back her freedom.
 3
       253.       Sage Humphries did not fill out the restraining order application form, her
 4
          parents did, forcing Sage Humphries to sign what they had written.
 5
       254.       This forgery has since been admitted by Sage Humphries per her deposition in
 6

 7        September of 2023.

 8     255.       Madison Breshears had actual knowledge that Sage Humphries was forced to

 9        sign the restraining orders her parents wrote and that it was against the wishes of her
10
          best friend.
11
       256.       Defendant had actual knowledge of Sage Humphries’ being forced to see a
12
          lawyer and to sign restraining orders against Plaintiffs to regain her freedom, allowing
13
          her to go back to Boston, MA.
14

15     257.       Defendant had actual knowledge that Sage Humphries’ desire was to continue

16        her relationship with Plaintiffs once she was back in Boston, but that she just needed
17        her parents to “back off”.
18
       258.       On July 18th, 2017, Ms. Humphries succumbed to her parents’ pressure when
19
          her parents admittedly messaged Plaintiffs from her account thus ending her
20
          relationship with Plaintiffs.
21

22     259.       On July 22nd, 2017, Sage Humphries’ filed a false police report with the

23        Orange County Police Department contradicting her prior statements to the police in

24        May in order to have a record that she filed a report in preparation for her restraining
25        order hearing.
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 1     260.        The police noted they had previously been called to her parents’ home on
 2        numerous occasions for the same matter whereas, every report was unfounded, as
 3
          shown below:
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25     261.        Defendant had actual knowledge of Sage Humphries false reports to the police
26        in order to appease her parents in following through with the fraudulent restraining
27
          order.
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 1     262.       Plaintiffs were never aware of these reports filed until 2022.
 2     263.       On August 1st, 2017, Ms. Humphries filed her application for a temporary
 3
          restraining order against Plaintiffs in Boston, Massachusetts.
 4
       264.       Defendant had actual knowledge of Sage Humphries’ fraudulent filing of a
 5
          restraining order.
 6

 7     265.       On August 14th, 2017, Ms. Humphries was granted a one-year restraining order

 8        against Plaintiffs.

 9     266.       Sage Humphries perjured herself in Court that day and committed fraud upon
10
          the Court to ensure her restraining order was granted.
11
       267.       Sage Humphries omitted every police report in her hearing in order to state she
12
          “filed” police reports against Plaintiffs but failed to bring the actual reports proving all
13
          of her statements and her parents’ statements to the police were unfounded.
14

15     268.       Sage Humphries has since been deposed, in 2023, whereas, she admitted her

16        restraining order was actually to prevent Plaintiffs from “blackmailing” her, as she
17        previously uploaded a camera roll from her iPhone in 2017 to Plaintiffs hard drive
18
          upon request, in order to send her old phone back when upgrading phones.
19
       269.       Plaintiffs were not aware that she left a camera roll on their hard drive in 2017.
20
       270.       Upon belief, Madison Breshears later became aware that Sage Humphries had
21

22        left her camera roll on Plaintiffs hard drive.

23     271.       The camera roll Ms. Humphries uploaded in 2017 consisted of

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 1

 2                                                                      .
 3
          272.       Sage Humphries told Plaintiffs this relationship with Katz began when she was
 4
             seventeen.
 5
          273.       Upon belief, Madison Breshears had actual knowledge of the relationship
 6

 7           between Katz and Sage Humphries as her best friend, Hannah Stolrow was also

 8           invited to dinner with Daryl Katz and Sage Humphries as a double date, to meet his

 9           cousin, Michael Gelmon23.
10
          274.       Defendant had actual knowledge of Sage Humphries’ plan to conspire against
11
             Plaintiffs while appeasing her parents’ orders.
12
          275.       Sage Humphries’ father is an attorney, who abused his power by falsifying
13
             documents and forcing his daughter to sign them by way of threat and intimidation.
14

15        276.        Sage Humphries’ father abused his power to ensure his daughter’s restraining

16           order was granted as the Judge did not look at any evidence against Sage Humphries
17           or her parents provided by Plaintiffs that day.
18
          277.       In 2018, on June 11th, Sage Humphries filed another false police report in
19
             Massachusetts against Plaintiffs, falsely stating Plaintiffs were selling illegal firearms
20
             in California.
21

22        278.        This report was unfounded by police.

23        279.       Defendant had actual knowledge of the false allegations contained in the false

24           police report filed by Sage Humphries against Plaintiffs.
25

26

27   23
       Article regarding Daryl Katz and Michael Gelmon - https://www.cbc.ca/news/canada/edmonton/daryl-katz-
     greice-santo-dismiss-1.4070860
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 1     280.      On August 14th, 2018, the night before Ms. Humphries restraining order
 2        renewal hearing, Sage Humphries filed another false police report in Massachusetts
 3
          claiming Plaintiffs were using a third-party to stalk her.
 4
       281.      This report was unfounded by police.
 5
       282.      Defendant had actual knowledge of the allegations within the false police
 6

 7        report filed by Sage Humphries against Plaintiffs.

 8     283.      On August 15th, 2018, the Court held an ex-parte hearing whereas, Ms.

 9        Humphries was granted a permanent restraining order against Plaintiffs.
10
       284.       Sage Humphries used the false statements she reported to police in Court but
11
          neglected to bring the actual reports which showed her allegations were all false
12
          unfounded, which Plaintiffs were never aware of until 2022.
13
       285.      Upon belief, Defendant had actual knowledge of Sage Humphries’ false
14

15        statements to the Court, assuring her restraining order was made permanent and that

16        Plaintiffs were not present, (as they were unaware of the hearing).
17     286.      Ms. Humphries told Ms. Stolrow and Ms. Breshears of her consensual dating
18
          relationship with Plaintiffs, her parents’ extreme disapproval, her desire to stay in the
19
          relationship with Plaintiffs and the love she had for Plaintiffs.
20
       287.      Ms. Breshears was an admirer, fan and follower of Plaintiff Dusty Button
21

22        whereas, she had actual knowledge of the events which took place surrounding Sage

23        Humphries’ relationship with Plaintiffs as Dusty and Taylor posted numerous

24        photographs and videos of the relationship on their public accounts.
25

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 1     288.       Defendant had actual knowledge that Ms. Humphries’ continued to appease
 2        her parents to assure her freedom was not taken away, while making false and
 3
          defamatory allegations against Plaintiffs.
 4
       289.        Defendant had actual knowledge that Sage Humphries was an adult at the
 5
          time of her consensual dating relationship with Plaintiffs.
 6

 7     290.       Defendant had actual knowledge that Sage Humphries’ parents did not approve

 8        of Sage Humphries’ choice to be in a dating relationship with Plaintiffs.

 9     291.        Defendant had actual knowledge of Sage Humphries’ parents flying to
10
          Massachusetts from California to forcibly kidnap and traffic their daughter back to
11
          California against her will she made the decision to stay in the relationship with
12
          Plaintiffs.
13
       292.       Defendant had actual knowledge of Sage Humphries’ desire to stay in the
14

15        relationship with Plaintiffs and that her parents gave her an ultimatum in the summer

16        of 2017 forcing her to choose between them and her own freedom.
17     293.       Defendant had actual knowledge of the context of Sage Humphries’ messages
18
          and communications to Plaintiffs during the time she was not “allowed” to
19
          communicate with them and did so in secret from her parents.
20
       294.       Defendant had knowledge of Sage Humphries’ parents’ threats to their
21

22        daughter to either end the relationship with Plaintiffs or they would not give her the

23        freedom to go back to Boston and return to her career at Boston Ballet.

24     295.       Defendant had knowledge that Sage Humphries was forced to sign a
25        restraining order against her will in order for her parents to allow her to go back to
26
          Boston, MA in the summer of 2017.
27

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 1     296.       Defendant had actual knowledge of the nature of her friend’s relationship with
 2        Plaintiffs, as well as the events described herein prior to making her defamatory
 3
          statements online accusing Plaintiffs of heinous acts with children and young dancers,
 4
          which never occurred.
 5
       297.      Defendant knew that the defamatory statements she made from her anonymous
 6

 7        account @Real_World_Ballerina, were malicious as she intentionally inflicted harm

 8        upon Plaintiffs, including because Sage Humphries was an adult at the time of her

 9        relationship with Plaintiffs.
10
       298.      Defendant knew that the defamatory statements she made from her anonymous
11
          account @Real_World_Ballerina, were malicious as she intentionally inflicted harm
12
          upon Plaintiffs, including because Sage Humphries initiated an open relationship with
13
          Plaintiffs in which she communicated with Ms. Breshears, her desire to be with
14

15        Plaintiffs and the love she had for them.

16     299.      Given Defendants’ knowledge of the actual relationship between Sage
17        Humphries’ and Plaintiffs, her repeated statements that Plaintiffs “groomed young
18
          girls” for “sex acts” with each other, that she “had evidence”, that it “was true” and for
19
          everyone to “keep an eye out”, that Plaintiff could not “keep a ballet job” while stating
20
          Plaintiffs’ prey on “young girls”, are defamatory statements made with actual malice,
21

22        which destroyed Plaintiffs’ business and any chance of recovering from the damage

23        which was immediately done to their careers and reputations.

24     300.      Madison Breshears’ role in the destruction of Plaintiffs’ lives was fueled by its
25        purpose and this purpose was to publicly destroy Plaintiffs’ lives and careers rendering
26
          them public pariahs.
27

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 1     301.       The importance of Defendants’ role in this destruction was to eliminate
 2        Plaintiffs’ ability to work, thus assuring that they would be incapable of funding a
 3
          defense against Sage Humphries’ frivolous and malicious lawsuit filed against
 4
          Plaintiffs with the singular purpose of forcing Plaintiffs to destroy evidence that
 5
          federally incriminates that friend, ( Sage Humphries ) and one of the wealthiest and
 6

 7        most prominent men in the country Daryl Katz, (owner of the Edmonton Oilers NHL

 8        team), for illegal prostitution

 9
10

11
       302.       This evidence of Humphries’ and Katz behavior, that the Boston Municipal
12
          Court has ruled was the rightful property of Plaintiffs has been the key focus of Ms.
13
          Humphries’ fraudulent lawsuit, though the majority is sealed from the public, as all
14

15        parties involved in the Nevada litigation, (aside from Dusty and Taylor Button) have

16        fought, perjured themselves and manipulated the Court in the hopes of forcing the
17        Court to order the destruction of this evidence that will eventually lead to criminal
18
          charges against the parties it is relative to.
19
       303.       Plaintiffs are merely collateral damage in Madison Breshears’ role of
20
          destruction while assisting her friend as Sage Humphries covered the tracks of her
21

22        illegal sexual proclivities.

23     304.       Mr. Katz, a former third-party, (with a tolling agreement), Defendant in the

24        Nevada litigation named above, has abused his wealth and power by hiring a
25        convicted felon to threaten the lives of Plaintiffs while ordering their silence and like
26
          Katz, the corruption and illegal activity of his hired “gun” Anthony Pellicano runs
27

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 1        deep and that activity has placed them both in various Courts and various headlines
 2        over the decades.
 3
       305.      While the reasons behind Madison Breshears’ defamation remain entirely
 4
          irrelevant, considering that her public shaming and abuse are now and always have
 5
          been false and malicious in their entirety, the depths of the illegal and corrupt
 6

 7        connections may illuminate the arrogance required to perform these acts, arrogance

 8        that stems from law school and the misguided feelings of immunity that come from

 9        attacking innocent people, at the pinnacle of their careers, while knowing they would
10
          be financially ruined and incapable of defending against the defamation of a powerful
11
          attorney, backed by one of the most powerful men in the country.
12
       306.      Illegal prostitution, abuse of power, sex trafficking and spoliation of evidence
13
          aside…Defendant maliciously and aggressively defamed Plaintiffs and destroyed any
14

15        glimmer of a future they could hope for and did so with zero remorse and a proverbial

16        middle finger to anyone who questioned her authority in the matter.
17     307.      While the discovery process will tell all, it is telling that Defendant has erased
18
          and scrubbed the internet entirely of any and every comment that she has ever made
19
          about Defendants and more so, has erased any record of comments made to her
20
          regarding her previous defamatory claims.
21

22      Madison Breshears Continued Abuse of Power and Harassment Toward Plaintiffs

23     308.      On May 13th, 2024, Plaintiffs filed a complaint against Madison Breshears.

24        Following the filing of the Complaint and to confirm Defendants’ information for
25        service of that complaint, Plaintiffs sent a text message and email to Ms. Breshears in
26

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 1         hopes of getting confirmation of her contact information for the process server
 2         whereas, the messages read:
 3
       •   “Madison, happy three year anniversary. May the odds be ever in your favor.”
 4
       •   The text message contained a photo of Madison Breshears’ “anonymous”, defamatory
 5

 6         post on Instagram from May 13th, 2021 which stated: “PSA: Dusty Button is a

 7         predator”.

 8         Ms. Breshears replied:
 9     •   “If you still have a lawyer at this point, I’d consider running any further late night
10
           mafioso-style test blasts by him/her first :).”
11
       309.        Plaintiffs did not reply but received another text from Ms. Breshears which
12
           stated, “cool ‘hunger games’ reference, very millennial-coded, fittingly dated [salute
13

14         emoji]”. Again, Plaintiffs did not reply but confirmed to the process server that the

15         phone number was indeed, Ms. Breshears’ which later came to use as Ms. Breshears

16         moved addresses and was contacted by the server via telephone.
17
       310.        Shockingly, on May 14th, 2024, Defendant Breshears showed that after three
18
           years, she could still not contain her desperation for attention and rather than keeping
19
           the conversation between the private parties, immediately posted the text messages
20
           and content to the same “anonymous” Instagram account, @Real_world_ballerina,
21

22         which is the very primary subject in which this instant dispute and litigation is

23         regarding.
24     311.        Ms. Breshears proceeded to post further false and defamatory statements about
25
           Plaintiffs, posting the original false, defamatory and egregious statement, “Dusty
26
           Button is a predator”, while doxing Plaintiffs’ private information to her account
27

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 1        including their telephone numbers and email address to nearly twenty-thousand
 2        followers via her (self-admittedly owned) social media account. The following posts
 3
          were made on the account @Real_world_ballerina on May 14th, 2024:
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       312.          Defendant intentionally and willfully doxed Plaintiffs private and personal
21
          contact information to twenty-thousand followers, with the intent to cause the very
22
          same harassment and cyber bullying which came from her false, defamatory and
23

24        egregious conduct in May of 2021 by pointing those followers directly to Plaintiffs’

25        phone number and email address instead of handling matters privately between the

26        parties.
27

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 1     313.       It is unacceptable for any party to conduct themselves in such a manner
 2         however, as Ms. Breshears is a licensed attorney, it is expected that she is not only
 3
           aware but follows the Model Rules of Procedure which in this case, she did not.
 4
       314.       Following Ms. Breshears’ misconduct, Plaintiffs received messages and calls
 5
           from unknown parties which were harassing and, in some cases, threatening, as a
 6

 7         direct result of the Defendants’ posts which were left on her Instagram for twenty-four

 8         hours until, as expected, she deleted the evidence of her misconduct which can no

 9         longer be seen on her social media account.
10
       315.       On May 14th, 2024, Plaintiffs filed a civil crime report with the Department of
11
           Justice in the Southern District Court of New York and a cyber harassment complaint
12
           with the IC3 unit of the Federal Bureau of Investigations including information
13
           pertaining to Madison Breshears intentional harassment, threats and cyber bullying
14

15         which caused Plaintiffs extreme distress for over three years and which is continuing.

16     316.       On May 24th, 2024, Defendant was served with the Complaint and at around
17         3:30pm EST Plaintiffs received a voicemail from Ms. Breshears. Within the voicemail
18
           Ms. Breshears stated that she would like to have a “civil conversation” to explain
19
           herself and her conduct three years ago to avoid moving forward with this lawsuit.
20
       317.       The phone call only verified that Ms. Breshears’ position has remain
21

22         unchanged as she intimidated, threatened and abused her power as an attorney to deter

23         Plaintiffs from seeking recourse against her.

24     The May 27th, 2024 Phone Call Between Defendant Madison Breshears and Plaintiffs
25     318.       On May 27th, 2024, Plaintiffs contacted Madison Breshears via telephone and
26
           legally recorded the call as they are in the one-party consent state of South Carolina.
27

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 1        319.          On the call, Ms. Breshears undeniably admitted to a slew of misconduct and
 2            defamation and additionally, abused her power as a licensed attorney by way of
 3
              intimidation in an attempt to deter Plaintiffs from seeking legal recourse against her
 4
              and telling them that they will not be successful in seeking justice.
 5
          320.          The following statements were made on the phone call which took place
 6

 7            between Defendant Madison Breshears and Plaintiff Taylor Button on May 27th,

 8            202424:

 9        •   DEFENDANT: “It would be a good idea just to talk”.
10
          •   PLAINTIFF: “We tried to call you in October of last year but you didn’t really want
11
              to talk when we called you at the firm”.
12
          •   DEFENDANT: “Um I haven’t worked at the firm in months, do you mean the cell
13

14            phone call? The one where you were asking, I think I talked to Dusty right? I didn’t

15            know that it was gonna be, I was gonna be called as a witness or something like that

16            for the other case that was going on so you know I don’t wanna cause any problems
17
              for them or whatever.”
18
          •   PLAINTIFF: “You don’t really have to, they caused the problems for themselves. You
19
              still are named as a witness in that case, ironically by us and not by Sage or anyone
20

21            else for that matter but when [Dusty] reached out to you in October she was calling

22            because, (I know you said our complaint is a bit confusing), but you can imagine that

23            it’s even more confusing to be standing in a Walgreens in Philadelphia when all of a
24            sudden on the internet it pops up that you’re a sexual predator for children when you
25
              know that’s not the case and here we are three years later with this predicament so
26

27   24
       Plaintiffs intend to provide the entirety of the recorded call to the Court during discovery or otherwise at the
     Court’s request.
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 1         that’s kinda where we are today. I know you said you wanted to elaborate on your end
 2         but I just want to tell you in advance that we’ve been through depositions with
 3
           everyone that I have sat with personally and deposed everybody and I am not sure
 4
           what your relationship is with Sage or Hannah at this point but the way it came across
 5
           in the depositions was pretty clear. That is why we find ourselves in this position
 6

 7         today.”

 8     •   DEFENDANT: “I didn’t speak to [Sage] prior to making that post and that’s not
 9         accurate. Me and Hannah are close friends.”
10
       •   DEFENDANT: “I wanna make it clear, I don’t want to throw Hannah under the bus”.
11
       •   PLAINTIFF: “She’s under that bus.”
12
       •   DEFENDANT: “I don’t want to be involved in this at all.”
13

14     •   DEFENDANT: “I don’t want her to be involved in this at all.”

15     •   PLAINTIFF: “She’s involved in this.”
16
       •   DEFENDANT: “Luckily, I’m an attorney so this isn’t gonna be a problem. I can
17
           represent myself pro se.”
18
       •   PLAINTIFF: “Well you don’t have to be an attorney to represent yourself pro se
19

20         which is why you’re talking to us.”

21     •   DEFENDANT: “I know that for sure, but I feel comfortable doing that and I am sure

22         you guys have picked up some, you know, knowledge on how to maybe do this.”
23
       •   PLAINTIFF: “Listen, I don’t want to get into semantics. The point is, whatever
24
           Hannah told you doesn’t matter to us because Hannah didn’t publish it online…you
25
           did. You say you want to have a civil conversation but there is nothing civil about
26
           doxing our private phone number, home address and information on the internet the
27

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 1         second that you get a text message from either one of us. You had the opportunity to
 2         talk in October, you had the opportunity to talk when we texted you on May 13th so I
 3
           don’t know why you went straight to an anonymous Instagram account to just
 4
           humiliate us and dox us for 20,000 people to come at us”.
 5
       •   DEFENDANT: “Well for one that number isn’t private it’s online publicly.”
 6

 7     •   PLAINTIFF: “So is yours but if I go and post it for 20,000 people in an attempt to get

 8         them to harass you, that’s doxing and that’s what you’ve done to us which is why as
 9         soon as you posted that my pregnant wife received numerous death threats again
10
           following your post on the internet just like she did in 2021 so you’ve been at the base
11
           of not only the destruction of our lives but you personally, your singular post in May
12
           of 2021 destroyed both of our careers and our lives.”
13

14     •   DEFENDANT: “This is what I wanted to talk about, I know we haven’t talked about it

15         but…”

16     •   PLAINTIFF: “No, we haven’t talked about it. We haven’t talked about my wife and I
17
           wanting to kill ourselves in 2021 because of you, no we haven’t”
18
       •   DEFENDANT: “Would you mind if I just told you, that’s what I wanted to talk about?
19
           So uh, my intention and what I did was, I think your read of the situation was that...”
20

21     •   PLAINTIFF: “My read was that my wife is a sexual predator, because that’s what it

22         says in your words”.

23     •   DEFENDANT: “Right, right right. But my post was breaking something that was not
24
           going to break, so the circumstances that I had at the time is that I heard from Hannah
25
           about what was going on with Sage….”
26
       •   PLAINTIFF: “Was Sage a child in 2017?”
27

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 1     •   DEFENDANT: “No”.
 2
       •   PLAINTIFF: “Then why are you saying young girls and children on the internet
 3
           regarding my wife?”
 4
       •   DEFENDANT: “I just knew several other dancers were going to be coming forward
 5

 6         and that the article was going to be published imminently.”

 7     •   PLAINTIFF: “Published… as in the New York Times?”

 8     •   DEFENDANT: “Yeah”.
 9
       •   PLAINTIFF: “Which is not a lawsuit. You’re basing your facts on the New York
10
           Times.”
11
       •   DEFENDANT: “No I just knew there were going to be several people coming
12

13         forward.”

14     •   PLAINTIFF: “How did you know this?”
15     •   DEFENDANT: “From Hannah”.
16
       •   PLAINTIFF: “How did Hannah know this?”
17
       •   DEFENDANT: “From Sage”
18
19     •   DEFENDANT: “I didn’t see it as doing anything that wasn’t already going to happen

20         and I didn’t feel comfortable talking about any of the specifics and I know that

21         probably came off like I was the impetus that got things rolling…”.
22     •   DEFENDANT: “I didn’t know at the time that’s how it would be and I knew at the
23
           time that article was imminent and I felt like oh my gosh I was worried about these um
24
           […], yeah I mean, I have a passion for children.
25
       •   DEFENDANT: “I knew that you guys were around teaching kids”.
26

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 1     •   PLAINTIFF: “I was not a dance teacher, what is wrong with you people? I build
 2
           Ferraris, exotic cars and military trucks for a living and Sage knew this. I was not
 3
           involved in the dance industry so why do all of you keep saying I was around
 4
           children? My wife was, my wife who has never met 6 of the plaintiffs who started this
 5
           lawsuit - who’s only met Sage…so somehow you all use Dusty’s name and why?
 6

 7         Because she was the biggest name in ballet and you harp on it and you say “Dusty

 8         Button is a sexual predator” so now can you tell me how my wife is a sexual predator
 9         because I am the only one who’s met the rest of them.”
10
       •   DEFENDANT: “The victims stories speak for themselves but I deleted all of those
11
           posts after the lawsuit came out.”
12
       •   DEFENDANT: “I wanted to allow the Court proceedings to solve themselves out and
13

14         let the discovery phase come out”.

15     •   PLAINTIFF: “And how did that work out”.
16     •   DEFENDANT: “I haven’t been keeping tabs on it.”
17
       •   DEFENDANT: “So the evidence is that there are over 5 people who claimed that this
18
           happened to them right? If they had evidence this wouldn’t be a civil case right? If
19
           they had evidence this would be a criminal case.”
20

21     •   DEFENDANT: “I posted that when the #metoo movement came out, I think it went too

22         far, there were people who made false accusations or exaggerated things and there
23         were people who’s lives were destroyed by that and I understand the frustration for
24
           the people who’s lives were destroyed by that for sure”.
25
       •   PLAINTIFF: “If you do, then how are you on the internet posting our text to you while
26
           saying you are empathetic to those lives?”
27

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 1     •   DEFENDANT: “I did not know you were going to sue me!”
 2
       •   PLAINTIFF: “Now you say that you didn’t know that The New York Times was going
 3
           to post it later, and you didn’t know this was going to be the catalyst to that”.
 4
       •   DEFENDANT: “I did know, that’s why I posted it. That’s why I posted it.”
 5

 6     •   DEFENDANT: “I did not know when that article would be coming out, I heard maybe

 7         it was a month out.”

 8     •   PLAINTIFF: “What did you see, what were you provided prior to publishing that my
 9
           wife is a sexual predator thus destroying her entire career”.
10
       •   DEFENDANT: “I heard a first-hand account”.
11
       •   DEFENDANT: “Firstly, your wife is an international ballet star.”
12

13     •   DEFENDANT: “I didn’t think that my post would make that big of a splash frankly

14         but it seems to have done so.”
15     •   DEFENDANT: “What I wanted to get across was that it was imminent that the article
16
           from the New York Times was coming out with the victims and it had nothing to do
17
           with any of that.”
18
       •   DEFENDANT: “This is what I think, Mitchell and Dusty, I seriously don’t want to
19

20         have - I haven’t said anything about this, and I haven’t tried to cause any…I know that

21         the damage, I am sure the damage was real that I caused.”

22     •   DEFENDANT: “At the time I felt that because the article was already coming out
23
           about the victims, I knew it was imminent I didn’t feel like, it didn’t feel like I was
24
           doing something hugely damaging at the time. I understand in retrospect that’s how
25
           it… it did do damage.”
26

27     •   DEFENDANT: “I don’t even know that I knew for certain a lawsuit was imminent”.

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 1     •   DEFENDANT: “Yeah I don’t know that I knew that. I’ll have to go back and look at
 2
           texts to see if I knew that for sure but all I knew is that for sure several victims,
 3
           “alleged victims”.
 4
       •   PLAINTIFFS: “Have you talked to anyone in this litigation aside from Sage?”
 5

 6     •   DEFENDANT: “No.”

 7     •   PLAINTIFF: “So you went on the internet and spoke on all of their behalves?”

 8     •   DEFENDANT: “I trusted my friend Hannah, she’s a very good friend of mine since 13
 9
           years old.”
10
       •   DEFENDANT: “I am gonna tell you right now that it looks like a ton of work that you
11
           guys put into this complaint, it’s 130 pages…”.
12

13     •   DEFENDANT: “I realize now that it seems like asking people to come forward is

14         what made them come forward but I already knew about how many victims were

15         coming forward…”.
16
       •   PLAINTIFF: “So you knew Jane Doe?”
17
       •   DEFENDANT: “No but I knew that she had been interviewed by the New York Times
18
           and that the article was just pending publication.”
19

20     •   PLAINTIFF: “So you knew that Jane Doe had spoken to the New York Times?”

21     •   DEFENDANT: “Yes”.
22     •   PLAINTIFF: “Because she didn’t and nobody besides Gina or Sage spoke to the
23
           New York Times, nobody did.”
24
       •   PLAINTIFF: “You say you came forward because these people had talked to the New
25
           York Times”
26

27

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 1     •   DEFENDANT: “That literally is why I did it. I thought it was a foregone conclusion
 2
           that it was coming out but not for maybe a month or so…”.
 3
       •   DEFENDANT: “I haven’t been in the dance industry since I was 16 years old.”
 4
       •   PLAINTIFF: “Then why do you run an anonymous account called real world
 5

 6         ballerina?”

 7     •   DEFENDANT: “Cuz I still have it with so many followers on it but I made that

 8         account when I was fourteen years old and it blew up because I was the first meme
 9
           account at the time because nobody was doing that.”
10
       •   DEFENDANT: “I had like 40,000 followers and then that account I stopped posting
11
           on it back in 2013 then I was sporadically once a year - so it dwindled down to like
12

13         what it is now.”

14     •   PLAINTIFF: “Do you feel like you were justified because a friend told you something

15         to destroy our lives.”
16
       •   DEFENDANT: “I knew it was coming out in the New York Times which is a reputable
17
           publication.”
18
       •   DEFENDANT: “At the time I trusted my friend. I wanna see how the lawsuit comes
19

20         out and probably 5 people wouldn’t… if it was just Sage, I wouldn’t have done it”.

21     •   PLAINTIFF: “When you said DUSTY BUTTON IS A PREDATOR, that wasn’t I heard

22         Dusty Button is a predator, it wasn’t my friend told me that she is and I’m concerned
23         about a bunch of children so I might say this out loud so people get a warning because
24
           they as in her somehow, because I’m not a dance teacher, are still working with
25
           children - why did you say the words,’ Dusty Button is’ because that’s a certainty it’s
26
           not a possibility, it’s not ‘I heard this is coming out in the New York Times’.”
27

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 1     •   DEFENDANT: “I just want to tell you that it’s gonna be bad if you sue me.”
 2
       •   PLAINTIFF: “Is this a warning? Are you warning us?”
 3
       •   DEFENDANT: “It’s not worth your time and energy or mine”.
 4
       •   PLAINTIFF: “So you’re doing this out of the graciousness of your heart to help us?”.
 5

 6     •   DEFENDANT: “You are going through enough right now…”.

 7     •   DEFENDANT: “There is consequences to filing frivolous or not legally viable
 8         lawsuits”.
 9
       •   PLAINTIFF: “Why would you believe this is a waste of our time?”.
10
       •   DEFENDANT: “As a lawyer, going through your complaint the causes of action that
11
           you are listing with the facts that even just based on I’m gonna write my motion to
12

13         dismiss, I’m not going to be arguing the facts, I’m going to be arguing the law and

14         based on the law and the claims that you’ve made you haven’t stated a claim upon
15         which relief can be granted so… and that’s sanctionable. You shouldn’t be filing
16
           frivolous lawsuits and if you are planning on doing this to multiple people…”
17
       •   PLAINTIFF: “Listen…I appreciate your advice but as you know providing unsolicited
18
           legal advice to anyone is what you are not supposed to be doing as an attorney so I
19

20         think it’s odd that you are here warning us while providing legal advice to us, don’t

21         you think that is a conundrum?”

22     •   DEFENDANT: “I am just saying I don’t want to do this. I don’t think it’s worth your
23
           time, it’s not gonna end well for you.”
24
       •   PLAINTIFF: “You took three years of our lives, you nearly took our fucking lives so I
25
           can tell you every second that we take from yours is worth everything so moving
26

27         forward understand this…Buckle up because as long as this can last, we will assure it

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 1        will and this isn’t a call where you go your way and we go ours - you are on the
 2        internet acting like a child, own up to it…have some accountability and we will see
 3
          you in Court…that’s the end of this call.”
 4
              Madison Breshears’ destruction of Plaintiffs’ business, goods and services
 5
       321.        As stated in the above references, Plaintiffs’ names and likeness was their only
 6

 7        business, which generated literally all of their revenue, income and business, whereas

 8        Plaintiffs, themselves, and what they provided to their respective industries was solely

 9        based on what they provided as their name brands known as Dusty Button, Taylor
10
          Button, Mitch/Mitchell Button, Mitchell Taylor Button, “The Buttons”, Button Built,
11
          Button Brand and Bravado by Dusty Button.
12
       322.        Plaintiffs’ established business, goods and services were directly sourced and
13
          provided from their good names, talent, expertise and reputations, which were
14

15        completely destroyed by Madison Breshears and her defamatory posts and remarks.

16     323.        As stated in the above referenced facts, Plaintiffs were highly respected,
17        extremely well-known, leaders of the dance industry and the automotive industry, and
18
          reliant on their businesses which were well established for over fifteen years, as each
19
          Plaintiff was their own business in which they were hired based on their desired skill
20
          sets in their industries, which others could not offer.
21

22     324.        Plaintiffs had established business with signed negotiated contracts with three

23        companies to manufacture and sell their dancewear line which was in its initial phase

24        and well under way as Plaintiffs were beginning the second wave of these partnerships
25        when this defamatory post by Madison Breshears derailed all operations.
26

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 1     325.      Plaintiffs lost any and all business immediately and for the foreseeable future
 2        as a direct result of Madison Breshears’ intentionally false and defamatory, viral social
 3
          media remarks.
 4
       326.      Madison Breshears made her statements with actual malice as she knew that,
 5
          as a result of the publications, the Plaintiffs would suffer financial harm.
 6

 7     327.      Madison Breshears knew that her statements were false and intentionally

 8        crippled Plaintiffs’ business and ability to generate revenue and income as she

 9        maliciously referred to Plaintiffs’ goods and services because the “power” she claims
10
          Plaintiffs “abused” was the power of their business which was their talent, expertise
11
          and their reputable names.
12
       328.      Madison Breshears knew that her statements were false and intentionally
13
          crippled Plaintiffs’ goods and services which included Plaintiff Dusty Buttons’
14

15        teaching, provided choreography, modeling, dancing, guest performing, speaking

16        engagements, design concepts, marketing and brand ambassadorship, all of which
17        were destroyed as Plaintiff Dusty Button was her own goods and services, as her name
18
          and career was her brand and her business.
19
       329.      Madison Breshears knew that her statements were false and intentionally
20
          crippled Plaintiffs’ goods and services which included Plaintiff Taylor Buttons’ design
21

22        work, custom automotive creations, sponsorships, commercial shoots, events,

23        marketing, advertising and speaking engagements, all of which were destroyed as

24        Plaintiff Taylor Button was his own goods and services, as his name and career was
25        his brand and his business.
26

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 1     330.        Madison Breshears intentionally, willfully and maliciously published
 2        defamatory statements to hundreds of thousands of third parties on social media.
 3
       331.        Defendants’ defamatory post spread like fuel-soaked wildfire throughout the
 4
          dance industry and community, automotive industry and community and further, to
 5
          dance and automotive forums including but not limited to Facebook, Reddit and
 6

 7        TikTok and was widely spread via communications through various messaging

 8        platforms nationally and internationally.

 9     332.        Madison Breshears’ defamatory remarks were not only spread in written form
10
          but were widely spread via word of mouth through the grapevine of the industries
11
          which Plaintiffs were so highly respected and prominent in.
12
       333.        Madison Breshears was the owner, user and publisher of these defamatory
13
          remarks and posts in which she had complete control and ownership of a
14

15        communication platform, using her influence and abuse of power to reach hundreds of

16        thousands of people to intentionally, willfully and maliciously defame Plaintiffs while
17        knowingly inflicting intentional harm on Plaintiffs and their business and reputations.
18
       334.        Madison Breshears’ defamatory posts and remarks to a mass media audience
19
          was intentionally dishonest and was posted for an improper motive with the intent to
20
          injure Plaintiffs without just cause or excuse.
21

22     335.        Madison Breshears knew that, as a result of the publications, Plaintiffs would

23        suffer financial harm and never be capable of generating revenue using their names

24        again.
25

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 1     336.      Plaintiffs suffered complete loss of business and sales including that their
 2        income was solely based on a per performance basis whereas, Plaintiffs’ income was
 3
          generated upon completion of work as they were themselves, their business.
 4
       337.      For example, Plaintiff Dusty Button’s teaching classes and performances were
 5
          immediately canceled on May 14th, 2021 following Madison Breshears’ defamatory
 6

 7        posts, including but not limited to the scheduled classes and performances with Artists

 8        Simply Human which were terminated indefinitely, as a direct result of Defendants’

 9        defamatory posts.
10
       338.      As another example, Plaintiff Dusty Button immediately lost any and all
11
          business with all scheduled dance studios, summer intensive courses, and events
12
          which she was scheduled to guest teach, choreograph for, including scheduled guest
13
          performance appearances nationally and internationally as a direct result of Madison
14

15        Breshears’ defamatory posts and remarks.

16     339.      As another example, Plaintiff Taylor Button immediately lost any and all
17        business related to his brands including his business and brand “Button Built”, with all
18
          scheduled events in the automotive industry including pre-planned design builds for
19
          clients and customers including prominent name brands which were sponsors of
20
          Plaintiff Taylor Button, all of whom canceled their builds and design concept work
21

22        with Plaintiff for the foreseeable future.

23     340.      Further, Plaintiffs both immediately lost any and all contracts with sponsors,

24        endorsements and event appearances in their respective industries including but not
25        limited to: BLOCH Inc., Tiger Friday, Capezio, Yumiko, MPG Sport, Fenti, Volcom,
26
          Discount Dance, RedBull, Adidas, WeWork, Rotiform Wheels, Brixton Forged,
27

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 1        Momo racing, Bride Racing, Nitto Tires, Toyo tires, Brembo, Ferrari Parts, Tial
 2        Concepts, Xona Rotor, Aviva Performance, Impressive Wraps, Inozetek, Tubi Style,
 3
          Vivid Motorsport, Voodoo Automotive, SEMA Auto Show, Crep Protect, Accuair
 4
          Suspensions, Currie axels, Pelican LLC, Greyman Tactical, PRP seats, KMC wheels,
 5
          RAM mounts, Metalcloak suspension and body components, THULE, Rebel Offroad,
 6

 7        PPG paint, Morimoto LED lighting solutions, BAJA off-road lighting solutions,

 8        Powertank, Maxxtraxx, HP tuners, Emory Motorsports, SABELT and Illest, amongst

 9        many others not listed here.
10
       341.      Plaintiffs not only lost their business “Button Brand”, suffering the complete
11
          destruction of their self-made brand but were forced to refund customers for items sold
12
          due to the connection of the defamatory posts and remarks made by Madison
13
          Breshears and the third parties who “grapevined” off of her defamatory post.
14

15     342.      Plaintiffs completely lost and forfeited their brand, Button Brand, as of May

16        13th, 2021.
17     343.      Plaintiffs had a pre-planned, negotiated contract with dancewear company
18
          Tiger Friday whereas, Plaintiffs designed, licensed and would market the line of
19
          leotards and dancewear utilizing the Button name and brand to expand their already
20
          successful company and image.
21

22     344.      Plaintiffs’ contract was immediately canceled as a direct result of Defendants’

23        defamatory post and remarks.

24     345.      Plaintiffs were not paid for work already completed as Tiger Friday continued
25        to use Plaintiffs’ already completed designs, due to the false and defamatory posts and
26
          remarks made by Madison Breshears.
27

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 1      346.      Plaintiffs’ brand, Bravado by Dusty Button was a dancewear and leotard line
 2         for dancers in which Plaintiffs had previous negotiated contracts with sponsored third-
 3
           party companies and distributors such as Discount Dance, Showstopper and GK Elite,
 4
           as well as advertised and garnered sales of this line through their own website
 5
           “bravadodancewear.com” and through Plaintiffs’ former social media page on
 6

 7         Instagram, @bravado_dancewear and Plaintiffs’ personal social media account,

 8         @dusty_button.

 9      347.      Bravado by Dusty Button was sold at various dance events for distribution,
10
           whereas, sales and contracts were immediately terminated following $100,000.00 of
11
           partner investment and nearly a year of travel and planning as a direct result of
12
           Madison Breshears’ defamatory posts and remarks.
13
        348.      Defendants’ defamatory posts and remarks forced the termination of Bravado
14

15         by Dusty Button as all sales came to a halt and additionally, customers demanded

16         refunds stating the brand was associated with “sexual predators” and “rapists”.
17      349.      Immediately following Madison Breshears’ defamatory posts and remarks on
18
           May 13th, 2021, Plaintiffs’ businesses, Button Brand, Button Built, and Bravado by
19
           Dusty Button were completely destroyed, losing hundreds of thousands of dollars in
20
           revenue and costs, which were already paid, promised and negotiated with third party
21

22         companies and distributors.

23      350.      Any and all marketing for the above reference brands with associated accounts

24         advertising those brands including all sales were terminated as a direct result of
25         Madison Breshears’ false and defamatory posts and remarks.
26

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 1      351.      The seriousness of Defendants’ defamatory statements proves a clear intention
 2         to cause damage to Plaintiffs including but not limited to the additional admissions by
 3
           Ms. Breshears on the phone on May 27th, 2024.
 4
        352.      The nature and substance of Defendants’ defamatory posts, remarks and actual
 5
           knowledge that her statements were untrue prove that Defendants’ actions were
 6

 7         willful, intentional and malicious.

 8      353.      Defendants’ publications and the audience that the Defendant intended to, and

 9         did reach, proves without question, her intent to harm Plaintiffs’ careers, businesses
10
           and reputations as the false publications were aimed specifically at Plaintiffs’
11
           colleagues, clients and target demographics though eventually, these false publications
12
           reached so far as the New York Times, Cosmopolitan, the Boston Globe, ABC news
13
           and other mass media outlets including the press and nearly every major news outlet
14

15         and social media account that were otherwise outside of Plaintiffs’ industries.

16      354.      Madison Breshears’ defamatory posts and remarks caused the entire dance
17         industry to not only turn against Plaintiff Dusty Button, (who had worked her entire
18
           life to build the reputation she was known for in her industry and was at the pinnacle
19
           of her career), but caused the industry to disassociate from Dusty, repost the
20
           defamatory statements and cease all communication with her, including halting any
21

22         and all forms of employment for which she had been in extremely high demand for,

23         for over fifteen years.

24      355.      Madison Breshears’ defamatory posts and remarks caused the entire
25         automotive industry to not only turn against Plaintiff Taylor Button, (who had worked
26
           over thirteen years to build the reputation of the idol he was and that he was known for
27

28

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 1         in his industry and was at the pinnacle of his career), but caused the industry to
 2         disassociate from Taylor, repost the defamatory statements and cease all
 3
           communication with him, including halting any and all forms of employment for
 4
           which he had been in extremely high demand for, for over thirteen years.
 5
        356.      The defamatory remarks and posts made by Madison Breshears ignited a viral
 6

 7         response which spread like wildfire, resulting in a ‘grapevine’ effect throughout

 8         Plaintiffs’ industries including to their co-workers, clients, employers, potential

 9         employers, parents and children of those Dusty taught in the dance industry, sponsors,
10
           potential sponsors, friends and family involved in the industries, customers, former
11
           employers, agencies, dance studio owners and other various third parties whereas,
12
           Plaintiffs could not defend themselves against such widespread industry gossip.
13
        357.      Madison Breshears targeted Plaintiffs who were influential and informative
14

15         people in their industries in which the Defendant spread false statements further than it

16         would seem at first blush.
17      358.      Plaintiffs were completely prevented from defending themselves to all third
18
           parties as Defendants’ defamatory statements were so immediately viral and out of
19
           control, that Plaintiffs could not control or manage the effects of Madison Breshears’
20
           false, defamatory and malicious statements.
21

22      359.      As a direct cause of Madison Breshears’ false and defamatory post, Plaintiffs

23         have been unable to even have a ringtone, vibration or sound on their phones when

24         notifications or calls due to the influx of notifications, messages, harassment, death
25         threats, unwanted threatening calls and the overwhelming immediate responses to
26
           Defendants’ posts, comments and reposts whereas, Plaintiffs even had to take turns
27

28

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 1         watching for notifications on each other’s phones to even sleep just one hour for
 2         months on end as the harassing, threatening and defamatory remarks continued for
 3
           months on end.
 4
        360.      To this day, Plaintiffs keep their phones on silent as it results in severe trauma
 5
           and PTSD as a direct result of Madison Breshears’ defamatory posts and remarks.
 6

 7      361.      As previously stated herein, Plaintiffs’ business, was their names and likeness

 8         as they were individually contracted due to their reputations of who they were as a

 9         business and as their names were their brands.
10
        362.      Plaintiffs were well-known and prominent figures in their industry and
11
           therefore, were contracted, employed and in high-demand because of their names and
12
           reputations, as they, themselves were their businesses for over fifteen years.
13
        363.      Plaintiffs’ reputations, prior to Defendants’ defamatory posts and remarks and
14

15         the slaughter of Plaintiffs’ good names, was impeccable in both their respective

16         industries whereas, Plaintiffs were well-liked, well-respected and in high demand due
17         to their expertise in their industries, which others could not offer.
18
        364.      Defendant has never made any attempt to rectify the false and malicious
19
           statements and in fact, doubled down on her defamatory statements on May 14th, 2024
20
           by posting the false and defamatory statement “Dusty Button is a sexual predator” to
21

22         her account @real_world_ballerina to a new audience which otherwise may not have

23         seen the post in 2021.

24      365.      In fact, upon discovery and confirmation that the anonymous account
25         @Real_World_Ballerina was owned and controlled by Madison Breshears, Plaintiffs
26
           called Madison Breshears whereas, she stated that she would not speak on the
27

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 1         defamatory posts or remarks she made and instead, stated she would only provide
 2         statements if it was Court ordered.
 3
        366.      Defendant has never made a public statement on her personal account
 4
           @mjbreshears or her anonymous account @Real_World_Ballerina acknowledging her
 5
           defamatory statements to be false to all third parties who witnessed the original
 6

 7         publication or otherwise, who reposted and spread the defamatory statements

 8         themselves, as a direct result of Madison Breshears’ malicious conduct.

 9      367.      Defendant has erased any and all relative defamatory remarks and posts that
10
           would render her responsible for those posts or remarks as well as any history of her
11
           previous intentional infliction of harm against Plaintiffs in an effort to avoid
12
           consequences.
13
        368.      Madison Breshears’ actions constitute more than this instant litigation as her
14

15         harassment, which resulted in death threats against Plaintiffs constitute action against

16         her which is not civil, but criminal, per New York state law.
17      369.      No attempt to rectify the defamatory posts from Defendant would suffice, as it
18
           would make no difference in the destruction and trauma caused by Defendant,
19
           however, no attempt has ever been made.
20
        370.      Defendants’ spoilation of evidence which proves she intentionally, willfully
21

22         and maliciously posted defamatory statements about Plaintiffs is evidence that Ms.

23         Breshears, (as an attorney), is undoubtedly aware of her actions and the harm she

24         intentionally inflicted on Plaintiffs and which proves that Ms. Breshears’ conduct must
25         have consequences.
26

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 1      371.       The shock and confusion resulting from the defamatory statements, coupled
 2         with Madison Breshears’ intense threats, harassment, and severe bullying including
 3
           the use of her law degree to intimidate and silence Plaintiffs and those associated, led
 4
           Plaintiffs to believe recourse would be an impossibility against her including as recent
 5
           as May 27th, 2024.
 6

 7      372.       Plaintiffs were so traumatized by Defendants’ actions that they both suffered

 8         from suicidal thoughts, nearly taking their own lives as a direct result of the

 9         defamatory posts and remarks made by Madison Breshears.
10
        373.       Plaintiffs were immediately terminated by any and all employers, contractors,
11
           associates and sponsors following Defendants’ defamatory post on May 13th, 2021,
12
           therefore crippling their ability to generate any income for the foreseeable future.
13
        374.       Madison Breshears hid behind an anonymous account
14

15         @Real_World_Ballerina to post her defamatory remarks against Plaintiffs on May

16         13th, 2021.
17      375.       Plaintiffs were unable to confirm @Real_World_Ballerina was Madison
18
           Breshears’ account until 2023 by way of the discovery process in the Nevada
19
           litigation.
20
        376.       Madison Breshears took affirmative steps to ensure Plaintiffs were without the
21

22         ability to seek recourse against her in 2021 with the threat of a law degree, an

23         anonymous username, threatening statements and intentional harm which she inflicted

24         on Plaintiffs by way of forcing them to be unemployed with no ability to generate
25         income, releasing her of any responsibility as she knew her statutes of limitation
26
           would expire before Plaintiffs could take action against her.
27

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 1      377.       Defendants’ defamatory campaign against Plaintiffs was directly responsible
 2         for hundreds of death threats and a hired convicted felon that was paid nearly
 3
           $100,000.00 to force Plaintiffs to destroy evidence that Defendants’ defamation was
 4
           meant to conceal; a felon who broke into Plaintiffs’ home and thus rendered them in
 5
           fear of their lives.
 6

 7      378.       Accordingly, any statute of limitations applicable to Dusty and Taylor’s

 8         claims, if any, is tolled.

 9      379.       Madison Breshears’ actions described above deprived Dusty and Taylor of the
10
           opportunity to commence this lawsuit before now.
11
        380.       Madison is equitably estopped from asserting a statute of limitations defense as
12
           to Plaintiffs’ claims.
13
        381.       Allowing Madison to do so would be unjust.
14

15      382.       Madison took active steps to prevent Dusty and Taylor from commencing this

16         lawsuit before now, including by destroying Plaintiffs’ inability to work after May
17         13th, 2021, using an anonymous account to hide behind an alias which could not be
18
           discovered or confirmed without investigation, (requiring finances Plaintiffs did not
19
           have as a direct result from Defendants’ conduct), and using tactical intimidation by
20
           way of using her law degree to suppress and silence Plaintiffs from defending against
21

22         her false and defamatory posts and remarks.

23      383.       Plaintiffs have suffered and continue to suffer mental anguish, severe

24         emotional distress and loss of enjoyment of life as a direct and proximate result of
25         Madison Breshears’ defamatory and malicious posts and remarks.
26

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 1      384.      Plaintiffs have actual knowledge that substantial additional evidentiary
 2         support, which is in the exclusive possession of Madison Breshears and other third
 3
           parties including but not limited to non-party co-conspirator, Hannah Stolrow and
 4
           Defendants and their agents and other third-parties, will exist for the allegations and
 5
           claims set forth above after a reasonable opportunity for discovery and including
 6

 7         because Ms. Breshears made the statements on May 27th, 2024 that she had text

 8         messages and direct messages that she could access regarding this instant complaint

 9         and the defamatory statements made by Defendant.
10
        385.      Had Plaintiffs succumbed to the darkness that Madison Breshears cast over
11
           their lives, businesses, families and futures, this litigation would be criminal rather
12
           than civil as she and only she, is responsible for serving as the catalyst of fraudulent
13
           actions that nearly ended two lives that were once the brightest lights of their careers
14

15         for millions of people abroad.

16                                     CAUSES OF ACTION
17                            COUNT I - INJURIOUS FALSEHOOD
18
19      386.      Plaintiffs incorporate by reference and reallege the preceding allegations as

20         though fully set forth herein.
21      387.      Defendant reinstated Plaintiffs timely claim of Injurious Falsehood by posting
22
           false and defamatory statements to a new audience on May 14th, 2024 including by
23
           stating, “Dusty Button is a sexual predator” to any viewer or reader that otherwise may
24
           not have seen the original false and defamatory post on May 13th, 2021.
25

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 1        388.       Plaintiffs’ claim of Injurious Falsehood is not time-barred as N.Y. provides a
 2           three-year statute of limitations from the time of injury for Injurious Falsehood25.
 3
             Defendants’ defamatory posts were made on May 13th and 14th, of 2021. Plaintiffs
 4
                                                 th
             filed their complaint on May 13 , 2024, therefore, Count I of Injurious Falsehood is
 5

 6           timely and must not be dismissed.

 7        389.       The unprivileged statements made by Defendant to others about Plaintiffs were

 8           false and defamatory.
 9
          390.       The Defendant’s words were maliciously calculated to cause financial injury,
10
             constituting Plaintiffs’ claim of Injurious Falsehood.
11
          391.       Defendant published false statements and communicated those false statements
12

13           to a mass audience of third parties.

14        392.       The Defendant’s posts contained intentional false and defamatory statements

15           which does not express statements of opinion and are not protected by any defense
16           such as opinion defense or defamation liability.
17
          393.       The Defendant’s posts contained statements of fact, proven to be false
18
             including but not limited to within the Nevada litigation whereas, a majority of
19
             evidence on the record is sealed by the Court in Nevada; regardless, Defendant made
20

21           statements of fact which was not based on any such statement within the lawsuit in

22           which her posts were not about, as the defamatory posts were created and published

23

24

25
     25
26     Consolidated Laws of New York. Civil Practice Law and Rules CH 8 Article 2 Section 214 (2019);
     Restatement (2d) of Torts, § 623A; Restatement (2d) of Torts, § 630; Court Opinions.
27

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 1         for the sole purpose of being the first to “break the story” regardless of the truthfulness
 2         or falsity and without verification of the hearsay relied upon.
 3
        394.       Defendant is liable for controlling the platform on which the false and
 4
           defamatory statements were made.
 5
        395.       Defendant made these false and defamatory statements with actual malice and
 6

 7         or reckless disregard for the truth including because she admitted to her personal

 8         interest in Plaintiffs.

 9      396.       Defendants’ posts, false statements and defamatory remarks were the direct
10
           cause of Plaintiffs’ complete loss of business and sales related to their names, likeness
11
           and brands whereas, Plaintiffs suffered actual damages, proven by bank statements,
12
           email and text communications, approval of government assistance programs, loss of
13
           counsel, loss of employment and other economic and financial evidence of damages as
14

15         a result of Madison Breshears’ false a defamatory posts and remarks.

16      397.       Defendant’s posts contained a false, defamatory and intentionally malicious
17         statement which was only made to amplify her posts, made solely for shock value and
18
           which severely harmed Plaintiffs and caused extreme emotional distress.
19
        398.       Plaintiffs claim special damages to be proven through contractual agreement,
20
           financial records and messages which prove Madison Breshears’ posts were the direct
21

22         and proximate cause of Plaintiff’s complete and total loss of businesses, business

23         relations, affiliates, and/or any and all contractual agreements including but not limited

24         to the reputations, careers and livelihoods in their respective industries.
25      399.       The unprivileged statements made by Defendant to others about Plaintiffs
26
           caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not
27

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 1         worked one single job since May 13th, 2021 including that any and all contracts and
 2         agreements were immediately and prematurely terminated following Defendants’
 3
           conduct.
 4
        400.       Defendant published such statements negligently, with knowledge of the
 5
           falsity of the statements, and/or with reckless disregard of their truth or falsity.
 6

 7      401.       Ms. Breshears’ statement is not protected by New York’s anti-SLAPP law as

 8         her statements were false statements of fact, not a statement of opinion and therefore,

 9         unprotected by First Amendment rights or any other law which would relieve Ms.
10
           Breshears from the consequences to her actions.
11
        402.       At the time such statements were made, Defendant knew or should have known
12
           that they were false and defamatory including because Defendant admitted that “if it
13
           were just Sage by herself, I wouldn’t have posted it”; whereas, Sage Humphries is the
14

15         only party to the lawsuit which Plaintiff Dusty Button has met.

16      403.       Hundreds of thousands of people actually read and/or heard the false and
17         defamatory statements.
18
        404.       The statements were not privileged.
19
        405.       The statements were published by Defendant with actual malice, oppression,
20
           and/or reckless disregard for the truth in that they were aware at the time of the falsity
21

22         of the publication and thus, made said publications in bad faith, out of hatred and ill-

23         will directed towards Plaintiffs without any regard for the truth.

24      406.       Defendant possessed information and had access to information that showed
25         her statements were false including but not limited to video and photo evidence and
26
           text messages.
27

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 1      407.      Defendant also made statements for which she had no factual basis.
 2      408.      Defendant did not verify the accuracy of the allegations before making her
 3
           defamatory statements and therefore, made her statements out of neglect, reckless
 4
           disregard for the truth and/or actual malice.
 5
        409.      Moreover, the statements tend to so harm the reputation of Plaintiffs as to
 6

 7         lower their professional reputation in the community or deter third persons from

 8         associating or dealing with them including termination of any and all business,

 9         contracts or employment and, as such, constitute injurious falsehood.
10
        410.      As stated, supra, Ms. Breshears relied on hearsay from a third party and did
11
           not actually speak to any of the Plaintiffs, aside from her friend Sage Humphries,
12
           involved in the Nevada litigation prior to or after making her false and defamatory
13
           statements and therefore, did not verify or research any of her statements prior to
14

15         making and publishing them to a mass audience.

16      411.      Ms. Breshears admitted she did not know if a “lawsuit was imminent” therefore
17         confirming she made her statements solely for the purpose of seeking attention as she
18
           admitted she knew months prior to the New York Times article being published that
19
           she knew of the article but wanted to be the first to post, resulting in crippling
20
           Plaintiffs defense in a litigation as they lost any and all ways to generate income to
21

22         fund their defense as a direct and proximate result of her conduct.

23      412.      As a proximate result of the maliciously false and defamatory publication of

24         statements to third parties by Defendant, Plaintiffs have been severely damaged.
25      413.      Ms. Breshears’ post was a direct cause of Plaintiffs’ complete loss of business
26
           and sales related to their names, likeness and brands whereas, Plaintiffs suffered
27

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 1         actual damages and special damages, proven by bank statements, email and text
 2         communications, approval of government assistance programs, loss of counsel, loss of
 3
           employment and other economic and financial evidence of damages as a result of
 4
           Madison Breshears’ false and defamatory statements made to a mass audience.
 5
        414.      The statements were made by Madison Breshears with reckless disregard for
 6

 7         the truth, oppression and fraud in that she was aware at the time of the falsity of the

 8         statement.

 9      415.      Defendant made statements which had no factual basis including that Ms.
10
           Breshears stated on a recorded phone call on May 27th, 2024, that she “knew that [Jane
11
           Doe] had been interviewed by the New York Times and that the article was just
12
           pending publication which is impossible, as Jane Doe never spoke to The New York
13
           Times and only came forward after she read about the article in the New York Times,
14

15         as stated by Jane Doe, herself; proving Ms. Breshears’ continues to lie about her

16         involvement and made false statements of fact.
17      416.      The statute of limitations for defamation claims, including injurious falsehood
18
           may be tolled, “during the pendency of a related lawsuit or arbitration related to the
19
           same defamatory statements” and, “the pendency of a motion to dismiss a related
20
           lawsuit may toll the statute of limitations until the motion is resolved” whereas,
21

22         Plaintiffs have been involved in a pending litigation for exactly three years with

23         Defendants Ruff, Mariella and non-party co-conspirator Sigrid McCawley and their

24

25

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 1           clients, resulting in any ability to financially afford representation and preventing
 2           Plaintiffs from seeking recourse against Defendants until now.26
 3
          417.        In the event any applicable statutes apply, Plaintiffs’ claims of defamation
 4
             must be tolled for the following reasons including but not limited to:
 5
             1) “During the pendency of a related lawsuit or arbitration related to the same
 6

 7               defamatory statements” whereas, Defendant’s defamatory posts and statements are

 8               at issue in five other pending lawsuits27 and, “the pendency of a motion to

 9               dismiss a related lawsuit may toll the statute of limitations until the motion is
10
                 resolved” whereas; Defendant’s motion to dismiss a related lawsuit has been
11
                 pending since August 24th, 2023.
12
             2) Threats from a licensed attorney in an attempt to prevent Plaintiffs from seeking
13
                 recourse against her; such as statements which were made online by Ms. Breshears
14

15               in 2021 including but not limited to, “I’m a law student, I know libel and slander

16               and this isn’t it”, later doubling down to prevent Plaintiffs from seeking legal
17               recourse against her by stating on May 27th, 2024, including but not limited to,
18
                 “This isn’t going to end well for you” and “I just want to tell you that it’s gonna be
19
                 bad if you sue me”.
20

21

22

23

24

25

26
     27
       See Case 1:24-cv-5888 – Button et al v. The New York Times Company et al.; Case 1:24-cv-05026 –JPC
27   Button et al v. Doherty et al; Case 0:24-cv-60911-DSL – Button et al v. McCawley; Case 1:24-cv-00220 –
     Button et al v. Hickle et al. and Case 2:21-cv-01412-ART-EJY.
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 1            3) A continuing wrong28 such as Defendants’ May 14th, 2024 reposting the exact
 2                 same defamatory statements made to a mass audience that she posted in 2021, with
 3
                   the intent to harass Plaintiffs29 including by posting to a new audience, “PSA:
 4
                   Dusty Button is a sexual predator” and;
 5
              4) Defendants’ online misconduct, remaining anonymous to avoid consequence and
 6

 7                 recourse30.

 8        418.         Defendants made false and defamatory statements to a mass audience in which

 9            were so widely understood to be harmful that they are presumed to be defamatory as
10
              Defendants made statements which accused Plaintiffs of committing crimes against
11
              children, particularly, (“young girls”).
12
          419.         Ms. Breshears’ statement is not protected by New York’s anti-SLAPP law as
13
              her statements were false statements of fact, not a statement of opinion and therefore,
14

15            unprotected by First Amendment rights or any other law which would relieve Ms.

16            Breshears from the consequences to her actions.
17        420.         Defendants’ defamatory statements were intentionally and specifically timed to
18
              prevent Plaintiffs from seeking recourse against her as Plaintiffs could not afford to
19
              file claims against Defendant, as her defamatory statements immediately destroyed
20
              Plaintiffs’ ability to work and to generate income; this was an additional and
21

22            intentional act so that Plaintiffs could not seek recourse against Defendant until now.

23

24
     28
        Defendant’s conduct on May 14th and 27th, 2024 constitutes a “continuing wrong” whereas, “under the
25   doctrine, where there is a series of continuing wrongs,” the statute of limitations will be tolled to the last date on
     which a wrongful act is committed. Henry v. Bank of Am., 147 A.D.3d 599, 601 (1st Dept. 2017).
26   29
        If the defamatory statement is part of a continuing wrong, such as a series of false statements or a campaign of
     defamation, the statute of limitations may be tolled until the wrong ceases. (N.Y. C.P.L.R. § 214-a).
27   30
        If the defendant fraudulently conceals the defamatory statement, the statute of limitations may be tolled until
     the plaintiff discovers the truth. (N.Y. C.P.L.R. § 214).
28

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 1      421.        Defendant is equitably estopped from asserting a statute of limitations as a
 2          defense; allowing her to do so would be unjust.
 3
        422.        Plaintiffs’ statutes, if any, must be tolled.
 4
        423.        Defendants’ statements are not supported by evidence or facts; therefore, the
 5
            Defendant cannot rely on the truth privilege to defend against the claim.
 6

 7      424.        Because Defendant’s defamatory statements constitute intentional acts which

 8          were made with actual malice towards Plaintiffs and/or reckless disregard for the truth,

 9          Plaintiffs seek an award for punitive damages.
10
                    WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against
11
     Defendant Madison Jane Breshears for damages, punitive damages, court costs, and such
12
     other relief as the Court deems just and proper.
13
                                COUNT II - DEFAMATION PER SE
14

15      425.        Plaintiffs incorporate by reference and reallege the preceding allegations as

16          though fully set forth herein.
17      426.        Defendant reinstated Plaintiffs timely claim of defamation per se by posting
18
            false and defamatory statements to a new audience on May 14th, 2024 including by
19
            stating, “Dusty Button is a sexual predator” to any viewer or reader that otherwise may
20
            not have seen the original false and defamatory post on May 13th, 2021.
21

22      427.        Plaintiffs’ claims of defamation must be tolled for the following reasons

23          including but not limited to:

24          1) “During the pendency of a related lawsuit or arbitration related to the same
25              defamatory statements” whereas, Defendant’s defamatory posts and statements are
26

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 1                at issue in five other pending lawsuits31 and, “the pendency of a motion to
 2                dismiss a related lawsuit may toll the statute of limitations until the motion is
 3
                  resolved” whereas; Defendant’s motion to dismiss a related lawsuit has been
 4
                  pending since August 24th, 2023.
 5
              2) Threats from a licensed attorney in an attempt to prevent Plaintiffs from seeking
 6

 7                recourse against her; such as statements which were made online by Ms. Breshears

 8                in 2021 including but not limited to, “I’m a law student, I know libel and slander

 9                and this isn’t it” and “Not afraid. Not even a little”, later doubling down to prevent
10
                  Plaintiffs from seeking legal recourse against her by stating on May 27th, 2024,
11
                  including but not limited to, “This isn’t going to end well for you” and “I just want
12
                  to tell you that it’s gonna be bad if you sue me”.
13
              3) A continuing wrong such as Defendants’ May 14th, 2024 reposting the exact same
14

15                defamatory statements made to a mass audience that she posted in 2021, with the

16                intent to harass Plaintiffs32 including by posting to a new audience, “PSA: Dusty
17                Button is a sexual predator” and;
18
              4) Defendants’ online misconduct, remaining anonymous to avoid consequence and
19
                  recourse33.
20
          428.         The unprivileged statements made by Defendant to others about Plaintiffs were
21

22            false and defamatory.

23

24
     31
        See Case 1:24-cv-5888 – Button et al v. The New York Times Company et al.; Case 1:24-cv-05026 –JPC
25   Button et al v. Doherty et al; Case 0:24-cv-60911-DSL – Button et al v. McCawley; Case 1:24-cv-00220 –
     Button et al v. Hickle et al. and Case 2:21-cv-01412-ART-EJY.
26   32
        If the defamatory statement is part of a continuing wrong, such as a series of false statements or a campaign of
     defamation, the statute of limitations may be tolled until the wrong ceases. (N.Y. C.P.L.R. § 214-a).
27   33
        If the defendant fraudulently conceals the defamatory statement, the statute of limitations may be tolled until
     the plaintiff discovers the truth. (N.Y. C.P.L.R. § 214).
28

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 1      429.       The unprivileged statements made by Defendant to others about Plaintiffs
 2         caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not
 3
           worked one single job since May 13th, 2021 including that any and all contracts and
 4
           agreements were immediately and prematurely terminated following Defendants’
 5
           conduct and recently unethical misconduct.
 6

 7      430.       Defendant published such statements negligently, with knowledge of the

 8         falsity of the statements, and/or with reckless disregard of their truth or falsity.

 9      431.       At the time such statements were made by Defendant, she knew or should have
10
           known that they were false and defamatory.
11
        432.       Hundreds of thousands of people actually read and/or heard the false and
12
           defamatory statements.
13
        433.       The statements were not privileged.
14

15      434.       Defendant’s statements are so bad they immediately subject a person or a

16         company to hatred, distrust, ridicule, disgrace and contempt, constituting
17         defamation per se.
18
        435.       The statements were published by Defendant with actual malice, oppression,
19
           and/or reckless disregard for the truth in that she was aware at the time of the falsity of
20
           the publication and thus, made said publications in bad faith, out of hatred and ill-will
21

22         directed towards Plaintiffs without any regard for the truth.

23      436.       Defendant possessed information and had access to information that showed

24         their statements were false.
25      437.       Defendant also made statements for which they had no factual basis including
26
           but not limited to by admitting a recorded call that she never spoke to anyone that
27

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 1         would be involved in the New York Times article or later, the Nevada litigation aside
 2         from Sage Humphries and her best friend and non-party, Hannah Stolrow, verifying
 3
           that there was no truth, evidence or verification to her defamatory allegations.
 4
        438.      Defendant suggested Plaintiffs were involved in a serious crime involving
 5
           moral turpitude or a felony, exposing Plaintiffs to ridicule in which reflected
 6

 7         negatively on Plaintiffs’ characters, morality and integrity whereas, the defamatory

 8         statements impaired Plaintiffs’ financial well-being.

 9      439.      Moreover, the statements tend to so harm the reputation of Plaintiffs as to
10
           lower their professional reputation in the community or deter third persons from
11
           associating or dealing with them including termination of any and all business,
12
           contracts or employment and, as such, constitute defamation per se.
13
        440.      Defendants made false and defamatory statements to a mass audience in which
14

15         were so widely understood to be harmful that they are presumed to be defamatory as

16         Defendants made statements which accused Plaintiffs of committing crimes against
17         children, particularly, (“young girls”).
18
        441.      Defendants’ defamatory statements were intentionally and specifically timed to
19
           prevent Plaintiffs from seeking recourse against her as Plaintiffs could not afford to
20
           file claims against Defendant, as her defamatory statements immediately destroyed
21

22         Plaintiffs’ ability to work and to generate income; this was an additional and

23         intentional act so that Plaintiffs could not seek recourse against Defendant until now.

24      442.      Defendant is equitably estopped from asserting a statute of limitations as a
25         defense; allowing her to do so would be unjust.
26
        443.      Plaintiffs’ statutes, if any, must be tolled.
27

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 1        444.          Defendants’ statements are not supported by evidence or facts; the Defendant
 2            cannot rely on the truth privilege to defend against the claim.
 3
          445.          Defendant’s statements were not that of opinion34 but rather, a statement of
 4
              fact.
 5
          446.          Defendant’s statements were made out of actual malice because a reasonable
 6

 7            listener or reader would infer that the speaker knows certain facts, unknown to [the]

 8            audience, which support [the]opinion and are detrimental to the person [toward] whom

 9            [the communication is directed], in this case, Plaintiffs; including because Defendant
10
              stated to a mass audience that she had “evidence” and “facts” only to state on the May
11
              27th, 2024 phone call that she did not have any evidence or facts to prove her
12
              statements to be true, (they are not), therefore, her statements were made out of actual
13
              malice.
14

15        447.          Defendant made false and defamatory statements to a mass audience in which

16            were so widely understood to be harmful that they are presumed to be defamatory as
17            Defendant made statements which accused Plaintiffs of committing crimes against
18
              children, (“young girls”), accusing Plaintiffs of a serious criminal offense.
19
          448.          Plaintiffs are entitled to punitive damages, because Defendants’ defamatory
20
              statements were made with hatred, ill will, and spite, with the intent to harm Plaintiffs
21

22            or in blatant disregard of the substantial likelihood of causing them harm.

23
     34
        Additionally, “A pure opinion may take one of two forms. It may be a statement of opinion which is
24   accompanied by a recitation of the facts upon which it is based, or it may be [a]n opinion not accompanied by
     such a factual recitation so long as it does not imply that it is based upon undisclosed facts.” Davis v. Boeheim,
25   24 NY3d 262, 269 (2014) (internal quotation marks omitted). Conversely, “an opinion that implies that it is
     based upon facts which justify the opinion but are unknown to those reading or hearing it, is a mixed opinion and
26   is actionable.” Id. (alterations and internal quotation marks omitted). The latter is actionable “not because they
     convey false opinions ‘but rather because a reasonable listener or reader would infer that the speaker knows
27   certain facts, unknown to [the] audience, which support [the]opinion and are detrimental to the person [toward]
     whom [the communication is directed].’” Gross, 82 N.Y.2d at 153-154, quoting Steinhilber, 68 N.Y.2d at 290.
28

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 1      449.        As a proximate result of the false and defamatory publication of statements to
 2          third parties by Defendant, Plaintiffs have been severely damaged.
 3
        450.        Because Defendant’s defamatory statements constitute intentional acts which
 4
            were made with actual malice towards Plaintiffs and/or reckless disregard for the truth,
 5
            Plaintiffs seek an award for punitive damages.
 6

 7                  WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against

 8   Defendant Madison Jane Breshears for damages, punitive damages, court costs, and such

 9   other relief as the Court deems just and proper.
10
                                     COUNT III – LIBEL PER SE
11
        451.        Plaintiffs incorporate by reference and reallege the preceding allegations as
12
            though fully set forth herein.
13
        452.        Defendant reinstated Plaintiffs timely claim of libel per se by posting false and
14

15          defamatory statements to a new audience on May 14th, 2024 including by stating,

16          “Dusty Button is a sexual predator” to any viewer or reader that otherwise may not
17          have seen the original false and defamatory post on May 13th, 2021.
18
        453.        The unprivileged statements made by Defendant to others about Plaintiffs were
19
            false and defamatory.
20
        454.        Plaintiffs’ claims of defamation must be tolled for the following reasons
21

22          including but not limited to:

23              1) “During the pendency of a related lawsuit or arbitration related to the same

24                  defamatory statements” whereas, Defendant’s defamatory posts and statements
25                  are at issue in five other pending lawsuits and, “the pendency of a motion to
26
                    dismiss a related lawsuit may toll the statute of limitations until the motion is
27

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 1                 resolved” whereas; Defendant’s motion to dismiss a related lawsuit has been
 2                 pending since August 24th, 2023.
 3
               2) Threats from a licensed attorney in an attempt to prevent Plaintiffs from
 4
                   seeking recourse against her; such as statements which were made online by
 5
                   Ms. Breshears in 2021 including but not limited to, “I’m a law student, I know
 6

 7                 libel and slander and this isn’t it”, later doubling down to prevent Plaintiffs

 8                 from seeking legal recourse against her by stating on May 27th, 2024, including

 9                 but not limited to, “This isn’t going to end well for you” and “I just want to tell
10
                   you that it’s gonna be bad if you sue me”.
11
               3) A continuing wrong such as Defendants’ May 14th, 2024 reposting the exact
12
                   same defamatory statements made to a mass audience that she posted in 2021,
13
                   with the intent to harass Plaintiffs including by posting to a new audience,
14

15                 “PSA: Dusty Button is a sexual predator” and;

16             4) Defendants’ online misconduct, remaining anonymous to avoid consequence
17                 and recourse.
18
        455.       The unprivileged statements made by Defendant to others about Plaintiffs
19
           caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not
20
           worked one single job since May 13th, 2021 including that any and all contracts and
21

22         agreements were immediately and prematurely terminated following Defendants’

23         conduct.

24      456.       Defendant published such statements negligently, with knowledge of the
25         falsity of the statements, and/or with reckless disregard of their truth or falsity.
26

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 1        457.         At the time such statements were made by Defendant, she knew or should have
 2            known that they were false and defamatory.
 3
          458.         Hundreds of thousands of people actually read and/or heard the false and
 4
              defamatory statements.
 5
          459.         The statements were not privileged.
 6

 7        460.         The statements were published and stated by Defendant with actual malice,

 8            oppression, and/or reckless disregard for the truth in that they were aware at the time

 9            of the falsity of the publication and thus, made said publications in bad faith, out of
10
              hatred and ill-will directed towards Plaintiffs without any regard for the truth.
11
          461.         Defendant possessed information and had access to information that showed
12
              her statements were false.
13
          462.         Defendant also made statements for which they had no factual basis.
14

15        463.         Moreover, the statements tend to so harm the reputation of Plaintiffs as to

16            lower their professional reputation in the community or deter third persons from
17            associating or dealing with them including termination of any and all business,
18
              contracts or employment and, as such, constitute libel per se35.
19
          464.         As a proximate result of the maliciously false and defamatory publication of
20
              statements to third parties by Defendant, Plaintiffs have been severely damaged.
21

22        465.         Defendant’s statements were not that of opinion36 but rather, a statement of

23            fact.

24
     35
        “The test to determine whether a statement is substantially true “is whether [the statement] as published would
25   have a different effect on the mind of the reader from that which the pleaded truth would have
     produced.” Fleckenstein v. Friedman, 266 N.Y. 19, 23 (1934); Franklin v. Daily Holdings, Inc., 135 A.D.3d 87,
26   94 (1st Dept. 2015).
     36
        Additionally, “A pure opinion may take one of two forms. It may be a statement of opinion which is
27   accompanied by a recitation of the facts upon which it is based, or it may be [a]n opinion not accompanied by
     such a factual recitation so long as it does not imply that it is based upon undisclosed facts.” Davis v. Boeheim,
28

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 1       466.           Defendant’s statements were made out of actual malice because a reasonable
 2            listener or reader would infer that the speaker knows certain facts, unknown to [the]
 3
              audience, which support [the]opinion and are detrimental to the person [toward] whom
 4
              [the communication is directed], in this case, Plaintiffs; including because Defendant
 5
              stated to a mass audience that she had “evidence” and “facts” only to state on the May
 6

 7            27th, 2024 phone call that she did not have any evidence or facts to prove her

 8            statements to be true, (they are not), therefore, her statements were made out of actual

 9            malice.
10
         467.           Defendant made false and defamatory statements to a mass audience in which
11
              were so widely understood to be harmful that they are presumed to be defamatory as
12
              Defendant made statements which accused Plaintiffs of committing crimes against
13
              children, (“young girls”), accusing Plaintiffs of a serious criminal offense.
14

15       468.           Because Defendant’s defamatory statements constitute intentional acts which

16            were made with actual malice towards Plaintiffs, Plaintiffs seek an award for punitive
17            damages.
18
                        WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against
19
     Defendant Madison Jane Breshears for damages, punitive damages, court costs, and such
20
     other relief as the Court deems just and proper.
21

22                                      COUNT IV – SLANDER PER SE

23

24

25   24 NY3d 262, 269 (2014) (internal quotation marks omitted). Conversely, “an opinion that implies that it is
     based upon facts which justify the opinion but are unknown to those reading or hearing it, is a mixed opinion and
26   is actionable.” Id. (alterations and internal quotation marks omitted). The latter is actionable “not because they
     convey false opinions ‘but rather because a reasonable listener or reader would infer that the speaker knows
27   certain facts, unknown to [the] audience, which support [the]opinion and are detrimental to the person [toward]
     whom [the communication is directed].’” Gross, 82 N.Y.2d at 153-154, quoting Steinhilber, 68 N.Y.2d at 290.
28

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 1      469.         Plaintiffs incorporate by reference and reallege the preceding allegations as
 2         though fully set forth herein.
 3
        470.         Defendant reinstated Plaintiffs timely claim of Injurious Falsehood by posting
 4
           false and defamatory statements to a new audience on May 14th, 2024 including by
 5
           stating, “Dusty Button is a sexual predator” to any viewer or reader that otherwise may
 6

 7         not have seen the original false and defamatory post on May 13th, 2021.

 8      471.         Ms. Breshears made statements to multiple third-parties via telephone call and

 9         text message as stated on the telephone call on May 27th, 2024 including that she
10
           stated she would have to “go back and look at the messages”, which will be
11
           discoverable upon the continuing process of this litigation, including that she spoke to
12
           non-party co-conspirator Hannah Stolrow about the defamatory allegations listed
13
           herein.
14

15      472.         The unprivileged statements made by Defendant to others about Plaintiffs were

16         false and defamatory.
17      473.         The unprivileged statements made by Defendant to others about Plaintiffs
18
           caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not
19
           worked one single job since May 13th, 2021 including that any and all contracts and
20
           agreements were immediately and prematurely terminated following Defendants’
21

22         conduct.

23      474.         Defendant made defamatory statements to various third parties with

24         negligence, with knowledge of the falsity of the statements, and/or with reckless
25         disregard of their truth or falsity.
26

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 1      475.      At the time such statements were made by Defendant, Defendant knew or
 2         should have known that they were false and defamatory.
 3
        476.      Hundreds of thousands of people actually read and/or heard the false and
 4
           defamatory statements.
 5
        477.      The statements were not privileged.
 6

 7      478.      The statements were published by Defendant with actual malice, oppression,

 8         and fraud in that they were aware at the time of the falsity of the publication and thus,

 9         made said publications in bad faith, out of hatred and ill-will directed towards
10
           Plaintiffs without any regard for the truth.
11
        479.      Defendant possessed information and had access to information that showed
12
           their statements were false.
13
        480.      Defendant also made statements for which they had no factual basis.
14

15      481.      Defendant intentionally caused harm by telling Defendants’ co-workers, clients

16         and employers these false and defamatory statements as to intentionally inflict harm
17         on their reputations, careers and business including by making defamatory statements
18
           which accuse Plaintiffs of crimes and other immoral sexual acts.
19
        482.      Moreover, the statements tend to so harm the reputation of Plaintiffs as to
20
           lower their professional reputation in the community or deter third persons from
21

22         associating or dealing with them including termination of any and all business,

23         contracts or employment and, as such, constitute slander per se.

24      483.      As a proximate result of the maliciously false and defamatory publication of
25         statements to third parties by Defendant, Plaintiffs have been severely damaged.
26

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 1      484.        Because Defendant’s defamatory statements constitute intentional acts which
 2          were made with actual malice towards Plaintiffs, Plaintiffs seek an award for punitive
 3
            damages.
 4
                    WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against
 5
     Defendant Madison Jane Breshears for damages, punitive damages, court costs, and such
 6

 7   other relief as the Court deems just and proper.

 8                              COUNT V – CYBER HARASSMENT

 9      485.        Plaintiffs incorporate by reference and reallege the preceding allegations as
10
            though fully set forth herein.
11
        486.        Defendant communicated with hundreds of thousands of third parties by
12
            transmitting written communication with the intent to harass, annoy, threaten and
13
            alarm Plaintiffs.
14

15      487.        Cyber harassment is considered a form of IIED if it is shown that the

16          perpetrator engaged in conduct that was intentional, outrageous, and caused severe
17          emotional distress to Plaintiffs.
18
        488.        Defendant engaged in such conduct not only in 2021 but on May 14th, 2024, by
19
            doxing Plaintiffs’ private information online and posting further defamatory
20
            statements with the intent to harass, threaten and harm Plaintiffs, causing extreme
21

22          distress to Plaintiffs, who are expecting their first child on August 8th, 2024.

23      489.        NY Penal Law § 240.30 considers cyber-harassment a crime however, Cyber

24          harassment is a form of intentional infliction of emotional distress, characterized by
25          persistent and repeated online behavior aimed at causing severe emotional harm and
26
            fear of physical harm to a specific individual whereas, Defendant intentionally caused
27

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 1         severe emotional distress in 2021 and again in 2024 not only by doxing their private
 2         and personal contact information but by publically and maliciously posting the same
 3
           defamatory statement to her social media account @real_world_ballerina on May 14th,
 4
           2024 whereas, the intent was to harass Plaintiffs to a new audience, three years later,
 5
           stating again that Plaintiff Dusty Button was a sexual predator and then directing her
 6

 7         mass audience of nearly twenty-thousand followers to Plaintiffs contact information,

 8         causing Plaintiffs severe emotional distress.

 9      490.       The unprivileged statements made by Defendant to others about Plaintiffs were
10
           false, defamatory and fraudulent.
11
        491.       The unprivileged statements made by Defendant to others about Plaintiffs
12
           caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not
13
           worked one single job since May 13th, 2021 including that any and all contracts and
14

15         agreements were immediately and prematurely terminated following Defendants’

16         conduct.
17      492.       Defendant published such statements negligently, with knowledge of the
18
           falsity of the statements, and/or with reckless disregard of their truth or falsity.
19
        493.       At the time such statements were made by Defendant, she knew or should have
20
           known that they were false and defamatory including by reposting the same
21

22         defamatory statement on May 14th, 2024, proving that her intent was to harass and

23         harm Plaintiffs with actual malice and constituting harassment as an underlying claim

24         for the intentional infliction of emotional distress.
25      494.       Hundreds of thousands of people actually read and/or heard the false and
26
           defamatory statements, including that they had access to Plaintiff’s contact
27

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 1         information following a statement where Defendant made a statement of fact, leading
 2         any reasonable reader or viewer to believe Plaintiffs had committed a criminal act.
 3
        495.      The statements were not privileged.
 4
        496.      The statements were published by Defendant with actual malice, oppression,
 5
           and/or reckless disregard for the truth, in that they were aware at the time of the falsity
 6

 7         of the publication and thus, made said publications in bad faith, out of hatred and ill-

 8         will directed towards Plaintiffs without any regard for the truth.

 9      497.      Defendant possessed information and had access to information that showed
10
           their statements were false.
11
        498.      Defendant also made statements for which they had no factual basis.
12
        499.      Defendants’ defamatory statements resulted in numerous third-party death
13
           threats towards Plaintiffs as a direct result of Defendants’ conduct causing Plaintiffs
14

15         extreme fear, anxiety and depression.

16      500.      Moreover, the statements tend to so harm the reputation of Plaintiffs as to
17         lower their professional reputation in the community or deter third persons from
18
           associating or dealing with them including termination of any and all business,
19
           contracts or employment and, as such, constitute cyber-harassment.
20
        501.      As a proximate result of the maliciously false and defamatory publication of
21

22         statements to third parties by Defendant, Plaintiffs have been severely damaged.

23      502.      Because Defendant’s defamatory statements constitute intentional acts which

24         were made with actual malice towards Plaintiffs, Plaintiffs seek an award for punitive
25         damages.
26

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 1                  WHEREFORE, Plaintiffs Dusty and Taylor Button demands judgment against
 2   Defendant Madison Jane Breshears for damages, punitive damages, court costs, and such
 3
     other relief as the Court deems just and proper.
 4
           COUNT VI - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 5
        503.        Plaintiffs incorporate by reference and reallege the preceding allegations as
 6

 7          though fully set forth herein.

 8      504.        Defendant reinstated Plaintiffs timely claim of Intentional Infliction of

 9          Emotional Distress by posting false and defamatory statements to a new audience on
10
            May 14th, 2024 including by stating, “Dusty Button is a sexual predator” to any viewer
11
            or reader that otherwise may not have seen the original false and defamatory post on
12
            May 13th, 2021 and including by doxing their private contact information to a mass
13
            audience on May 14th, 2024.
14

15      505.        Defendant engaged in extreme and outrageous conduct with the intention of

16          causing Plaintiffs severe emotional distress by first making false, derogatory,
17          defamatory and fraudulent statements of fact to a mass audience about Plaintiffs.
18
        506.        At the time of the events herein and at the time Ms. Breshears’ posts were
19
            published, Plaintiffs received innumerable messages and phone calls regarding the
20
            defamatory posts which were disclosed to a mass audience prior to Plaintiffs being
21

22          having any idea of what Defendant was referring to, while teaching for thousands of

23          children at the time the post was made and published.

24      507.        Plaintiffs were notified by various third-parties about the post, resulting in
25          extreme distress.
26

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 1      508.       Plaintiffs’ attorney could not even comment on the article appropriately as he
 2         was unaware of what was written in the complaint.
 3
        509.       The unprivileged statements made by Defendant to others about Plaintiffs were
 4
           false and defamatory in nature including that Defendant has admitted that she only
 5
           posted the defamatory statements because she did not know Plaintiffs “were going to
 6

 7         sue her”.

 8      510.       The unprivileged statements made by Defendant to others about Plaintiffs

 9         caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not
10
           worked one single job since May 13th, 2021 including that any and all contracts and
11
           agreements were immediately and prematurely terminated following Defendants’
12
           conduct.
13
        511.       Defendant published such statements negligently, with knowledge of the
14

15         falsity of the statements, and/or with reckless disregard of their truth or falsity.

16      512.       At the time such statements were made by Defendant, Defendant knew or
17         should have known that they were false and defamatory.
18
        513.       Hundreds of thousands of people actually read and/or heard the false and
19
           defamatory statements.
20
        514.       The unprivileged statements made by Defendants to others about Plaintiffs
21

22         were false and defamatory and caused extreme distress on Plaintiffs and their family

23         including that Plaintiffs became depressed and began having suicidal thoughts due to

24         the shock of Ms. Jacobs’ defamatory article as Defendants conspired to intentionally
25         harm Plaintiffs.
26

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 1      515.       Plaintiffs could not afford therapy for the trauma endured following Ms.
 2         Breshears’ posts as her false and defamatory statements deprived Plaintiffs of the
 3
           ability to seek help for the suicidal thoughts which followed in the aftermath of
 4
           Defendant’s conduct.
 5
        516.       The statements were not privileged.
 6

 7      517.       The statements were published by Defendant with actual malice, oppression,

 8         and fraud in that they were aware at the time of the falsity of the publication and thus,

 9         made said publications in bad faith, out of hatred and ill-will directed towards
10
           Plaintiffs without any regard for the truth.
11
        518.       Defendant possessed information and had access to information that showed
12
           their statements were false.
13
        519.       Defendant also made statements for which they had no factual basis including
14

15         because Defendant stated on May 27th, 2024 that she posted her false and defamatory

16         statements “when the #metoo movement came out” and thinks, “it went too far”
17         including because she admittedly did not speak to anyone in the litigation which was
18
           filed three months after her defamatory posts were made.
19
        520.       Defendant willfully and intentionally posted the same false and defamatory
20
           statement on her social media account @real_world_ballerina on May 14th, 2024 with
21

22         the intent to harass and defame Plaintiffs, again; causing sever anxiety and emotional

23         distress.

24      521.       Defendants acted intentionally and/or recklessly whereas, the Defendant’s
25         conduct was extreme and outrageous and was the direct cause of Plaintiff’s severe
26
           emotional distress in which Plaintiffs continue to suffer today.
27

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 1      522.       Moreover, the statements and publication prior to the service of the complaint
 2         on Plaintiffs tend to so harm the reputation of Plaintiffs as to lower their professional
 3
           reputation in the community or deter third persons from associating or dealing with
 4
           them including termination of any and all business, contracts or employment and, as
 5
           such, constitutes intentional infliction of emotional distress.
 6

 7      523.      Plaintiffs’ claims of intentional infliction of emotional distress are timely as

 8         Madison Breshears intentionally inflicted emotional distress on Plaintiffs on May 14th,

 9         2024; however, in the event the statutes of limitation apply to May 13th, 2021,
10
           Plaintiffs claims must be tolled for the following reasons including but not limited to:
11
               1) “During the pendency of a related lawsuit or arbitration related to the same
12
                  defamatory statements” whereas, Defendant’s defamatory posts and statements
13
                  are at issue in five other pending lawsuits and, “the pendency of a motion to
14

15                dismiss a related lawsuit may toll the statute of limitations until the motion is

16                resolved” whereas; Defendant’s motion to dismiss a related lawsuit has been
17                pending since August 24th, 2023.
18
               2) Threats from a licensed attorney in an attempt to prevent Plaintiffs from
19
                  seeking recourse against her; such as statements which were made online by
20
                  Ms. Breshears in 2021 including but not limited to, “I’m a law student, I know
21

22                libel and slander and this isn’t it”, later doubling down to prevent Plaintiffs

23                from seeking legal recourse against her by stating on May 27th, 2024, including

24                but not limited to, “This isn’t going to end well for you” and “I just want to tell
25                you that it’s gonna be bad if you sue me”.
26

27

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 1              3) A continuing wrong such as Defendants’ May 14th, 2024 reposting the exact
 2                  same defamatory statements made to a mass audience that she posted in 2021,
 3
                    with the intent to harass Plaintiffs including by posting to a new audience,
 4
                    “PSA: Dusty Button is a sexual predator” and;
 5
                4) Defendants’ online misconduct, remaining anonymous to avoid consequence
 6

 7                  and recourse.

 8      524.        Defendant intentionally abused her power as an attorney and used intimidation

 9          tactics to deter Plaintiffs from seeking legal recourse against her including but not
10
            limited to by stating that, “this will not end well for [Plaintiffs]” and “it’s a waste of
11
            your time”, leading them to believe they could not seek legal recourse against her.
12
        525.        As a direct and proximate result of the maliciously false and defamatory
13
            publication of statements to third parties by Defendant, Plaintiffs have been severely
14

15          damaged.

16      526.        Because Defendant’s defamatory statements constitute intentional acts which
17          were made with actual malice towards Plaintiffs, Plaintiffs seek an award for punitive
18
            damages.
19
                    WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against
20
     Defendant Madison Jane Breshears for damages, punitive damages, court costs, and such
21

22   other relief as the Court deems just and proper.

23                         COUNT VII – PRIMA FACIE DEFAMATION

24      527.        Plaintiffs incorporate by reference and reallege the preceding allegations as
25          though fully set forth herein.
26
        528.        Plaintiffs claim of Prima Facie Defamation is appropriate as
27

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 1         1) a false statement was made purporting to be fact;
 2         2) publication or communication of that statement was made to a third person;
 3
           3) the fault amounted to at least negligence; and
 4
           4) damages, or some harm caused to the reputation of the person or entity who is the
 5
               subject.
 6

 7      529.      Plaintiffs’ claims of prima face defamation are timely as Defendant posted a

 8         false a defamatory statement about Plaintiffs on May 14th, 2024; however, in the event

 9         the statutes of limitation apply to May 13th, 2021, Plaintiffs claims must be tolled for
10
           the following reasons including but not limited to:
11
               5) “During the pendency of a related lawsuit or arbitration related to the same
12
                  defamatory statements” whereas, Defendant’s defamatory posts and statements
13
                  are at issue in five other pending lawsuits and, “the pendency of a motion to
14

15                dismiss a related lawsuit may toll the statute of limitations until the motion is

16                resolved” whereas; Defendant’s motion to dismiss a related lawsuit has been
17                pending since August 24th, 2023.
18
               6) Threats from a licensed attorney in an attempt to prevent Plaintiffs from
19
                  seeking recourse against her; such as statements which were made online by
20
                  Ms. Breshears in 2021 including but not limited to, “I’m a law student, I know
21

22                libel and slander and this isn’t it”, later doubling down to prevent Plaintiffs

23                from seeking legal recourse against her by stating on May 27th, 2024, including

24                but not limited to, “This isn’t going to end well for you” and “I just want to tell
25                you that it’s gonna be bad if you sue me”.
26

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 1             7) A continuing wrong such as Defendants’ May 14th, 2024 reposting the exact
 2                same defamatory statements made to a mass audience that she posted in 2021,
 3
                  with the intent to harass Plaintiffs including by posting to a new audience,
 4
                  “PSA: Dusty Button is a sexual predator” and;
 5
               8) Defendants’ online misconduct, remaining anonymous to avoid consequence
 6

 7                and recourse.

 8      530.      Defendant’s conduct caused special damages including but not limited to

 9         Plaintiff Dusty Button’s contracts with Artists Simply Human, The Dallas
10
           Conservatory, West Coast Dance Elite, Tiger Friday and other various dance studios
11
           and summer intensives, whereas financial records for each can be provided to the
12
           Court with the specified amounts to be stated within the records as a direct cause of
13
           Madison Breshears’ conduct and defamatory posts.
14

15      531.       Defendant posted the false and defamatory statements with actual malice,

16         including because she admitted that she never spoke to any party in the lawsuit which
17         followed her defamatory posts three months later, and admittedly wanted to post the
18
           story prior to the New York Times article being published.
19
        532.      The unprivileged statements made by Defendant to others about Plaintiffs were
20
           false and defamatory.
21

22      533.      The unprivileged statements made by Defendant to others about Plaintiffs

23         caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not

24         worked one single job since May 13th, 2021 including that any and all contracts and
25         agreements were immediately and prematurely terminated following Defendants’
26
           conduct.
27

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 1      534.       Defendant published such statements negligently, with knowledge of the
 2         falsity of the statements, and/or with reckless disregard of their truth or falsity.
 3
        535.       At the time such statements were made by Defendant, Defendant knew or
 4
           should have known that they were false and defamatory.
 5
        536.       Hundreds of thousands of people actually read and/or heard the false and
 6

 7         defamatory statements.

 8      537.       The statements were not privileged.

 9      538.       The statements were published by Defendant with actual malice, oppression,
10
           and fraud in that they were aware at the time of the falsity of the publication and thus,
11
           made said publications in bad faith, out of hatred and ill-will directed towards
12
           Plaintiffs without any regard for the truth.
13
        539.       Defendant possessed information and had access to information that showed
14

15         their statements were false.

16      540.       Defendant also made statements for which they had no factual basis.
17      541.       Defendant made intentionally false statements purporting to be fact, published
18
           and communicated those statements hundreds of thousands of third parties faulting to,
19
           at the very least, negligence, whereas, the damages and harm to Plaintiffs and their
20
           reputations is irreparable as a direct result of the defamatory statements made by
21

22         Madison Breshears.

23      542.       Moreover, the statements tend to so harm the reputation of Plaintiffs as to

24         lower their professional reputation in the community or deter third persons from
25         associating or dealing with them including termination of any and all business,
26
           contracts or employment and, as such, constitutes Prima Facie Defamation.
27

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 1        543.        As a proximate result of the maliciously false and defamatory publication of
 2           statements to third parties by Defendant, Plaintiffs have been severely damaged.
 3
          544.        Because Defendant’s defamatory statements constitute intentional acts which
 4
             were made with actual malice towards Plaintiffs, Plaintiffs seek an award for punitive
 5
             damages.
 6

 7                    WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against

 8   Defendant Madison Jane Breshears for damages, court costs, and such other relief as the

 9   Court deems just and proper.
10
                                    COUNT VIII – CIVIL CONSPIRACY
11
          545.        Plaintiffs incorporate by reference and reallege the preceding allegations as
12
             though fully set forth herein.
13
          546.        Defendant with others including but not limited to Sage Humphries, Hannah
14

15           Stolrow, Julia Jacobs and Sigrid McCawley37 as she admitted she knew of the New

16           York Times article months prior to the article being published, (parties including the
17           media and attorneys), and colluded to commit an unlawful and unethical act such as
18
             defamation and invasion of Plaintiffs’ privacy in order to coordinate coverage and
19
             mutual influence to cripple Plaintiffs’ defense and destroy Plaintiffs’ right to due
20
             process including but not limited to publishing and disclosing a lawsuit prior to even
21

22           serving the complaint on Plaintiffs.

23        547.        Defendant colluded with others to gain an advantage, preventing Plaintiffs

24           from seeking recourse until now, while unethically playing to the media to cripple
25           Plaintiffs defense against the lawsuit which would be filed three months following
26

27   37
       Plaintiffs have filed a defamation lawsuit against Sigrid McCawley for statements made in the media that are
     not privileged in the Southern District Court of Florida – see case 0:24-cv-60911-DSL.
28

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 1         Defendant’s false and defamatory posts which was not only false and defamatory but
 2         additionally, in no way similar to the New York Times article, as the only person
 3
           interviewed that Plaintiff Dusty Button knew was Sage Humphries, who was not a
 4
           child or a “young girl” at the time Plaintiffs were in a dating relationship with her,
 5
           which is explicitly what Defendant posted on her account proving her statements made
 6

 7         were out of actual malice, leading any reader or viewer to believe an entirely different

 8         narrative as admitted by Defendant on May 27th, 2024, admitted Sage Humphries was

 9         not a child in 2017.
10
        548.       The unprivileged statements made by Defendant to others about Plaintiffs were
11
           false and defamatory.
12
        549.       The unprivileged statements made by Defendant to others about Plaintiffs
13
           caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not
14

15         worked one single job since May 13th, 2021 including that any and all contracts and

16         agreements were immediately and prematurely terminated following Defendants’
17         conduct.
18
        550.       Defendant published such statements negligently, with knowledge of the
19
           falsity of the statements, and/or with reckless disregard of their truth or falsity.
20
        551.       At the time such statements were made by Defendant, Defendant knew or
21

22         should have known that they were false and defamatory.

23      552.       Hundreds of thousands of people actually read and/or heard the false and

24         defamatory statements.
25      553.       The statements were not privileged.
26

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 1      554.      The statements were published by Defendant with actual malice, oppression,
 2         and fraud in that they were aware at the time of the falsity of the publication and thus,
 3
           made said publications in bad faith, out of hatred and ill-will directed towards
 4
           Plaintiffs without any regard for the truth.
 5
        555.      Defendant possessed information and had access to information that showed
 6

 7         their statements were false.

 8      556.      Defendant also made statements for which they had no factual basis.

 9      557.      Defendant made an express agreement, as admitted on the May 27th, 2024
10
           phone call with another, including but not limited to Sage Humphries, Micah and
11
           Michael Humphries, and/or Hannah Stolrow, to commit a wrong whereas, Defendant
12
           conspired to cyber-harass, bully, threaten and defame Plaintiffs in a joint effort to
13
           destroy their business, reputations, careers, ability to work and financial ability to
14

15         defend prior to Sage Humphries’ lawsuit which was filed three months after Madison

16         Breshears posted her defamatory statements to intentionally deprive Plaintiffs in an
17         Overt Act in Furtherance causing economic loss.
18
        558.      Defendants’ actions resulted in “Unfair Competition” by way of coordinating
19
           efforts to spread false information about Plaintiffs, (whose names and likeness were
20
           their business), to gain an advantage, months prior to Sage Humphries filing her civil
21

22         litigation which Defendant admittedly, did not even know was imminent, as to destroy

23         Plaintiffs’ reputations, careers, business, ability to work and defend themselves against

24         the defamatory statements and litigation itself.
25      559.      Plaintiff’s claims must be tolled for the following reasons including but not
26
           limited to:
27

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 1             1) “During the pendency of a related lawsuit or arbitration related to the same
 2                defamatory statements” whereas, Defendant’s defamatory posts and statements
 3
                  are at issue in five other pending lawsuits and, “the pendency of a motion to
 4
                  dismiss a related lawsuit may toll the statute of limitations until the motion is
 5
                  resolved” whereas; Defendant’s motion to dismiss a related lawsuit has been
 6

 7                pending since August 24th, 2023.

 8             2) Threats from a licensed attorney in an attempt to prevent Plaintiffs from

 9                seeking recourse against her; such as statements which were made online by
10
                  Ms. Breshears in 2021 including but not limited to, “I’m a law student, I know
11
                  libel and slander and this isn’t it”, later doubling down to prevent Plaintiffs
12
                  from seeking legal recourse against her by stating on May 27th, 2024, including
13
                  but not limited to, “This isn’t going to end well for you” and “I just want to tell
14

15                you that it’s gonna be bad if you sue me”.

16             3) A continuing wrong such as Defendants’ May 14th, 2024 reposting the exact
17                same defamatory statements made to a mass audience that she posted in 2021,
18
                  with the intent to harass Plaintiffs including by posting to a new audience,
19
                  “PSA: Dusty Button is a sexual predator” and;
20
               4) Defendants’ online misconduct, remaining anonymous to avoid consequence
21

22                and recourse.

23      560.      Defendants’ actions were unlawful including that the defamatory statements

24         made and published were intentional and wrongful interreferences with Plaintiffs’
25         business relationships.
26

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 1      561.        Defendants proof of conspiracy lies within their pattern to continue conspiring
 2          and unethically colluding with the media to gain an unlawful advantage.
 3
        562.        Plaintiffs are entitled to punitive damages because Defendants’ defamatory
 4
            statements were made with hatred, ill will, and spite, with the intent to harm Plaintiffs
 5
            or in blatant disregard of the substantial likelihood of causing them harm and because
 6

 7          Defendants’ conduct constitutes intentional acts of conspiracy which were made with

 8          actual malice towards Plaintiffs whereas, the conduct is part of a pattern of similar

 9          conduct directed at the public generally, indicating a reckless disregard for civil
10
            obligations, Plaintiffs seek an award for punitive damages.
11
        563.        Moreover, the statements tend to so harm the reputation of Plaintiffs as to
12
            lower their professional reputation in the community or deter third persons from
13
            associating or dealing with them including termination of any and all business,
14

15          contracts or employment and, as such, constitute Civil Conspiracy.

16      564.        As a proximate result of the maliciously false and defamatory publication of
17          statements to third parties by Defendant, Plaintiffs have been severely damaged.
18
                    WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against
19
     Defendant Madison Jane Breshears for damages, punitive damages, court costs, and such
20
     other relief as the Court deems just and proper.
21

22                           COUNT IX – DEFAMATION PER QUOD

23      565.        Plaintiffs incorporate by reference and reallege the preceding allegations as

24          though fully set forth herein.
25      566.        Defendant posted her defamatory statements knowing that Plaintiff Taylor
26
            Button was not a dance teacher but intentionally led any reader or viewer to believe
27

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 1         that he was including by admitting on the May 27th, 2024 phone call that she knew he
 2         was not a dance teacher.
 3
        567.      Defendant intentionally misled viewers and any reader to believe that
 4
           Plaintiffs, together, were dance teachers who “lured” their students into sex acts with
 5
           them which would otherwise be seen in a different light should the truth have been
 6

 7         posted such as, Plaintiff Dusty Button was a profession ballet dancer and Plaintiff

 8         Taylor Button was a car designer, neither working in the same industry, readers would

 9         not have been led to believe that any “minor” or “child” was lured in by Dusty to have
10
           sex acts with Taylor including because the four women who allege they were minors
11
           have never met Dusty and therefore, could not have been “lured”.
12
        568.      Plaintiffs have never met Jane Doe 1 and Ms. Breshears admittedly did not
13
           know her and in fact, lied, by stating she spoke to the New York Times as she did not;
14

15         additionally, Ms. Breshears cannot, by Court Order in Nevada, see or know the

16         identity or statements made by Jane Doe 1 per the protective order and sealed
17         documents in the case, though the statements made after Ms. Breshears’ post are
18
           irrelevant and do not support her false and defamatory statements made three months
19
           prior to the New York Times article being published and five months prior to Jane
20
           Doe 1 entering the case after reading the New York Times article, verifying that she
21

22         could not have possibly spoken the New York Times, discounting Ms. Breshears

23         statements in their entirety.

24      569.      Ms. Breshears knew that her statements would or could, at the very least be
25         taken out of context including because she admittedly stated on the May 27th, 2024
26
           phone call, “So the evidence is that there are over 5 people who claimed that this
27

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 1         happened to them right? If they had evidence this wouldn’t be a civil case right? If
 2         they had evidence this would be a criminal case”, proving that she in fact, had no
 3
           evidence to support her false and defamatory statements prior to posting, in addition to
 4
           the forementioned statements in this complaint proving she knew her statements were
 5
           false and defamatory and made with actual malice.
 6

 7      570.       The unprivileged statements made by Defendant to others about Plaintiffs were

 8         false and defamatory.

 9      571.       The unprivileged statements made by Defendant to others about Plaintiffs
10
           caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not
11
           worked one single job since May 13th, 2021 including that any and all contracts and
12
           agreements were immediately and prematurely terminated following Defendants’
13
           conduct.
14

15      572.       Defendant published such statements negligently, with knowledge of the

16         falsity of the statements, and/or with reckless disregard of their truth or falsity.
17      573.       At the time such statements were made by Defendant, Defendant knew or
18
           should have known that they were false and defamatory.
19
        574.       Defendant’s conduct and defamatory statements caused special damages
20
           including but not limited to Plaintiff Dusty Button’s contracts with Artists Simply
21

22         Human, The Dallas Conservatory, West Coast Dance Elite, Tiger Friday and other

23         various dance studios and summer intensives, whereas financial records for each can

24         be provided to the Court with the specified amounts to be stated within the records as
25         a direct cause of Madison Breshears’ conduct and defamatory posts.
26

27

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 1      575.      Hundreds of thousands of people actually read and/or heard the false and
 2         defamatory statements.
 3
        576.      The statements were not privileged.
 4
        577.      The statements were published by Defendant with actual malice, oppression,
 5
           and fraud in that they were aware at the time of the falsity of the publication and thus,
 6

 7         made said publications in bad faith, out of hatred and ill-will directed towards

 8         Plaintiffs without any regard for the truth.

 9      578.      Defendant possessed information and had access to information that showed
10
           their statements were false.
11
        579.      Defendant is equitably estopped from asserting a statute of limitations as a
12
           defense; allowing Defendant to do so would be unjust.
13
        580.      Plaintiff’s claims must be tolled for the following reasons including but not
14

15         limited to:

16             1) “During the pendency of a related lawsuit or arbitration related to the same
17                defamatory statements” whereas, Defendant’s defamatory posts and statements
18
                  are at issue in five other pending lawsuits and, “the pendency of a motion to
19
                  dismiss a related lawsuit may toll the statute of limitations until the motion is
20
                  resolved” whereas; Defendant’s motion to dismiss a related lawsuit has been
21

22                pending since August 24th, 2023.

23             2) Threats from a licensed attorney in an attempt to prevent Plaintiffs from

24                seeking recourse against her; such as statements which were made online by
25                Ms. Breshears in 2021 including but not limited to, “I’m a law student, I know
26
                  libel and slander and this isn’t it”, later doubling down to prevent Plaintiffs
27

28

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 1                  from seeking legal recourse against her by stating on May 27th, 2024, including
 2                  but not limited to, “This isn’t going to end well for you” and “I just want to tell
 3
                    you that it’s gonna be bad if you sue me”.
 4
                3) A continuing wrong such as Defendants’ May 14th, 2024 reposting the exact
 5
                    same defamatory statements made to a mass audience that she posted in 2021,
 6

 7                  with the intent to harass Plaintiffs including by posting to a new audience,

 8                  “PSA: Dusty Button is a sexual predator” and;

 9              4) Defendants’ online misconduct, remaining anonymous to avoid consequence
10
                    and recourse.
11
        581.        Defendant also made statements for which they had no factual basis.
12
        582.        Moreover, the statements tend to so harm the reputation of Plaintiffs as to
13
            lower their professional reputation in the community or deter third persons from
14

15          associating or dealing with them including termination of any and all business,

16          contracts or employment and, as such, constitutes Defamation Per Quod.
17      583.        As a proximate result of the maliciously false and defamatory publication of
18
            statements to third parties by Defendant, Plaintiffs have been severely damaged.
19
        584.        Because Defendant’s defamatory statements constitute intentional acts which
20
            were made with actual malice towards Plaintiffs, Plaintiffs seek an award for punitive
21

22          damages.

23                  WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against

24   Defendant Madison Jane Breshears for damages, punitive damages, court costs, and such
25   other relief as the Court deems just and proper.
26
            COUNT X -TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS
27

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 1      585.       Plaintiffs incorporate by reference and reallege the preceding allegations as
 2         though fully set forth herein.
 3
        586.       Plaintiffs claim of tortious interference is timely per New York law which
 4
           allows three years from the time of injury to file a complaint.
 5
        587.       The unprivileged statements made by Defendant were false and defamatory.
 6

 7      588.       The unprivileged statements made by Defendants to others about Plaintiffs

 8         caused complete loss and injury to Plaintiffs’ businesses whereas, Plaintiffs have not

 9         worked one single job since May 13th, 2021 including that any and all contracts and
10
           agreements were immediately and prematurely terminated following Defendant’s
11
           conduct and the publishing of Ms. Breshears’ defamatory posts.
12
        589.       Defendants made and published such statements negligently, with knowledge
13
           of the falsity of the statements, and/or with reckless disregard of their truth or falsity.
14

15      590.       At the time Defendant made and published such statements, she knew or

16         should have known that they were false and defamatory.
17      591.       Hundreds of thousands of people actually read and/or heard the false and
18
           defamatory statements.
19
        592.       Defendants’ statements were not privileged.
20
        593.       Defendant conspired and colluded to interfere with Plaintiffs’ businesses,
21

22         contractual agreements, relationships, sponsors, employers, business affiliates,

23         reputations and business agreements in order to cripple Plaintiffs’ defense against a

24         New York Times article and a lawsuit which she knew of prior to Plaintiffs having any
25         knowledge of and which was publicly disclosed prior to Plaintiffs ever being served
26
           with that lawsuit or having knowledge of the allegations set forth within the lawsuit.
27

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 1      594.      Defendant participated in attorney-media collusion and interference,
 2         compromising the fairness and integrity of the lawsuit which Plaintiffs were not yet
 3
           served with and thereby, strategically disrupting the normal course of litigation and
 4
           intentionally causing extreme harm to Plaintiffs including by influencing public
 5
           perception and any potential juror prior to Plaintiffs having the ability to prepare a
 6

 7         defense.

 8      595.      Defendants possessed information and had access to information which

 9         showed that the statements within the lawsuit and later, the article were false but for
10
           which she posted her own false and defamatory statements.
11
        596.      Defendant made statements for which they had no factual basis.
12
        597.      Defendant suggested Plaintiffs were involved in a serious crime involving
13
           moral turpitude or a felony, exposing Plaintiffs to ridicule in which reflected
14

15         negatively on Plaintiffs’ characters, morality and integrity whereas, the defamatory

16         statements impaired Plaintiffs’ financial well-being including by publishing those
17         suggested statements prior to Plaintiffs ever being served.
18
        598.      The Defendant intentionally induced innumerable third parties to break their
19
           contracts with Plaintiffs including because Madison Breshears’ posts intentionally
20
           interfered with the Plaintiffs’ ability to defend themselves or settle the lawsuit which
21

22         came after and therefore, Defendant’s actions constitute a tortious interference with

23         Plaintiffs’ legal rights including but not limited to Madison Breshears’ statements

24         made on the May 27th, 2024 phone call including that she knew Plaintiff Dusty Button
25         would be teaching at summer intensives and wanted to cancel her contracts before the
26
           summer months.
27

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 1      599.      Defendant did so without justification as there was no self-interest in Plaintiffs’
 2         contractual agreements other than to destroy Plaintiffs ability to rightfully defend
 3
           themselves.
 4
        600.      Defendants’ false statements accused Plaintiffs of a serious crime and
 5
           maligned Plaintiffs in their professions, those statements which resulted in constitute a
 6

 7         tortious interference and Plaintiffs’ injuries are presumed.

 8      601.      Defendants’ actions were motivated by a desire to harm the Plaintiffs.

 9      602.      Moreover, the statements tend to so harm the reputation of Plaintiffs as to
10
           lower their professional reputation in the community or deter third persons from
11
           associating or dealing with them including termination of any and all business,
12
           contracts or employment, inducing third-parties through mass media publication to
13
           sever contractual agreements and disassociate from Plaintiffs, preventing Plaintiffs
14

15         from a rightful defense against the lawsuit including prior to Plaintiffs being served.

16      603.      As a direct and proximate result of the false and defamatory publication,
17         intentional collusion with the media and disclosure of a lawsuit prior to service being
18
           completed including publication of false statements to a mass media audience and
19
           innumerable third parties by way of mass distribution, Plaintiffs have been severely
20
           damaged.
21

22      604.      Defendants’ defamatory statements were intentionally and specifically timed to

23         induce third-parties into severing any and all contracts with Plaintiffs and

24         disassociating from Plaintiffs to harass and prevent Plaintiffs from seeking recourse
25         against Defendants; Plaintiffs could not afford to file claims against Defendants, as
26

27

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 1         their defamatory statements immediately destroyed Plaintiffs’ ability to work and to
 2         generate income, disseminating any and all contractual agreements with third-parties.
 3
        605.      Defendant is equitably estopped from asserting a statute of limitations as a
 4
           defense and allowing her to do so would be unjust.
 5
        606.      Plaintiffs’ statutes, if any, must be tolled.
 6

 7      607.      Plaintiffs have actual knowledge that substantial additional evidentiary

 8         support, which is in the exclusive possession of Madison Breshears and their agents

 9         and other third-parties, will exist for the allegations and claims set forth above after a
10
           reasonable opportunity for discovery including but not limited to because she stated on
11
           the May 27th, 2024 phone call that she would “have to look back at the texts” and that
12
           she “received many messages from other people”.
13
        608.      Plaintiffs are entitled to punitive damages, because Defendants’ defamatory
14

15         statements were made with hatred, ill will, and spite, with the intent to harm Plaintiffs

16         or in blatant disregard of the substantial likelihood of causing them harm as there was
17         publicly available information and data including information, data and documentation
18
           proving Defendant’s statements to be false and defamatory.
19
        609.      Because Ms. Breshears’ defamatory statements constitute intentional acts
20
           which were made with actual malice towards Plaintiffs and or reckless disregard for
21

22         the truth, Plaintiffs seek an award for punitive damages.

23      610.      WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against

24         Defendants for damages, punitive damages, court costs, and such other relief as the
25         Court deems just and proper.
26
        611.
27

28

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 1                                      PRAYER FOR RELIEF
 2                  WHEREFORE, Plaintiffs respectfully request judgment against Defendant,
 3
     awarding compensatory, consequential, exemplary, and punitive damages in an amount to be
 4
     determined at trial, including but not limited to:
 5
                    A. Entering judgment against the Defendant on all claims made against her in
 6

 7                      this Complaint;

 8                  B. Entering an Order directing that Defendant pay Plaintiffs reasonable fees

 9                      and costs pursuant to any applicable law;
10
                    C. For actual damages in an amount to be proven at trial;
11
                    D. For punitive damages in an amount to be proven at trial;
12
                    E. For costs of suit;
13
                    F. For pre-judgment and post-judgment interest on the foregoing sums;
14

15                  G. For such other and further relief as the Court deems proper.

16                                   DEMAND FOR JURY TRIAL
17                  Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs hereby request a trial
18
     by jury on all causes of action asserted within this pleading.
19

20
                                    Respectfully dated this 4th day of August, 2024,
21

22

23                                  _________________________________________
                                    Dusty Button and Mitchell Taylor Button (Pro se)
24                                  101 Ocean Sands Ct.
25                                  Myrtle Beach, SC 29579
                                    Email: Prosecanyousee@malifence.com
26                                  Phone: 310-499-8930
                                    Phone: 310-499-8702
27

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 1                               CERTIFICATE OF SERVICE
 2                The undersigned hereby certifies that the foregoing document was filed with
 3
     Pro_Se_Filing@nysd.uscourts.gov on August 4th, 2024.
 4

 5

 6

 7

 8                Dated this 4th day of August 2024,

 9
10
                         /s/___________________________________________
11
                         Signature of Plaintiff Dusty Button (Pro se)
12
                         /s/___________________________________________
13
                         Signature of Plaintiff Mitchell Taylor Button (Pro se)
14

15

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                     APPENDIX OF EXHIBITS

   1. Attached hereto as Exhibit A is a true and correct copy of the May 28th, 2017

      Orange County Sheriff’s Department report filed by Sage Humphries’ father

      where Sage Humphries stated there was no validity to his statements.

   2. Attached hereto as Exhibit B is a true and correct copy of the July 22nd,

      2017 Orange County Sheriff’s Department report filed by Sage

      Humphries and her parents whereas; the report was unfounded based

      on her interview and the viewed text messages from Sage Humphries to

      Plaintiffs.

   3. Attached hereto as Exhibit C is a true and correct copy of text messages

      between Sage Humphries and her mother as stated in the complaint

      from 2017.

   4. Attached hereto as Exhibit D are true and correct copies of various text

      messages and messages through Snapchat from Sage Humphries during

      the course of their relationship in 2017 and during the events which

      took place in 2017.

   5. Attached hereto as Exhibit E is a true and correct copy of messages sent

      to Plaintiffs by Sage Humphries regarding a “fake break up” in 2017.
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   6. Attached hereto as Exhibit F is a true and correct copy of text messages

      between Sage Humphries and Plaintiffs in 2017.

   7. Attached hereto as Exhibit G is a true and correct copy of the Order of

      the Nevada District Court denying Sage Humphries’ Motion to Dismiss

      Plaintiffs Counterclaim of Defamation against her on February 2nd, 2023.

   8. Attached hereto as Exhibit H is a true and correct copy of text messages

      between Sage Humphries and Plaintiffs in 2017.

   9. Attached hereto as Exhibit I is a true and correct copy of a letter sent

      from Plaintiffs previous attorney, Marc Randazza to Daryl Katz’ attorney

      regarding the text messages expose Defendants’ friend Sage Humphries

      and billionaire Daryl Katz, (owner of the Edmonton Oilers NHL team),

      for the illegal prostitution that the Nevada litigation was initiated to

      cover up as well as Plaintiffs’ declarations of support from the Nevada

      District Court – case 2:21-cv-01412-ART-EJY.

   10. Attached hereto as Exhibit J is a true and correct copy of Defendants’

      post with non-party co-conspirator Hannah Stolrow on her anonymous

      account @real_world_ballerina.

   11. Attached hereto as Exhibit K is a true and correct copy of a message

      sent from Sage Humphries to Plaintiffs in 2017.
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   12. Attached hereto as Exhibit L is a true and correct copy of a police report

      filed with the                           Police Department by Plaintiffs

      against Jane Doe after reaching out to law enforcement for help, as they

      have never met Jane Doe 1.

   13. Attached hereto as Exhibit M is a true and correct copy of various text

      messages sent to Plaintiffs by Sage Humphries in 2017 via Snapchat.
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   ÐÈþÁ4Á¿Ù́ý́ÍÁº¶Á4Á´ÇÄ·Ç´ÇÄÁ´ÊÈ¼Æ¶ÆÇÁ¼Ç´ÇÄ¿Á·ÇÆ´·¿Á´¼ÈÇ´ÄÁº07ÅºÉ́ý¼´7·ÊÇÙ́¶7´½ÈÅ´·¿Á´
   ÂÈ¶¼Â´ÇÈ´Í·ÊÀ´ÅÆ´¶¼ÇÈ´·´ÊÈ¿¼Á¿Ù́þÄ·Ç´þÈÅº1´½ÈÅ´Ä·4Á´ÅÆ´1ÈX´úÈ´½ÈÅ´ÇÄ¶¼À´ÇÄ·Ç´
   Í·ÆÁ1È́¼ḈÄÁ7́·ÊÇÆ´¿Á0È¿ÇÁ1ḈÈ´½ÈÅÄ́Á¿Á%́·¼17́Å¿ÇÄÁ¿1́Á4ÁºÈ0¶¼Â´·Æþ́ÁẤÈḈÄ¿ÈÅÂÄ´
   ÇÄÁ´1·Ç·´þÁ´Ä·4Á&·¼1´ÈÅ¿´ºÁÂ·º́0ÈÆ¶Ç¶È¼Ù́ÇÄ·Ç´ÇÄ¶Æ´þ·Æ´Ç¿Åº½´ÍÁ¼Á·ÇÄ´ÇÄÁ´
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   ÜÂ·¶¼Ù́½ÈÅ´Ä·4Á´·´Êº¶Á¼Ç´ÇÈ´1Á7Á¼1Ù́ÍÈÇÄ´¶¼´ÊÈÅ¿Ç´·¼1´¶¼´ÇÄÁ´ÊÈÅ¿Ç´È7´0ÅÍº¶Ê´
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!÷2><#9$>0'÷784÷#1B0÷BA#A4*÷a#A+÷A01*÷84$÷A8#A÷84÷%0@1*÷>)A$0*@%4÷84$÷A0÷:40÷#)*÷A8#A÷84÷%0@1*÷*0÷#÷
÷10A÷A0÷}4)4I>A÷84$÷%#$44$'÷÷
÷ ' \÷4?4)A@#11K÷%#H4÷A0÷@)*4$BA#)*÷A8#A÷7#C4÷~#B÷)0A÷$0H#)A>%#11K÷>)A4$4BA4*÷>)÷A8>B÷
÷a#A+,÷#)*÷A8#A÷B84÷~#B÷0)1K÷>)A4$4BA4*÷>)÷80~÷84÷9$0H>B4*÷A0÷I@$A84$÷84$÷%#$44$,÷~84A84$÷A8#A÷~#B÷
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 ÷ !' 5A÷?#$>0@B÷A>H4B,÷7#C4÷A01*÷H4÷4691>%>A1K÷A8#A÷B84÷~#B÷B1449>)C÷~>A8÷A8>B÷@)F)#H4*÷
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!÷*#A#÷#)*÷$4A@$)÷A84÷01*÷980)4÷A0÷$4H4*K÷A84÷%8#$C4÷0)÷A84÷#%%0@)A'÷
÷ ' [90)÷*>B%0?4$>)C÷A8#A÷A8>B÷I01*4$÷~#B÷7#C4B÷}#%=@9÷0)÷0@$÷8#$*÷*$>?4,÷~4÷A84)÷
÷*>B%0?4$4*÷A46A÷H4BB#C4B÷}4A~44)÷7#C4÷#)*÷2#$K1÷a#A+,÷~84$4>)÷a#A+÷*>B%@BB4*÷8>B÷I441>)CB÷I0$÷
÷7#C4,÷#)*÷H44A>)C÷@9÷~>A8÷7#C4,÷#)*÷9#K>)C÷7#C4÷1#$C4÷B@HB÷0I÷H0)4K'÷
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 ÷ ' 5IA4$÷$4B4#$%8>)C÷a#A+,÷\÷*>B%0?4$4*÷A8#A÷#)÷#%A$4BB,÷3$4>%4÷7#)A0,÷8#*÷9@}1>%1K÷
 ÷#114C4*÷A8#A÷a#A+÷0II4$4*÷84$÷H0)4K÷#)*÷H0?>4÷$014B÷>)÷46%8#)C4÷I0$÷%0H9#)>0)B8>9÷#)*÷B46,÷
 ÷14#*>)C÷H4÷A0÷A84÷%0)%$4A4÷}41>4I÷A8#A÷A8>B÷~#B÷#÷9#AA4$)÷A8#A÷a#A+÷~#B÷4)C#C4*÷>)'÷
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